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 7
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
 9
     ERNEST DYKES,                          )   Case No. 11-CV-04454-SI
10                                          )
                Petitioner,                 )
11                                          )   PETITION FOR WRIT OF HABEAS
                      v.                    )   CORPUS UNDER 28 U.S.C. 2254
12                                          )
     MICHAEL MARTEL, Acting Warden,         )
13                                          )
               Respondent.                  )
14   ______________________________         )   DEATH PENALTY CASE
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26        Furman?, 72 N.Y.U. L.Rev. 1283, 1324-26 (1997).. . . . . .                 60
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 7
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
 9
     ERNEST DYKES,                            )   Case No. 11-CV-04454-SI
10                                            )
                Petitioner,                   )
11                                            )   PETITION FOR WRIT OF HABEAS
                       v.                     )   CORPUS UNDER 28 U.S.C. 2254
12                                            )
     MICHAEL MARTEL, Acting Warden,           )
13                                            )
               Respondent.                    )
14   ______________________________           )   DEATH PENALTY CASE
15
16        Petitioner ERNEST DYKES, under sentence of death pronounced by
17   the Alameda County Superior Court, hereby petitions this Honorable
18   Court to issue a writ of habeas corpus under 28 U.S.C. § 2254.
19        Petitioner        seeks   such     relief   based     upon   the   claims   and
20   allegations set forth herein, to be further demonstrated and bolstered
21   by discovery and an evidentiary hearing at such time as this Honorable
22   Court may permit.
23
24                                         Respectfully submitted,
25
26   Dated: December 21, 2012                s/Phillip A. Treviño
27
28
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 1    PETITION FOR A WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2254 WHICH
                    SEEKS RELIEF FROM A SENTENCE OF DEATH
 2
                                                     I.
 3                                          INITIAL ALLEGATIONS
 4   1.             Petitioner is detained in custody at San Quentin State
 5   Prison, Tamal, California.
 6
 7   2.             He was convicted and sentenced by the Alameda County
 8   Superior Court, the Hon. Jeffrey W. Horner, presiding.                       Superior
 9   Court Docket number 118376.
10
11   3.             Petitioner entered pleas of not guilty to the charges
12   filed against him, and the matter proceeded to trial by jury.
13
14   4.             Petitioner was convicted of the following offenses with
15   the indicated sentence pronounced on each count as noted.
16          A.      Petitioner was found guilty of PC § 187,1 the first
17          degree murder of Lance Clark (count one).                   The jury also
18          found true the enhancement under PC § 1203.06, and
19          § 12022.5, that Petitioner used a firearm during the
20
            1
21             All statutory references herein are to California codes
     unless otherwise made clear from context or citation format. E.g.,
22   “PC” refers to the California Penal Code; “EC” refers to the
     California Evidence Code, and so forth. “RT” refers to the reporter’s
23   transcript for the trial court proceedings; “CT” refers to the clerk’s
     transcript for the trial court proceedings; “Tr. Exh.” refers to
24   exhibits admitted before the trial court. “Cal. Hab. Ex.” refers to
     exhibits submitted to the California Supreme Court in support of
25   Petitioner’s habeas proceeding heard by that court. “Exhibit” refers
     to the additional exhibits Petitioner submits directly to this Court
26   contemporaneous with the instant petition. Counsel for Respondent has
     advised that, consistent with this Court’s local rules, Respondent
27   will submit to this Court the entirety of the lower court records.

28   Petition for a writ of habeas corpus                                            Dykes v. Martel
     under 28 U.S.C. 2254                          Page -2-                   Case No. C-11-04454-SI
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 1          commission of said offense.                As to this offense, the
 2          jury also found true the death penalty qualifying special
 3          circumstance contained in PC § 190.2(A)(17)(i), namely
 4          that Petitioner killed Lance Clark while Petitioner was
 5          engaged in the commission, attempted commission, and the
 6          flight thereafter of a felony, to wit: robbery, a
 7          violation of PC § 211.          Petitioner was subsequently
 8          sentenced to death plus four (4) years for this offense.
 9
10          B.      As to count two Petitioner was found guilty of the
11          attempted murder of Bernice Clark in violation of PC
12          § 187, but notably the jury specifically found that said
13          attempted murder was not willful, deliberate and
14          premeditated.          (RT 3740)     The jury found that during the
15          commission of said offense Petitioner used a firearm in
16          violation of PC § 1203.06 and § 12022.5, and that he
17          inflicted great bodily injury during the commission of
18          said offense.           The jury also found true the aged victim
19          clause set forth in PC § 1203.09(a), in that Bernice
20          Clark was 60 years of age or older at the time of the
21          offense and Petitioner had reason to so know.                  Petitioner
22          was subsequently sentenced to a term of sixteen (16)
23          years in state prison, to run concurrent with the term
24          imposed on count one.
25
26          C.      As to count three, the jury found Petitioner guilty
27
28   Petition for a writ of habeas corpus                                          Dykes v. Martel
     under 28 U.S.C. 2254                        Page -3-                   Case No. C-11-04454-SI
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 1          of robbery in violation of PC § 211, and that during said
 2          robbery Petitioner used a firearm in violation of PC
 3          § 1203.06 and § 12022.5.             The jury also found true the
 4          aged victim clause under PC § 1203.09(a) as to the
 5          robbery, in that Bernice Clark was 60 years of age or
 6          older at the time of the offense and Petitioner had
 7          reason to so know.              Petitioner was sentenced to a term of
 8          ten (10) years in state prison on this count, said term
 9          to run concurrent with the sentences for counts one and
10          two.
11
12   5.             Petitioner testified during the pretrial phase, guilt
13   phase trial, but not in the penalty phase trial.
14
15   6.             Petitioner appealed his conviction and sentence to the
16   California Supreme Court.               His direct appeal was docketed in that
17   court as S050851.           In that direct appeal, which was denied, he
18   raised the following grounds:
19
20          1.   THE PROSECUTOR ENGAGED IN EGREGIOUS MISCONDUCT
            THROUGHOUT BOTH THE GUILT AND PENALTY PHASES,
21          RENDERING THE TRIAL FUNDAMENTALLY UNFAIR, IN
            VIOLATION OF THE FIFTH AND FOURTEENTH AMENDMENTS TO
22          THE UNITED STATES CONSTITUTION AND CORRESPONDING
            PROVISIONS OF THE CALIFORNIA CONSTITUTION.
23
            2.   THE TRIAL COURT COMMITTED PLAIN ERROR IN
24          PERMITTING THE PROSECUTOR TO BOLSTER THE TESTIMONY OF
            WITNESS ALPHONSO ODOM WITH PRIOR CONSISTENT
25          STATEMENTS.
26          3.   THE TRIAL COURT ERRED IN RULING THAT MR. DYKES'
            POST ARREST CONFESSIONS WERE NOT OBTAINED THROUGH
27
28   Petition for a writ of habeas corpus                                           Dykes v. Martel
     under 28 U.S.C. 2254                         Page -4-                   Case No. C-11-04454-SI
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 1          VIOLATIONS OF MIRANDA V. ARIZONA.
 2          4.   THE TRIAL COURT ERRED IN CONCLUDING THAT MR.
            DYKES' CONFESSIONS WERE VOLUNTARY.
 3
            5.   THE TRIAL COURT ERRED IN RULING THAT MR. DYKES
 4          VOLUNTARILY MADE SPONTANEOUS STATEMENTS DURING THE
            RIDE TO THE POLICE STATION.
 5
            6.   THE CUMULATIVE EFFECT OF THE NUMEROUS ERRORS
 6          WHICH OCCURRED DURING THE GUILT PHASE COMPELS
            REVERSAL EVEN IF NO SINGLE ERROR, STANDING ALONE,
 7          WOULD DO SO.
 8          7.   THE ADMISSION OF VICTIM IMPACT EVIDENCE DEPRIVED
            MR. DYKES OF DUE PROCESS AND RESULTED IN AN ARBITRARY
 9          AND CAPRICIOUS CAPITAL SENTENCING PROCEEDING IN
            VIOLATION OF THE UNITED STATES AND CALIFORNIA
10          CONSTITUTIONS. THE ADMISSION OF THE VICTIM IMPACT
            EVIDENCE ALSO VIOLATED CAL. PEN. CODE SECTION 190.3,
11          SUBDIVISION (A).
12          8.   THE ADMISSION OF EVIDENCE THAT MR. DYKES WAS
            ARRESTED FOR POSSESSION OF A LOADED AND CONCEALED
13          WEAPON, VIOLATED THE EIGHTH AMENDMENT TO THE UNITED
            STATES CONSTITUTION AND SECTION 190.3(b).
14
            9.   THE TRIAL COURT ABUSED ITS DISCRETION IN FAILING
15          TO STRIKE THE IRRELEVANT AND PREJUDICIAL TESTIMONY OF
            OAKLAND POLICE OFFICER RAND MONDA.
16
            10. THE TRIAL COURT ERRED BY REFUSING TO GIVE A
17          DEFENSE INSTRUCTION DIRECTING THE JURY NOT TO
            SPECULATE OR CONJECTURE REGARDING MATTERS ABOUT WHICH
18          EVIDENCE HAD NOT BEEN PRESENTED.
19          11.  THE TRIAL COURT'S SUPPLEMENTAL INSTRUCTION,
            REGARDING FACTOR (K) AND LACK OF REMORSE VIOLATED
20          APPELLANT'S RIGHTS UNDER THE FIFTH, SIXTH, EIGHTH AND
            FOURTEENTH AMENDMENTS TO THE UNITED STATES
21          CONSTITUTIONS BY ELEVATING LACK OF REMORSE TO A NON-
            STATUTORY FACTOR IN AGGRAVATION.
22
            12.  THE TRIAL COURT ERRED IN REFUSING TO INSTRUCT
23          THE JURY THAT, BEFORE CONSIDERING A FACTOR IN
            AGGRAVATION, IT MUST UNANIMOUSLY FIND BOTH THAT THE
24          DEFENDANT COMMITTED THE ACT IN AGGRAVATION AND THE
            ACT CONSTITUTED AN IMPLIED THREAT OF FORCE OR
25          VIOLENCE.
26          13. THE TRIAL COURT VIOLATED THE UNITED STATES
            CONSTITUTION AND CALIFORNIA LAW IN PERMITTING THE
27
28   Petition for a writ of habeas corpus                                          Dykes v. Martel
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 1          JURY TO RECONSIDER PREMEDITATION AND DELIBERATION
            DURING THE PENALTY PHASE AFTER THE JURY ACQUITTED MR.
 2          DYKES OF SHOOTING THE VICTIM WITH PREMEDITATION.
 3          14.  THE JURY PANEL WAS TAINTED BY EXTRANEOUS
            INFLUENCES AND THEIR EXPOSURE TO THESE EXTRANEOUS
 4          MATTERS WAS PRESUMPTIVELY PREJUDICIAL.
 5          15.  CALIFORNIA'S DEATH PENALTY STATUTE, AS
            INTERPRETED BY THIS COURT AND APPLIED AT APPELLANT'S
 6          TRIAL, VIOLATES THE UNITED STATES CONSTITUTION.
 7          16.  APPELLANT'S DEATH SENTENCE IS INVALID BECAUSE
            SECTION 190.2 IS IMPERMISSIBLY BROAD.
 8
            17.  APPELLANT'S DEATH PENALTY IS INVALID BECAUSE
 9          § 190.3(a) AS APPLIED ALLOWS ARBITRARY AND CAPRICIOUS
            IMPOSITION OF DEATH, IN VIOLATION OF THE FIFTH,
10          SIXTH, EIGHTH AND FOURTEENTH AMENDMENTS TO THE UNITED
            STATES CONSTITUTION.
11
            18.  CALIFORNIA'S DEATH PENALTY STATUTE LACKS
12          NECESSARY SAFEGUARDS TO AVOID ARBITRARY AND
            CAPRICIOUS SENTENCING, AND THEREFORE VIOLATES THE
13          EIGHTH AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
            CONSTITUTION.
14
            19.  EVEN IF THE ABSENCE OF THE PREVIOUSLY ADDRESSED
15          PROCEDURAL SAFEGUARDS DID NOT RENDER CALIFORNIA'S
            DEATH PENALTY SCHEME CONSTITUTIONALLY INADEQUATE TO
16          ENSURE RELIABILITY AND GUARD AGAINST ARBITRARY
            CAPITAL SENTENCING, THE DENIAL OF THOSE SAFEGUARDS TO
17          CAPITAL DEFENDANTS VIOLATES THE CONSTITUTIONAL
            GUARANTEE OF EQUAL PROTECTION OF THE LAWS.
18
            20. NUMEROUS DEFECTS IN CALJIC2 NO. 8.85 MISLED THE JURY
19          WITH RESPECT TO THE WEIGHING OF AGGRAVATING AND
            MITIGATING FACTORS, AND THE DEATH JUDGMENT MUST BE
20          REVERSED.
21          21. CALJIC NO. 8.88, AS GIVEN HEREIN, VIOLATED
            APPELLANT'S RIGHTS UNDER THE FIFTH, SIXTH, EIGHTH AND
22          FOURTEENTH AMENDMENTS TO THE UNITED STATES
            CONSTITUTIONS.
23
            22.  THE FAILURE TO INSTRUCT THE JURY ON THE
24          PRESUMPTION OF LIFE VIOLATED THE FIFTH, EIGHTH, AND
            FOURTEENTH AMENDMENTS TO THE UNITED STATES
25
26          2
               “CALJIC” refers to the standard California Jury Instructions
27   for Criminal Cases.

28   Petition for a writ of habeas corpus                                          Dykes v. Martel
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 1          CONSTITUTION.
 2          23.  THE DEATH PENALTY IS DISPROPORTIONATE TO
            APPELLANT'S INDIVIDUAL CULPABILITY AND ITS IMPOSITION
 3          WOULD THEREFORE VIOLATE THE EIGHTH AMENDMENT AND
            ARTICLE I, SECTION 17 OF THE CALIFORNIA CONSTITUTION.
 4
            24.  THE FAILURE OF CALIFORNIA'S DEATH PENALTY
 5          STATUTES TO PROVIDE FOR INTER-CASE PROPORTIONALITY
            REVIEW VIOLATES THE EIGHTH AND FOURTEENTH AMENDMENTS .
 6
            25.  THE CALIFORNIA STATUTORY SCHEME GIVES
 7          PROSECUTORS THE UNBRIDLED DISCRETION TO DECIDE IN
            WHICH SPECIAL CIRCUMSTANCE MURDER CASES THE DEATH
 8          PENALTY WILL BE SOUGHT, AND THEREFORE VIOLATES THE
            FIFTH, EIGHTH, AND FOURTEENTH AMENDMENTS.
 9
            26.  THE METHOD OF EXECUTION EMPLOYED IN CALIFORNIA
10          VIOLATES THE FOURTEENTH AMENDMENT GUARANTEE OF
            PROCEDURAL DUE PROCESS AND THE EIGHTH AMENDMENT'S
11          PROHIBITION UPON CRUEL AND UNUSUAL PUNISHMENTS.
12          27.  CALIFORNIA'S USE OF THE DEATH PENALTY AS A
            REGULAR FORM OF PUNISHMENT FALLS SHORT OF
13          INTERNATIONAL NORMS OF HUMANITY AND DECENCY, AND
            VIOLATES THE EIGHTH AND FOURTEENTH AMENDMENTS.
14
            28.  THE CUMULATIVE EFFECT OF THE NUMEROUS ERRORS
15          WHICH OCCURRED DURING THE PENALTY PHASE COMPELS
            REVERSAL EVEN IF NO SINGLE ISSUE, STANDING ALONE,
16          WOULD DO SO.
17
     7.             Petitioner also sought, and was denied, a writ of habeas
18
     corpus from the California Supreme Court.                 Docket S126085.        In that
19
     proceeding, he sought relief based on the following claims:
20
            1.   PETITIONER’S CONVICTION AND DEATH SENTENCE WERE
21          OBTAINED IN VIOLATION OF HIS RIGHT TO JURY AND DUE
            PROCESS OF LAW UNDER THE SIXTH AND FOURTEENTH AMENDMENTS
22          TO THE U.S. CONSTITUTION AND ARTICLE I, SECTIONS 7 AND 16
            OF THE CALIFORNIA CONSTITUTION AS WELL AS CALIFORNIA
23          STATE LAW. THESE VIOLATIONS OCCURRED WHEN A UNIFORMED
            OFFICER, PRESUMABLY AT THE BEHEST OF THE PROSECUTION,
24          TALKED TO JURORS ON THE STREET ABOUT A KILLER WHO HAD
            BEEN SENTENCED TO LIFE GETTING OUT AND KILLING AGAIN.
25
            2.   PETITIONER’S CONVICTION AND DEATH SENTENCE WERE
26          OBTAINED IN VIOLATION OF HIS RIGHT TO JURY AND DUE
            PROCESS OF LAW UNDER THE SIXTH AND FOURTEENTH AMENDMENTS
27
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 1          TO THE U.S. CONSTITUTION AND ARTICLE I, SECTIONS 7 AND 16
            OF THE CALIFORNIA CONSTITUTION AS WELL AS CALIFORNIA
 2          STATE LAW. THESE VIOLATIONS OCCURRED WHEN JURORS LG AND
            MD FAILED TO DISCLOSE THAT A UNIFORMED OFFICER SPOKE TO
 3          THEM ABOUT THE CASE.
 4          3.   PETITIONER’S DEATH SENTENCE WAS OBTAINED IN
            VIOLATION OF HIS RIGHT TO DUE PROCESS OF LAW AND
 5          EFFECTIVE ASSISTANCE OF COUNSEL UNDER THE SIXTH AND
            FOURTEENTH AMENDMENTS TO THE U.S. CONSTITUTION AND
 6          ARTICLE I, SECTIONS 7 AND 15 OF THE CALIFORNIA
            CONSTITUTION. THESE VIOLATIONS OCCURRED WHEN PETITIONER’S
 7          TRIAL COUNSEL FAILED TO INVESTIGATE AND PRESENT READILY
            AVAILABLE EVIDENCE IN MITIGATION AT PETITIONER’S PENALTY
 8          PHASE TRIAL.
 9          4.   PETITIONER’S DEATH SENTENCE WAS OBTAINED IN
            VIOLATION OF THE SIXTH, EIGHTH AND FOURTEENTH AMENDMENTS
10          TO THE UNITED STATES CONSTITUTION AND ARTICLE ONE,
            SECTIONS 7, 15 AND 17 OF THE CALIFORNIA CONSTITUTION.
11          THESE VIOLATIONS OCCURRED AT THE PENALTY PHASE WHEN THE
            PROSECUTOR ARGUED 1) THAT PETITIONER CAME FROM AN
12          UNTROUBLED FAMILY EVEN THOUGH HE KNEW THAT THIS WAS NOT
            TO BE TRUE AND 2) THAT PETITIONER’S GIRLFRIEND COULD NOT
13          HAVE TESTIFIED THAT PETITIONER SHOWED REMORSE WHEN HE
            KNEW THAT WAS NOT TRUE 3) THAT PETITIONER WAS NOT
14          REMORSEFUL WHEN HE KNEW THAT THIS WAS NOT TRUE AND 4)
            THAT THERE WAS NOTHING REDEEMING TO BE SAID ABOUT
15          PETITIONER WHEN HE KNEW THAT WAS NOT TRUE.
16          5.   PETITIONER’S CONVICTION AND DEATH SENTENCE WERE
            OBTAINED IN VIOLATION OF HIS RIGHT TO DUE PROCESS OF LAW
17          AND EFFECTIVE ASSISTANCE OF COUNSEL UNDER THE SIXTH AND
            FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION
18          AND ARTICLE ONE, SECTIONS 7 AND 15 OF THE CALIFORNIA
            CONSTITUTION. THESE VIOLATIONS OCCURRED WHEN PETITIONER’S
19          TRIAL COUNSEL FAILED TO OBJECT TO THE PROSECUTOR’S FALSE
            ARGUMENTS THAT PETITIONER CAME FROM A GOOD FAMILY, THAT
20          PETITIONER’S GIRLFRIEND COULD NOT HAVE TESTIFIED THAT HE
            WAS REMORSEFUL, THAT PETITIONER WAS NOT REMORSEFUL AND
21          THAT THERE WAS NOTHING REDEEMING ABOUT PETITIONER.
22          6.   IN LIGHT OF HIS MENTAL LIMITATIONS, PETITIONER’S
            DEATH SENTENCE IS CRUEL AND UNUSUAL PUNISHMENT IN
23          VIOLATION OF THE EIGHTH AND FOURTEENTH AMENDMENT OF THE
            UNITED STATES CONSTITUTION AND ARTICLE ONE, SECTION 17 OF
24          THE CALIFORNIA CONSTITUTION.
25          7.   PETITIONER’S CONVICTION AND DEATH SENTENCE WERE
            OBTAINED IN VIOLATION OF HIS RIGHT TO DUE PROCESS OF LAW
26          AND EFFECTIVE ASSISTANCE OF COUNSEL UNDER THE SIXTH AND
            FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION
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 1          AND ARTICLE ONE, SECTIONS 7 AND 15 OF THE CALIFORNIA
            CONSTITUTION. THESE VIOLATIONS OCCURRED WHEN PETITIONER’S
 2          TRIAL COUNSEL FAILED TO MOVE TO STRIKE THE VENIRE AS NOT
            REPRESENTING A FAIR CROSS-SECTION OF THE COMMUNITY.
 3
            8.   PETITIONER’S CONVICTION AND DEATH SENTENCE WERE
 4          OBTAINED IN VIOLATION OF HIS RIGHT TO DUE PROCESS OF LAW
            AND EFFECTIVE ASSISTANCE OF COUNSEL UNDER THE SIXTH,
 5          EIGHTH AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
            CONSTITUTION AND ARTICLE ONE, SECTIONS 7, 15, AND 17 OF
 6          THE CALIFORNIA CONSTITUTION. THESE VIOLATIONS OCCURRED
            WHEN PETITIONER’S TRIAL COUNSEL FAILED TO PICK A JURY
 7          THAT WAS NOT BIASED IN FAVOR OF IMPOSING A DEATH
            SENTENCE.
 8
            9. PETITIONER’S DEATH SENTENCE WAS RENDERED IN VIOLATION
 9          OF THE FIFTH, SIXTH, EIGHT AND FOURTEENTH AMENDMENTS OF
            THE UNITED STATES CONSTITUTION AND ARTICLE ONE, SECTIONS
10          7, 15, 17 AND 17 OF THE CALIFORNIA CONSTITUTION WHEN THE
            JURY DELIBERATED ABOUT 1) THE FACT THAT PETITIONER DID
11          NOT TAKE THE STAND AT THE PENALTY PHASE AND 2) THE FACT
            THAT PETITIONER DID NOT APOLOGIZE FOR WHAT HE DID DURING
12          HIS TESTIMONY AT THE GUILT PHASE.
13          10. PETITIONER’S CONVICTION AND DEATH SENTENCE WERE
            RENDERED IN VIOLATION OF THE SIXTH, EIGHTH AND FOURTEENTH
14          AMENDMENTS OF THE UNITED STATES CONSTITUTION AND
            ANALOGOUS PROVISIONS OF THE CALIFORNIA CONSTITUTION.
15          JUROR MD COMMITTED MISCONDUCT BY FAILING TO DISCLOSE HER
            EMPLOYER’S ONGOING THREATS TO FIRE HER IF SHE DID NOT
16          RETURN TO WORK.
17          11. PETITIONER’S CONVICTION AND DEATH SENTENCE WERE
            RENDERED IN VIOLATION OF THE SIXTH, EIGHTH AND FOURTEENTH
18          AMENDMENTS OF THE UNITED STATES CONSTITUTION AND ARTICLE
            ONE, SECTIONS 7, 15 AND 17 OF THE CALIFORNIA
19          CONSTITUTION. JURORS GS AND RM COMMITTED MISCONDUCT BY
            FAILING TO DISCLOSE TO THE COURT THAT THEY KNEW EACH
20          OTHER THROUGH LIVERMORE CUB SCOUTS.
21          12. PETITIONER’S DEATH SENTENCE WAS RENDERED IN
            VIOLATION OF THE SIXTH, EIGHTH AND FOURTEENTH AMENDMENTS
22          OF THE UNITED STATES CONSTITUTION AND ARTICLE ONE,
            SECTIONS 7, 15 AND 17 OF THE CALIFORNIA CONSTITUTION.
23          JUROR RM COMMITTED MISCONDUCT BY VOTING FOR DEATH SO THAT
            PETITIONER WOULD NOT GET RAPED IN PRISON EVERY DAY.
24
            13. PETITIONER’S DEATH SENTENCE WAS RENDERED IN
25          VIOLATION OF THE SIXTH, EIGHTH AND FOURTEENTH AMENDMENTS
            OF THE UNITED STATES CONSTITUTION AND ARTICLE ONE,
26          SECTIONS 7, 15 AND 17 OF THE CALIFORNIA CONSTITUTION.
            THE JURORS COMMITTED MISCONDUCT DURING PENALTY PHASE
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 1          DELIBERATIONS BY ASSUMING THAT PETITIONER HAD A LENGTHIER
            CRIMINAL HISTORY THAN THAT SHOWN BY THE EVIDENCE.
 2
            14. PETITIONER’S DEATH SENTENCE WAS RENDERED IN
 3          VIOLATION OF THE SIXTH, EIGHTH AND FOURTEENTH AMENDMENTS
            OF THE UNITED STATES CONSTITUTION AND ARTICLE ONE,
 4          SECTIONS 7, 15 AND 17 OF THE CALIFORNIA CONSTITUTION.
            THESE VIOLATIONS OCCURRED WHEN THE JURORS DISCUSSED HOW
 5          MURDERERS WHO GET SENTENCED TO LIFE WITHOUT PAROLE
            REGULARLY GET OUT OF PRISON.
 6
            15. PETITIONER’S DEATH SENTENCE WAS RENDERED IN
 7          VIOLATION OF THE SIXTH, EIGHTH AND FOURTEENTH AMENDMENTS
            OF THE UNITED STATES CONSTITUTION AND ARTICLE ONE,
 8          SECTIONS 7, 15 AND 17 OF THE CALIFORNIA CONSTITUTION.
            THESE VIOLATIONS OCCURRED WHEN THE JURORS ABUSED A HOLD-
 9          OUT TO THE POINT WHERE DELIBERATIONS BROKE DOWN AND HE
            CHANGED HIS VOTE.
10
            16. PETITIONER’S DEATH SENTENCE WAS RENDERED IN
11          VIOLATION OF THE SIXTH, EIGHT AND FOURTEENTH AMENDMENTS
            OF THE UNITED STATES CONSTITUTION AND ARTICLE ONE,
12          SECTIONS, 7, 15 AND 17 OF THE CALIFORNIA CONSTITUTION
            BECAUSE THE JURY COMMITTED MISCONDUCT BY NOT STARTING ITS
13          PENALTY PHASE DELIBERATIONS FROM THE BEGINNING WHEN
            JURORS RD AND MD WERE REPLACED.
14
            17. PETITIONER’S DEATH SENTENCE WAS OBTAINED IN
15          VIOLATION OF HIS RIGHT TO DUE PROCESS OF LAW AND
            EFFECTIVE ASSISTANCE OF COUNSEL UNDER THE SIXTH AND
16          FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION
            AND ARTICLE ONE, SECTIONS 7 AND 15 OF THE CALIFORNIA
17          CONSTITUTION. THESE VIOLATIONS OCCURRED DURING PENALTY
            PHASE ARGUMENT WHEN PETITIONER’S COUNSEL ARGUED THAT
18          LANCE CLARK’S DEATH WAS, RELATIVELY SPEAKING, NOT A
            SERIOUS CRIME.
19
            18. PETITIONER’S DEATH SENTENCE WAS OBTAINED IN
20          VIOLATION OF HIS RIGHT TO DUE PROCESS OF LAW AND
            EFFECTIVE ASSISTANCE OF COUNSEL UNDER THE SIXTH AND
21          FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION
            AND ARTICLE ONE, SECTIONS 7 AND 15 OF THE CALIFORNIA
22          CONSTITUTION. THESE VIOLATIONS OCCURRED WHEN PETITIONER’S
            COUNSEL FAILED TO OBJECT TO THE PROSECUTOR’S QUESTIONING
23          OFFICER MONDA ABOUT WHAT PETITIONER WAS WEARING WHEN HE
            WAS STOPPED IN THE INCIDENT THAT LED TO THE ARREST FOR
24          GUN POSSESSION.
25          19. PETITIONER’S CONVICTION AND DEATH SENTENCE WERE
            OBTAINED IN VIOLATION OF HIS RIGHT TO DUE PROCESS OF LAW
26          AND EFFECTIVE ASSISTANCE OF COUNSEL UNDER THE SIXTH AND
            FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION
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 1          AND ARTICLE ONE, SECTIONS 7 AND 15 OF THE CALIFORNIA
            CONSTITUTION. THESE VIOLATIONS OCCURRED WHEN PETITIONER’S
 2          TRIAL COUNSEL FAILED TO INVESTIGATE AND PRESENT AVAILABLE
            EVIDENCE THAT WOULD HAVE IMPEACHED THE CREDIBILITY OF THE
 3          OAKLAND POLICE DEPARTMENT OFFICERS WHO TESTIFIED AT THE
            MOTION TO SUPPRESS PETITIONER’S CONFESSION AS HAVING BEEN
 4          OBTAINED IN VIOLATION OF HIS MIRANDA RIGHTS.
 5          20. PETITIONER’S CONVICTION AND DEATH SENTENCE WERE
            OBTAINED IN VIOLATION OF HIS RIGHT TO DUE PROCESS OF LAW
 6          AND EFFECTIVE ASSISTANCE OF COUNSEL UNDER THE SIXTH AND
            FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION
 7          AND ARTICLE ONE, SECTIONS 7 AND 15 OF THE CALIFORNIA
            CONSTITUTION. THESE VIOLATIONS OCCURRED WHEN PETITIONER’S
 8          TRIAL COUNSEL FAILED TO INVESTIGATE AND PRESENT AVAILABLE
            EVIDENCE THAT WOULD HAVE IMPEACHED THE CREDIBILITY OF THE
 9          OAKLAND POLICE DEPARTMENT OFFICERS WHO TESTIFIED AT
            TRIAL.
10
            21. PETITIONER’S CONVICTION AND DEATH SENTENCE WERE
11          OBTAINED IN VIOLATION OF HIS RIGHT TO DUE PROCESS OF LAW
            AND EFFECTIVE ASSISTANCE OF COUNSEL UNDER THE SIXTH AND
12          FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION
            AND HIS ARTICLE ONE, SECTIONS 7 AND 15 OF THE CALIFORNIA
13          CONSTITUTION. THESE VIOLATIONS OCCURRED WHEN THE
            PROSECUTION FAILED TO DISCLOSE TO THE DEFENSE INFORMATION
14          IN THE TESTIFYING OFFICERS’ CONFIDENTIAL PERSONNEL FILES
            THAT WOULD HAVE IMPEACHED THEIR CREDIBILITY AT THE
15          SUPPRESSION HEARING AND AT TRIAL.
16          22. PETITIONER’S CONVICTION AND DEATH SENTENCE WERE
            OBTAINED IN VIOLATION OF THE SIXTH, EIGHTH AND FOURTEENTH
17          AMENDMENTS TO THE UNITED STATES CONSTITUTION AND ARTICLE
            ONE, SECTIONS 7, 15 AND 17 OF THE CALIFORNIA
18          CONSTITUTION. THESE VIOLATIONS OCCURRED WHEN THE TRIAL
            COURT FAILED TO ADMONISH THE JURY TO AVOID NEWS REPORTS
19          ABOUT OTHER CRIMES THAT WOULD CAUSE THEM TO BECOME BIASED
            AGAINST PETITIONER.
20
            23. PETITIONER’S DEATH SENTENCE VIOLATES THE SIXTH,
21          EIGHTH AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
            CONSTITUTION AND ARTICLE ONE, SECTIONS 7, 15 AND 17 OF
22          THE CALIFORNIA CONSTITUTION BECAUSE THE JURY COMMITTED
            MISCONDUCT BY SENTENCING HIM TO DEATH IN THE BELIEF THAT
23          HIS SENTENCE WOULD HAVE A DETERRENT EFFECT ON OTHERS.
24          24. BECAUSE PUBLIC SUPPORT FOR THE DEATH PENALTY AND THE
            IMPOSITION OF THE DEATH PENALTY HAS BEEN SHOWN TO
25          FLUCTUATE BASED ON PUBLIC PERCEPTION OF THE CRIME RATE,
            SOCIAL INSTABILITY AND OTHER FACTORS, IMPOSITION OF THE
26          DEATH PENALTY DENIES A DEFENDANT DUE PROCESS AND EQUAL
            PROTECTION OF THE LAW UNDER THE FEDERAL AND STATE
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 1          CONSTITUTIONS AND VIOLATES HIS RIGHT TO BE FREE FROM
            CRUEL AND UNUSUAL PUNISHMENTS.
 2
            25. PETITIONER’S CONVICTION AND DEATH SENTENCE WERE
 3          OBTAINED IN VIOLATION OF HIS RIGHT TO DUE PROCESS OF LAW
            AND EFFECTIVE ASSISTANCE OF COUNSEL UNDER THE SIXTH AND
 4          FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION
            AND ARTICLE ONE, SECTIONS 7 AND 15 OF THE CALIFORNIA
 5          CONSTITUTION. THESE VIOLATIONS OCCURRED WHEN PETITIONER’S
            TRIAL COUNSEL FAILED TO OBJECT TO THE PROSECUTION’S
 6          REPEATED BOLSTERING OF WITNESS ODOM’S TESTIMONY WITH
            PRIOR CONSISTENT STATEMENTS FROM THE PRELIMINARY HEARING.
 7
            26. PETITIONER’S CONVICTION AND DEATH SENTENCE WERE
 8          OBTAINED IN VIOLATION OF HIS RIGHT TO DUE PROCESS AND
            EQUAL PROTECTION OF THE LAW UNDER THE FOURTEENTH
 9          AMENDMENT TO THE UNITED STATES CONSTITUTION, HIS RIGHT
            UNDER THE EIGHTH AMENDMENT NOT TO BE SENTENCED TO DEATH
10          IN AN ARBITRARY AND CAPRICIOUS MANNER, AND HIS ANALOGOUS
            RIGHTS UNDER ARTICLE I, SECTIONS 1, 7, 9, 12-17, 24, 27
11          AND 28 OF THE CALIFORNIA CONSTITUTION. THE PROSECUTOR
            ELECTED TO SEEK THE DEATH PENALTY IN PETITIONER’S CASE
12          BASED ON IMPERMISSIBLE CONSIDERATIONS, INCLUDING
            PETITIONER’S RACE, HIS GENDER, HIS ECONOMIC STATUS, THE
13          RACE OF THE VICTIM AND THE FACT THAT THE VICTIM WAS A
            CHILD.
14
            27. EXECUTION BY LETHAL INJECTION IS CRUEL AND UNUSUAL
15          PUNISHMENT IN VIOLATION OF THE EIGHTH AMENDMENT TO THE
            U.S. CONSTITUTION AND ARTICLE ONE, SECTION 17 OF THE
16          CALIFORNIA CONSTITUTION.
17          28. THE PROSECUTOR OBSTRUCTED PETITIONER’S RIGHT TO
            INVESTIGATE JURY MISCONDUCT AND SEEK HABEAS CORPUS RELIEF
18          IN STATE AND FEDERAL COURT BY LYING TO THEM ABOUT
            PETITIONER’S CRIMINAL RECORD AFTER THEY RENDERED THE
19          DEATH VERDICT.
20          29. THE CUMULATIVE EFFECT OF TRIAL COUNSEL’S DEFICIENT
            PERFORMANCE, THE TRIAL COURT’S ERROR, THE PROSECUTOR’S
21          MISCONDUCT AND THE JURY’S MISCONDUCT RENDERED
            PETITIONER’S TRIAL FUNDAMENTALLY UNFAIR IN VIOLATION OF
22          THE FIFTH, SIXTH, EIGHTH, AND FOURTEENTH AMENDMENT TO THE
            U.S. CONSTITUTION AND ARTICLE ONE, SECTIONS 7, 15, 17 AND
23          17 OF THE CALIFORNIA CONSTITUTION.
24   8.             Petitioner also sought a writ of certiorari from the U.S.
25   Supreme Court.          Therein he presented the following issue for
26   consideration:
27
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 1                  Did California, by allowing the jury to reconsider
 2          during the penalty phase, an issue on which the jury
 3          previously acquitted the petitioner, violate the
 4          prohibition of collateral estoppel embodied in the Fifth
 5          Amendment?
 6   The Supreme Court denied the requested writ.
 7
 8   9.             Petitioner has no other proceedings pending in any court,
 9   federal or state.
10                                                II.
                                             JURISDICTION
11
12   10.            Pursuant to Local Rule 3-5, Petitioner notes that he
13   invokes the jurisdiction of this Honorable Court under 28 U.S.C.
14   § 2254.
15
16   11.            Petitioner was tried before and sentenced to death in
17   Alameda County Superior Court.              As such, jurisdiction is proper in
18   this District.
19                                                III.
                                            FACTUAL SUMMARY
20
21   12.            On July 26, 1993, Petitioner robbed and shot Bernice
22   Clark, the owner of the East Oakland apartment building in which
23   Petitioner, his mother (Mary Brown), and his sister (Sara Dykes),
24   were tenants.         (RT 2698-99, 2701)           A single bullet passed through
25   Mrs. Clark's body and then struck her grandson, Lance Clark,
26   killing him.         Mrs. Clark survived the robbery and shooting.
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 1   13.            While Petitioner intended to rob Mrs. Clark, at trial the
 2   jury found he did not premeditate her killing.                   Importantly,
 3   Petitioner did not even know that Lance Clark was present in the
 4   car at the time of the robbery.                It was undisputed at trial that
 5   Petitioner did not intend to shoot Lance;3 the prosecution’s theory
 6   for premeditation turned entirely on the state of mind Petitioner
 7   had when he shot Mrs. Clark.            Indeed, when the jury concluded that
 8   Petitioner was not guilty of premeditated and deliberate attempted
 9   murder of Mrs. Clark, the jury itself put to rest any question
10   whether the murder of Lance was in any way premeditated. The
11   alternative legal theory the prosecution used, and which the jury
12   must have adopted, was that Petitioner was guilty of murdering
13   Lance on a felony-murder theory. Petitioner acknowledges this was a
14   permissible theory for him to be convicted of Lance’s murder.
15
16   14.            Petitioner was immediately remorseful for his actions: he
17   turned himself into the police after learning the authorities
18   wanted him, and Petitioner promptly and tearfully confessed, twice.
19   Despite his self-surrender, the immediate expression of remorse for
20   committing the crime, and Petitioner’s minimal criminal history (a
21   juvenile adjudication for arson and a misdemeanor narcotics
22   possession), the prosecution sought and the jury sentenced
23   Petitioner to death.
24
            3
25             For clarity, Bernice Clark, the surviving victim, is
     referred to herein as Mrs. Clark, while the decedent is frequently
26   referred to as Lance. This convention is used respectfully and to
     minimize repetition of the shared surname and thereby reduce the
27   potential for any confusion.

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 1   15.            Dispassionately evaluating this record, it seems clear
 2   the death sentence in this case resulted from a variety of errors:
 3   pervasive prosecutorial misconduct; the erroneous introduction of
 4   unduly passionate, lengthy and heart-wrenching victim impact
 5   testimony; and the jury's being permitted to reopen the question of
 6   premeditation during the penalty phase, despite its own prior
 7   verdict acquitting Petitioner of premeditated attempted murder.
 8
 9   16.            Petitioner alleges the death sentence in this case was
10   imposed by a jury inflamed by unduly prejudicial evidence during
11   the penalty phase, a jury which also engaged in misconduct and - in
12   violation of the court’s instructions - freely speculated regarding
13   Petitioner’s criminal history and the likelihood that he would
14   never be executed, but rather could be released from prison if
15   sentenced to life without possibility of parole.
16
17   17.            Most especially, the judgment in this case illustrates
18   how and why California’s death penalty scheme offends the federal
19   constitution in its vagueness as well as over-inclusion of all
20   types of homicides, and how California’s jury instructions, applied
21   in this matter, fail to guide a sentencing jury in the manner that
22   the Supreme Court has directed must occur.                    This case is, plainly
23   put, not a death penalty case. However, it is a death penalty case
24   precisely and only due to the errors in the state court proceedings
25
26
27
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 1   that are identified herein.4
 2
 3   18.            While the death of Lance Clark is indisputably a tragedy,
 4   this case is not properly one of those cases for which the death
 5   penalty is justifiable at law.              The Supreme Court has clearly
 6   stated that the death penalty is constitutional only so long as it
 7   is applied in a clearly delineated manner designed to impose it
 8   only on the “worst of the worst.”
 9
10   19.            Capital punishment must be limited to those offenders who
11   commit "a narrow category of the most serious crimes" and whose
12   extreme culpability makes them "the most deserving of execution."
13   Atkins v. Virginia, 536 U.S. 304, 319 (2002). This principle is
14   implemented throughout the capital sentencing process. States must
15   give narrow and precise definition to the aggravating factors that
16   can result in a capital sentence. Godfrey v. Georgia, 446 U.S. 420,
17   428-429 (1980) (plurality opinion). Roper v. Simmons, 543 U.S. 551,
18   568 (2005).        That Petitioner’s case could reach this point
19   illustrates just how dysfunctional the California death penalty is
20   at this time. Its application generally, and in particular as to
21   Petitioner, represents a violation of the Eighth Amendment
22   jurisprudence as pronounced by the Supreme Court for decades.                          In
23   many other cases these same constitutional violations may elude
24
25          4
               Petitioner respectfully notes that he will, at such time as
26   permitted by this Honorable Court and under the Rules Governing Habeas
     Corpus Proceedings, move for discovery and an evidentiary hearing to
27   substantiate these claims.

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 1   focus because the crimes at issue therein are more shocking and
 2   offensive to morality and human sensibilities. Lest there be any
 3   misunderstanding, Petitioner openly acknowledges that his actions,
 4   resulting in Lance Clark’s death, were a tragedy and he equally
 5   openly accepts that he is deserving of just and lawful punishment.
 6   Petitioner urges this Honorable Court to assess this matter and
 7   determine whether, however, his case is one of the worst of the
 8   worst, such as to justify the ultimate penalty?
 9
10   20.            For the foregoing reasons, and for the additional reasons
11   set forth below, Petitioner respectfully asks that at the
12   conclusion of these proceedings this Court should grant the writ
13   sought herein, vacating Petitioner’s judgment of conviction and
14   death sentence.
15
16                                                IV.
                                                 AEDPA
17   A.             AEDPA Standards
18   21.            The Antiterrorism and Effective Death Penalty Act of 1996
19   (“AEDPA”) applies to this petition because it is being filed after
20   April 16, 1996.          Lindh v. Murphy, 521 U.S. 320 (1997). AEDPA,
21   however, does not foreclose relief for the violation of
22   Petitioner’s constitutional rights.                     Under AEDPA, this Court may
23   grant habeas relief if it determines that Petitioner suffered a
24   violation of his federal constitutional rights and that Petitioner
25   has satisfied 28 U.S.C. § 2254(d). See 28 U.S.C.                     § 2254(a), (d).
26   Section 2254(d) is satisfied if the Court finds that the state
27
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 1   court’s adjudication of Petitioner’s claims was either (1) contrary
 2   to or an unreasonable application of clearly established federal
 3   law as determined by the United States Supreme Court, or (2) based
 4   on an unreasonable determination of the facts in light of the
 5   record that was before the state court. Id. § 2254(d). Petitioner
 6   is not required to satisfy both § 2254(d)(1) and § 2254(d)(2). See
 7   id.; Harrington v. Richter, 131 S. Ct. 770, 787 (2011). Section
 8   2254(d) only applies to state court decisions addressing the
 9   substantive grounds of a claim. Lambert v. Blodgett, 393 F.3d 943,
10   966 (9th Cir. 2004).
11
12   22.            Clearly established federal law refers to “the governing
13   legal principle or principles set forth by the Supreme Court at the
14   time the state court renders its decision.”                   Lockyer v. Andrade,
15   538 U.S. 63, 71-72 (2003). Although the source of clearly
16   established federal law must be the Supreme Court, circuit court
17   decisions remain persuasive authority in determining what law is
18   clearly established. Duhaime v. Ducharme, 200 F.3d 597, 600 (9th
19   Cir. 2000).
20
21   23.            A state court acts contrary to clearly established
22   federal law if it applies a legal rule that contradicts a prior
23   Supreme Court holding or if it reaches a different result from a
24   Supreme Court case presenting indistinguishable facts. Ramdass v.
25   Angelone, 530 U.S. 156, 165-66 (2000). Similarly, “[t]he addition,
26   deletion, or alteration of a factor in a test established by the
27
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 1   Supreme Court also constitutes a failure to apply controlling
 2   Supreme Court law under the ‘contrary to’ clause of AEDPA.” Benn v.
 3   Lambert, 283 F.3d 1040, 1051 n.5 (9th Cir. 2002) (citing Williams
 4   v. Taylor, 529 U.S. 362, 405-06 (2000)).
 5
 6   24.            A state court decision involves an unreasonable
 7   application of clearly established federal law if it identifies the
 8   correct legal principle but applies it in an unreasonable manner to
 9   the particular facts before it. Williams, 529 U.S. at 407.                       A state
10   court decision is also an “unreasonable application” if it
11   unreasonably extends a legal principle to a new context or
12   unreasonably refuses to extend a legal principle to a context where
13   it should apply. Id. at 397, 407.
14
15   25.            Section 2254(d)(2) allows petitioners to challenge the
16   state court’s factual findings based upon the evidence before the
17   state court. Wiggins v. Smith, 539 U.S. 510, 528 (2003). A section
18   2254(d)(2) challenge can be premised on any one of numerous
19   theories, including that: (1) the state’s factual finding is
20   unsupported by sufficient evidence or is based on a misstatement of
21   the evidence; (2) the state court fact-finding process is
22   defective; (3) no factual finding was made by the state court at
23   all; and (4) the state court makes factual findings under the wrong
24   legal standard. Taylor v. Maddox, 366 F.3d 992, 1000-01 (9th Cir.
25   2004).
26
27
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 1   26.            Federal court review of a state court decision under
 2   § 2254(d) is limited to the record that was before the state court
 3   that adjudicated the claim on the merits. See 28 U.S.C.
 4   § 2254(d)(2); Cullen v. Pinholster, 131 S. Ct. 1388, 1398 (2011).
 5   The state court record “includes both the allegations of [the]
 6   habeas corpus petition . . . and . . . any matter of record
 7   pertaining to the case.” Pinholster, 131 S. Ct. at 1402 n.12
 8   (internal quotation marks omitted). The relevant state court
 9   decision is the last reasoned decision regarding a claim. See Ylst
10   v. Nunnemaker, 501 U.S. 797, 803-04 (1991); James v. Ryan, 679 F.3d
11   780 (9th Cir. 2012).
12
13   27.            The Supreme Court has stated that “in the context of
14   federal habeas” “[d]eference does not imply abandonment or
15   abdication of judicial review.” Miller-El v. Cockrell, 537 U.S.
16   322, 340 (2003). To that end, while the standard as articulated in
17   § 2254 is demanding, it is not insatiable; “[d]eference does not by
18   definition preclude relief.” Miller-El v. Dretke, 545 U.S. 231, 240
19   (2005) (internal quotation marks omitted). Section 2254(d) does not
20   preclude relief for the claims stated herein because:
21          (1) the state court’s denial of the claims was contrary to or
22   an unreasonable application of clearly established federal law;
23          (2) the state court’s denial of the claims was based on
24   an unreasonable factual determination; and/or
25          (3) § 2254(d) does not apply to the claims because they were
26   not adjudicated on the merits in state court. When § 2254(d) does
27
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 1   not apply or is satisfied, the federal habeas court reviews the
 2   claim de novo. See Cone v. Bell, 556 U.S. 449, 472 (2009); Panetti
 3   v. Quarterman, 551 U.S. 930, 953-54 (2007); Rompilla v. Beard, 545
 4   U.S. 374, 390 (2005); Frantz v. Hazey, 533 F.3d 724, 735 (9th Cir.
 5   2008) (en banc).
 6
 7   B.             Suspension Of The Writ
 8   28.            The denial of federal habeas relief without adequate
 9   federal and/or state court process and fact-development procedures
10   is an unconstitutional suspension of the writ of habeas corpus.
11
12   29.            In Harrington v. Richter, 131 S. Ct. 770, 784 (2011), the
13   Supreme Court held that a state court summary denial is presumed to
14   be an adjudication on the merits and “the habeas petitioner’s
15   burden [under § 2254(d)] still must be met by showing there was no
16   reasonable basis for the state court to deny relief.” In
17   Pinholster, 131 S. Ct. at 1398, the Supreme Court held that “review
18   under § 2254(d)(1) is limited to the record that was before the
19   state court that adjudicated the claim on the merits.”                     These two
20   cases working together impede Petitioner’s ability to receive
21   federal factual development where he was denied state factual
22   development.
23
24   30.            In California, a state court summary denial means the
25   state court determined the petition did not state a prima facie
26   case for relief. People v. Romero, 8 Cal. 4th 728, 737 (1994); see
27
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 1   Pinholster, 131 S. Ct. at 1403 n.12.                    Most of Petitioner’s claims
 2   were summarily denied, so he was never given the opportunity for
 3   factual development of those claims. See Romero, 8 Cal. 4th at 739-
 4   40.5 Because many habeas claims require factual development to be
 5   colorable, McFarland v. Scott, 512 U.S. 849, 855 (1994), full and
 6   fair factual development at the state court level necessarily is a
 7   predicate to the application of § 2254(d) in federal court.6                          See
 8   Boumediene v. Bush, 553 U.S. 723, 790 (2008) (holding that federal
 9   habeas proceedings may be constitutionally circumscribed only to
10   the extent that some court is available to consider the relevant
11   evidence supporting a claim); Harris v. Nelson, 394 U.S. 286, 300
12   (1969) (holding that “it is the duty of the court to provide the
13   necessary facilities and procedures for an adequate inquiry” into
14   colorable claims); Townsend v. Sain, 372 U.S. 293, 313 (1963)
15   (describing the content of a full and fair state court adjudication
16   with emphasis on factual development), overruled on other grounds
17
            5
18             Under California law, a habeas petitioner is not allowed
     discovery unless a court so orders. People v. Gonzalez, 51 Cal.3d
19   1179 (1990).
            6
20             The U.S. Supreme Court has not yet addressed this issue. See
     Knowles v. Mirzayance, 556 U.S. 111, 121 n.2 (2009) (declining to
21   decide whether review under § 2254(d) embraces an analysis of whether
     the factual record was sufficiently developed in state court);
22   Pinholster, 131 S. Ct. at 1402 n.11 (accepting without analysis
     petitioner’s argument that § 2254(d) applied to his claims). The Ninth
23   Circuit itself appears to have taken inconsistent positions on the
     matter. Compare Killian v. Poole, 282 F.3d 1204, 1207-08 (9th Cir.
24   2002) (holding that normal AEDPA deference is not owed to factual
     determinations made by state courts that denied an evidentiary hearing
25   on the matter), with Blodgett, 393 F.3d at 966 (“We decline to hold
     that AEDPA’s reference to ‘adjudicated on the merits’ authorizes us
26   to review the form or sufficiency of the proceedings conducted by the
     state court.”). It therefore remains an open question for this Court
27   to resolve.

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 1   by Keeney v. Tamayo-Reyes, 504 U.S. 1 (1992); Brown v. Smith, 551
 2   F.3d 424, 429-30 (6th Cir. 2008) (holding that when “substantial
 3   evidence” comes to light that was not considered by the state
 4   court, “there is no relevant state court adjudication” for purposes
 5   of § 2254(d)); Wilson v. Sirmons, 536 F.3d 1064, 1082-83 (10th Cir.
 6   2008) (“When a state court has not examined the non-record
 7   evidence, it has reached no conclusion ‘on the merits.’” (citing
 8   Hoffman v. Arave, 236 F.3d 523, 536 (9th Cir. 2001))); Killian, 282
 9   F.3d at 1207-1208 (“Having refused Killian an evidentiary hearing
10   on the matter, the state cannot argue now that the normal AEDPA
11   deference is owed the factual determinations of the California
12   courts.”); see also Monroe v. Angelone, 323 F.3d 286, 297 (4th Cir.
13   2003) (holding that § 2254(d) does not apply when a Brady claim is
14   premised on evidence surfacing for the first time in federal
15   proceedings). But see Blodgett, 393 F.3d at 966 (“We decline to
16   hold that AEDPA’s reference to ‘adjudicated on the merits’
17   authorizes us to review the form or sufficiency of the proceedings
18   conducted by the state court.”).
19
20   31.            The federal court requirement that Petitioner satisfy
21   § 2254(d) based on the record before the state court – which is
22   necessarily limited because he was not entitled to fact-development
23   procedures – violates Petitioner’s constitutional rights. In the
24   absence of a full and fair opportunity to litigate habeas claims in
25   state court, the application of AEDPA to those claims violates
26   Petitioner’s right to due process and results in a suspension of
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 1   the writ by leaving Petitioner with no effective remedy for federal
 2   constitutional violations occurring at his criminal trial. See
 3   Boumediene, 553 U.S. at 790; Jefferson v. Upton, 130 S. Ct. 2217,
 4   2223 (2010); Ford v. Wainwright, 477 U.S. 399, 424 (1986)
 5   (“[F]undamental fairness is the hallmark of the procedural
 6   protections afforded by the Due Process Clause.”); Case v.
 7   Nebraska, 381 U.S. 336, 344 (1965) (Clark, J., concurring)
 8   (explaining that the exhaustion doctrine “presupposes that some
 9   adequate state remedy exists”); Young v. Ragen, 337 U.S. 235, 238-
10   39 (1949); Johnson v. Zerbst, 304 U.S. 458, 467 (1938) (“To deprive
11   a citizen of his only effective remedy would not only be contrary
12   to the ‘rudimentary demands of justice’ but destructive of a
13   constitutional guaranty specifically designed to prevent
14   injustice.”).
15
16   32.            Equally, it violates the equal protection guarantee as it
17   applies to indigent petitioners, Smith v. Bennett, 365 U.S. 708,
18   714 (1961), and undermines the reliability of capital sentencing
19   under the Eighth Amendment, Woodson v. North Carolina, 428 U.S.
20   280, 305 (1976).
21
22   33.            Accordingly, AEDPA deference should not apply to those
23   claims for which Petitioner was denied factual development in state
24   court and he should be afforded the opportunity to factually
25   develop those claims in this Court.
26
27
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 1                                              V.
                                    INCORPORATION OF EXHIBITS;
 2                                 REQUEST FOR JUDICIAL NOTICE
 3   34.            While Petitioner has endeavored to specifically state all
 4   facts and law supporting each claim herein, additional supporting
 5   facts and law may have been stated in separate claims. For this
 6   reason, Petitioner incorporates by reference each and every
 7   paragraph of this petition into each and every claim presented as
 8   if fully set forth therein.
 9
10   35.            Petitioner additionally incorporates all exhibits filed
11   concurrently with this petition and all exhibits which may be
12   subsequently filed in this action.7
13
14   36.            Petitioner requests that under Rule 201 of the Federal
15   Rules of Evidence this Court take judicial notice of the certified
16   record on appeal and all pleadings, briefs, orders and exhibits
17   filed with the California Supreme Court in connection with
18   Petitioner’s appeal and in connection with Petitioner’s state
19   habeas petition.           Petitioner also requests that this Court take
20   judicial notice of the record of other proceedings before the state
21   courts before and during the time of Petitioner’s trial.
22
23
24
            7
               As noted in n. 1 above, counsel for Respondent has advised
     the undersigned counsel that, consistent with the local habeas rules
25   of this Court, Respondent will lodge the entire record of the prior
     judicial proceedings. Accordingly Petitioner is not presenting the
26   entire record of said proceedings. Should Respondent fail to do so,
     or if this Court should otherwise request, Petitioner will present
27   such records to this Court.

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 1                                         VI.
                      GENERAL ALLEGATIONS APPLICABLE TO ALL CLAIMS
 2
 3   37.            In the interest of brevity and to avoid repetition,
 4   Petitioner makes the following allegations for each of the
 5   enumerated claims below and incorporates these allegations into
 6   each claim.
 7
 8   38.            The declarations and other exhibits submitted with this
 9   petition and the allegations set forth in this petition are hereby
10   incorporated by reference into each claim in this petition.
11
12   39.            After Petitioner has been provided discovery, the use of
13   this Honorable Court’s subpoena power, and the opportunity to fully
14   investigate his claims, Petitioner will and hereby does request an
15   opportunity to supplement or amend this petition.
16
17   40.            If the State disputes any of the facts alleged below,
18   Petitioner requests that this Court issue an order directing that
19   an evidentiary hearing be held so that the factual disputes may be
20   resolved.       After Petitioner has been afforded discovery and the
21   full disclosure of material evidence by the prosecution, the use of
22   this Court’s subpoena power, and the opportunity to investigate
23   fully, he requests an opportunity to supplement or amend this
24   petition.
25
26   41.            Petitioner does not waive any applicable rights or
27
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 1   privileges by the filing of this petition and the exhibits; in
 2   particular, Petitioner does not waive either the attorney-client
 3   privilege or the work-product doctrine protection.                    Petitioner
 4   requests that any waiver of a privilege occur only after a hearing
 5   with sufficient notice and the right to be heard on the issue.
 6   Petitioner also requests “use immunity” for each and every
 7   disclosure he has made and may make in support of this petition.
 8   See Bittaker v. Woodford, 331 F.3d 715 (9th Cir. 2003)(en banc).
 9
10   42.            The violation of Petitioner’s constitutional rights
11   constitutes structural error and warrants the granting of this
12   Petition without any determination of whether the error was
13   harmless. Even assuming that the harmless error doctrine applies,
14   however, relief is nevertheless required because the error “had
15   substantial and injurious effect or influence” in determining
16   Petitioner’s convictions and sentences. Brecht v. Abrahamson, 507
17   U.S. 619, 627, 631, 638 (1993); Fry v. Pliler, 551 U.S. 112, 121
18   (2007). Relief is also required because the errors so infected the
19   integrity of the proceedings as to warrant habeas relief even if
20   they did not substantially influence the jury’s verdict. Brecht,
21   507 U.S. at 638 n.9.
22
23   43.            The constitutional violations set forth in each
24   individual claim alone justify relief.                  In the alternative, if this
25   Honorable were to conclude such is not justified when the claims
26   are considered individually, Petitioner alleges and avers this
27
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 1   Court should conclude that relief is justified when the claims are
 2   considered in the aggregate. Taylor v. Kentucky, 436 U.S. 478, 487
 3   n.15 (1978); Phillips v. Woodford, 267 F.3d 966, 985 (9th Cir.
 4   2001).
 5
 6   44.            If Respondent contends that any claim should not be
 7   considered on the merits because the California Supreme Court found
 8   the claim to be procedurally barred under state law, Petitioner
 9   contends that the bar does not preclude federal merits review
10   because it is not an adequate and independent state ground. See
11   Coleman v. Thompson, 501 U.S. 722, 729-30 (1991); Bennett v.
12   Mueller, 322 F.3d 573, 580 (9th Cir. 2003). If this Court finds any
13   claim to be procedurally defaulted, federal review on the merits of
14   the claim is nevertheless required because given an opportunity
15   Petitioner can and will establish: (1) cause and prejudice for the
16   default; and (2) that the failure to consider the claim will result
17   in a fundamental miscarriage of justice. Coleman, 501 U.S. at 750,
18   753-754; House v. Bell, 547 U.S. 518, 522 (2006).
19
20   45.            To the extent that any claim, or part thereof, is deemed
21   to be unexhausted, untimely, or procedurally or otherwise barred,
22   it is a result of the ineffective assistance of prior counsel
23   (trial and/or appellate and state habeas counsel) and/or inadequate
24   state court funding for post-conviction proceedings. Prior counsel
25   (trial and/or appellate and state habeas counsel) was ineffective
26   in not raising the claim earlier. See Martinez v.
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 1   Ryan, 132 S. Ct. 1309, 1315, 1320 (2012); Evitts v. Lucey, 469 U.S.
 2   387, 396-97 (1985); Strickland v. Washington, 466 U.S. 668 (1984).
 3   Accordingly, Petitioner urges this Honorable Court to adjudicate
 4   any such claim(s) on the merits.
 5
 6   46.            Petitioner is presently aware of the facts set out below,
 7   establishing the right to relief. To the extent that the facts set
 8   forth below could not reasonably have been uncovered by trial
 9   and/or appellate and state habeas counsel, those facts constitute
10   newly discovered evidence which casts fundamental doubt on the
11   accuracy and reliability of the proceedings and undermines the
12   prosecution’s case against Petitioner such that his rights to due
13   process and a fair trial have been violated, and collateral relief
14   is appropriate.
15                                            VII.
                                 PROCEDURAL HISTORY OF THE CASE
16
17   47.            On September 9, 1993, the Alameda County district
18   attorney filed a complaint against Ernest Edward Dykes
19   (“Petitioner”) charging him with murder with a special circumstance
20   and use of firearm and great bodily injury clauses, and
21   premeditated attempted murder.              (CT 1)      The latter offense also
22   contained enhancement allegations for the infliction of great
23   bodily injury, the use of a firearm and an aged victim.                        (CT 2)
24   Petitioner had counsel appointed to represent him.8
25
            8
26             On August 24, 1993, Attorney Spencer Strellis was appointed
     to represent Petitioner. (CT 10) William Daley was later appointed
27                                                          (continued...)

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 1   48.            The trial court held a preliminary hearing on November
 2   19, 1993.       (CT 97)       At the conclusion of the hearing, the court
 3   held Petitioner to answer for the crimes charged.                     (CT 208-10)
 4
 5   49.            On December 2, 1993, the prosecution filed a multi-count
 6   information against Petitioner, alleging several crimes arising out
 7   of the incident.           (CT 213-16) In particular, Count 1 alleged that
 8   on July 26, 1993, Petitioner committed the murder of Lance Clark in
 9   violation of Penal Code9 section 187.                   (CT 213)10
10
11   50.            Petitioner pled not guilty, and after pretrial
12   proceedings not germane here, jury selection began on May 16, 1995.
13
            8
14         (...continued)
     as second counsel. As Mr. Strellis was in name and de facto lead
15   counsel, references herein to counsel are generally to him alone.
            9
16             Unless otherwise noted, all statutory references are to
     California statutes. For example, Penal Code references are to the
17   California Penal Code, and Evidence Code references are the California
     Evidence Code, and so forth.
18          10
               The information further alleged the special circumstance
19   that the murder was committed while Petitioner was engaged in the
     commission, attempted commission, and the flight thereafter of a
20   robbery, in violation of PC § 190.2(a)(17)(i). (CT 213-14) Count 1
     also alleged that Petitioner personally used a firearm in violation
21   of sections 1203.06 and 12022.5. (CT 214)
          Count 2 alleged that on the same day, Petitioner attempted to
22   murder Bernice Clark, in violation of PC §§ 664 and 187. (CT 214-15)
     Count 2 further alleged that the attempted murder was committed with
23   premeditation and deliberation, and that Petitioner personally used
     a firearm, within the meaning of §§ 1203.06 and 12022.5. Id. Count
24   2 also alleged that Petitioner inflicted great bodily injury on Mrs.
     Clark, in violation of §§ 1203.075, and 12022.7, and that she was an
25   aged victim, within the meaning of § 1203.09(a).
          Finally, count 3 alleged that on the same day, Petitioner robbed
26   Bernice Clark, in violation of PC § 211. Count 3 also alleged an
     enhancement for personal use of a firearm, the infliction of great
27   bodily injury, and for an aged victim. (CT 215-16)

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 1   Opening statements commenced on July 10, 1993.                      On August 2, 1993,
 2   the jury found Petitioner guilty of the first-degree murder of
 3   Lance Clark, and the robbery and attempted murder of Bernice Clark.
 4   (RT 3739-41)         The jury concluded that the special circumstance,
 5   robbery-murder, was true.              Id.   The jury also found the charged
 6   enhancements for use of a firearm, infliction of great bodily
 7   injury and an aged victim to be true.                      Id. Notably, the jury
 8   concluded that the attempted murder of Bernice Clark was not
 9   committed with premeditation and deliberation.                      (RT 3739)
10
11   51.            The penalty phase of the trial began on August 8, 1993,
12   and ended the next day on August 9, 1995.                      The jury began
13   deliberating on August 10, 1993.                  (RT 3972)      On August 23, 1995,
14   the court excused two jurors, replacing them with alternates. The
15   jury resumed deliberations.              (RT 4026-35, 4039-41) The next day, on
16   August 24, 1995, the jury fixed the penalty at death.                        (CT 550,
17   518; RT 4043)
18
19   52.            Post-trial, the defense moved for a new trial based on
20   prosecutorial and juror misconduct.                      (CT 649-53; 691-727)      On
21   December 22, 1995, the trial court denied those motions, as well as
22   a motion to modify the judgment. That same day the trial court
23   sentenced Petitioner to death. (CT 767-68, 771-94; RT 4091)
24
25   53.            Petitioner appealed the judgment and sentence to the
26   California Supreme Court. He also sought a writ of habeas corpus
27
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 1   from the California Supreme Court.                      That court denied all requested
 2   relief. People v. Dykes, 46 Cal. 4th 731 (2009); Order in re Dykes,
 3   8/31/2011.
 4                                           VIII.
                              STATEMENT OF FACTS OF THE OFFENSES
 5
 6   A.             Background
 7   54.            Bernice Clark owned a six-unit apartment building at 9706
 8   Cherry Street in East Oakland. As a matter of routine, she visited
 9   the building a few times per month, usually on the first of the
10   month to collect rent and at other times to assist with building
11   maintenance.         (RT 2695, 2697)        Frequently Mrs. Clark brought her
12   adult son or granddaughter with her.                     (RT 2978)   On occasion Mrs.
13   Clark brought her eight-year old grandson, Lance Clark, along.                            (RT
14   2696)
15
16   55.            Mrs. Clark frequently lent her tenants small amounts of
17   money and cashed personal checks for them.                     (RT 2700) Doing so, she
18   would subtract any amounts owed for rent from the check and then
19   provide the remainder to the tenant.                     (RT 2700-01)    Several months
20   before the shooting, Mrs. Clark cashed a check for Petitioner.
21   (Id.; RT 3336-37)           Tenants understood she regularly carried
22   significant amounts of cash with her.                     One tenant, LaCondra
23   Douglas, warned Mrs. Clark about carrying around so much money at
24   the apartments.          (RT 2977-78)11
25
             11
26             LaCondra Douglas testified that the tenants of the building,
     located in an impoverished area, were known joked about robbing Mrs.
27                                                          (continued...)

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 1   56.             In November, 1992, Petitioner’s girlfriend, Bianca
 2   Rodriguez, gave him $50.00 to buy a gun for his birthday.                       (RT
 3   3422, 3424)        At some point, he showed her a gun that he had
 4   purchased.        (RT 3425) Petitioner           bought the gun, because he felt
 5   he needed to have one for self-protection in his neighborhood.                         (RT
 6   3303)        When he purchased the gun, he did not initially buy any
 7   bullets for it.          (RT 3304)
 8
 9   57.             A couple of months before the events at issue here, Ms.
10   Douglas sold Petitioner some bullets for a .45 caliber gun.                        (RT
11   2956)12
12
13   B.              The Events of July 26, 1993
14   58.             On July 26, 1993, Mrs. Clark visited the apartment
15   building to bring some plastic bags to her maintenance man, Leo
16   Pena.        She brought Lance Clark with her.           (RT 2697)     She arrived at
17   around 2:30 p.m., and parked in the parking lot at the rear of the
18   building.        Id.    She turned her car around so it was facing the
19   building before she got out of the car.                 (RT 2698, 2845) Thus, her
20
21           11
            (...continued)
22   Clark.    (RT 2961-62)   A couple of months before the shooting,
     Petitioner had been visiting with other tenants when they discussed
23   the possibility of robbing Mrs. Clark. (RT 2961) Douglas testified
     that Petitioner stated he would like to "get that lady's money."
24   (Id.; RT 2963, 2967)
             12
25             Petitioner testified that she gave him the bullets, he
     denied paying her for them. (RT 3305) He test-fired a number of them
26   after he received them. Petitioner also denied he was the one who
     stated he would like to get “that lady’s money” although he admitted
27   to being present when the statement was made by another. (RT 3334)

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 1   car was facing apartment #6.                 Petitioner’s mother rented apartment
 2   #6, an upstairs unit with a window overlooking the parking lot.
 3   (RT 2698-99)13
 4
 5   59.             After arriving, Mrs. Clark and Lance got out of the car
 6   and she spoke to Mr. Pena. (RT 2701)                      After she talked with Pena,
 7   she and Lance got back into the car.                      Edward Tyson, the tenant in
 8   apartment #1, came up to her and asked to borrow $20.00.                          (RT 2703)
 9   Tyson had previously called her to see if she was coming over to
10   the building and to ask if could have a $20.00 loan; she had agreed
11   to lend him the money.                 (RT 2703, 2738-39)14      She sat in the
12   driver's seat of her car, with the door open and Tyson stood by the
13   door.        (RT 2707-08) As was her practice, she gave him a business
14   card to sign and date with his name and the amount of money, and
15   then gave him $20.00.             (RT 2703, 2841-42)
16
17   60.             Approximately three to five minutes before hearing the
18   gunshots, Odom saw Petitioner at the front of the building by the
19
             13
20             The apartment building is two stories and contains six
     apartments, units 1-3 on the ground floor and 4-6 on the second floor.
21   (RT 2692-93) Apartments 1 and 4 are in the front of the building by
     Cherry Street, and apartments 3 and 6 are in the rear near to the
22   parking lot. Id. The apartment building has two staircases, one in
     the front that leads to the upstairs walkway which goes by the front
23   of the apartments, and a second staircase in the back by apartment 6.
     (RT 2693-94) The front staircase ends at the front door of apartment
24   6. (RT 2750-51)

25           14
               Mrs. Clark testified at trial that she had a few hundred
26   dollars in cash in her bankbook which was located underneath the seat
     of her car. (RT 2703) She also had some money in her purse. (RT
27   2704-05)

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 1   mailboxes.        Odom was standing on his balcony in front of his
 2   apartment at the time.                 Petitioner was wearing a gray hooded
 3   sweatshirt and green or blue acid-washed jeans.
 4
 5   61.            As Tyson and Mrs. Clark were talking, Petitioner -
 6   wearing a gray or white hooded sweatshirt and with a woman's nylon
 7   stocking over his face - came up to the car and may have said "This
 8   is a robbery," or words to that effect.                    (RT 2708, 2844-45)        When
 9   Tyson first saw Petitioner, he was standing right in front of him.
10   Id.    Initially, Petitioner pointed the gun at Tyson's forehead from
11   about four feet away.             (RT 2846)        Tyson thought that the demand for
12   money was directed at him and responded by taking a couple of steps
13   back and stating that he didn't have any money.                     (RT 2847-48)
14   Petitioner turned his attention to Mrs. Clark, pointed the gun at
15   her, and demanded her money.                (RT 2848)      Tyson heard Mrs. Clark say
16   to the robber that he looked like one of her tenants, and also
17   heard her say the name "Ernest."                   (RT 2849-51)    After Tyson heard
18   this, he backed away from the man and then ran for a gap in the
19   back fence. (RT 2850-51, 2853)
20
21   62.            At trial the testimony regarding what happened next was
22   conflicting. It is clear the gun was fired, but the number of
23   gunshots and the timing of the shots conflicted.                       Two bullets were
24   recovered from Mrs. Clark's vehicle.                      However, Mrs. Clark
25   testified that Petitioner fired the gun only once - immediately
26   upon approaching her - without even saying anything and before she
27
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 1   had the opportunity to hand him the money.                     (RT 2709)    She recalled
 2   the gun went off after the man put the gun behind her neck.                          (RT
 3   2741)
 4
 5   63.             Witness Odom heard two shots, and heard the sound of
 6   glass breaking after the second shot.                    (RT 2787)
 7
 8   64.             Petitioner testified that the gun fired twice, but he had
 9   pulled the trigger three times.                 He first pulled the trigger to
10   fire a warning shot into the back window of the automobile.                          (RT
11   3310) But the gun only clicked, and so he pulled the trigger again,
12   firing the warning shot.               Id.   He fired the second shot
13   accidentally; it was this shot that struck Mrs. Clark and killed
14   Lance.        (RT 3312-13)
15
16   65.             At some point, either in response to Petitioner’s demand
17   or the gunshot, Mrs. Clark held up her wallet and told Petitioner
18   to take the money and leave the credit cards, which he did.                          (RT
19   2710, 2745-47)          They struggled over the wallet, which she did not
20   wish to relinquish because of the credit cards and identification.
21   (RT 2710, 3312)          Mrs. Clark recalled that after she had been shot,
22   she said to the robber that he looked like the tenant in Apartment
23   #6.    (RT 2745)        She was able to see Petitioner through the nylon
24   mask.        (RT 2711)15
25
             15
26             At trial, the prosecution contended there were two shots:
     the first shot shattered the car’s back window, and then Petitioner
27                                                        (continued...)

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 1   66.             Meanwhile, Tyson was still fleeing.             (RT 2854-57)       After
 2   he went through the fence, he looked back in the direction of the
 3   parking lot, and then ran around the curb to another apartment
 4   complex, out of the line of sight of the car.                   (RT 2856-60)       He
 5   waited about 30 seconds to one minute, and returned to the car.
 6   (RT 2680)        As he lifted his head back up, he glimpsed someone
 7   running from the direction where the gunman had been. Id.                       Odom saw
 8   Petitioner go over the fence.               (RT 2763)
 9
10   67.             At this point, Tyson returned to the parking lot.                  (RT
11   2861)        When he reached Mrs. Clark's car, the driver's side door was
12   closed. Id. Mrs. Clark seemed to be trying to start the car. Id.
13   Tyson tried to open the driver's door but it was locked. (RT 2862)
14   He ran to the passenger side door, which was unlocked, and then he
15   saw that Lance had been shot.               Id.
16
17   68.             Tyson, his girlfriend, and Odom attempted to assist Mrs.
18   Clark and Lance.           It was apparent that the child had been badly
19   injured. (RT 2864) He stopped breathing before the ambulance
20   arrived. (RT 2865)
21
22   69.             Within three to five minutes, the police arrived and the
23
24           15
           (...continued)
25   allegedly fired the second shot, allegedly intending to kill Mrs.
     Clark once he realized she could identify him. (RT 3451-52)        To
26   advance this view, the prosecution rejected both Mrs. Clark’s and Mr.
     Tyson’s versions of the events. (RT 3454-55) By its verdict, the jury
27   rejected the prosecution’s theory.

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 1   ambulance arrived thereafter. (RT 2866)                   Emergency medical
 2   personnel could not revive Lance and he was pronounced dead.                         Mrs.
 3   Clark was shot in the back of her neck, but she recovered from her
 4   injuries.       (RT 2715)
 5
 6   70.            About ten (10) to fifteen (15) minutes after the
 7   shooting, Petitioner returned to the scene and made a statement to
 8   Oakland Police Department ("OPD") Officer Ceasar Basa who was
 9   canvassing the area.             (RT 2893) Petitioner told Basa that at about
10   4:35 p.m., he saw Mrs. Clark standing near her car, talking with
11   Tyson.      (RT 2898) Petitioner related he had walked past them
12   through the rear yard, toward Birch Street.                   Id.    He then heard
13   gunshots, and claimed to have seen an unknown Black male running
14   away.     (RT 2898)        Petitioner said he could not identify the man if
15   he were to see him again. Id. Petitioner signed a written statement
16   affirming the truth of his statement.                   Id.   Basa testified that
17   during the interview Petitioner did not seem upset or excited, nor
18   did he appear to be under the influence of alcohol or drugs.                         (RT
19   2897-98)
20
21   71.            Odom was watching while Petitioner talked with the
22   police.      (RT 2815)        By that time, Petitioner had changed his
23   clothes and was no longer wearing the gray sweatshirt and long
24   pants.      Id.    At the preliminary hearing, Odom testified he heard
25   Petitioner state to Officer Basa:                  "that's messed up.      The dude ran
26   right by me," or words to that effect.                   (RT 2818)    Later that
27
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 1   evening, Odom spoke with Petitioner and told him he knew that he
 2   had committed the robbery and shooting.                   (RT 2775) Petitioner
 3   confessed he had, telling Odom that "he didn't mean for it to go
 4   down like that."           Id. Petitioner also allegedly told Odom that he
 5   got about $100 during the robbery, and that he took the money to
 6   his girlfriend's house.                (RT 2776)
 7
 8   C.             Petitioner’s Arrest and Confession
 9   72.            At approximately 8:45 a.m. on August 7, 1993, Petitioner
10   telephoned the Oakland Police Department and spoke to Saundra Marie
11   Fears, a civilian employee.                (RT 2983)     Fears testified that
12   Petitioner stated "Hello, my name is Ernest Dykes and I want to
13   know if I shot somebody."                (Id.; RT 2992)     She asked him who he was
14   supposed to have shot and he mentioned the name Bernice Clark.                          (RT
15   2986)     She recalled the name, placed Petitioner on hold and found
16   the report.        (RT 2986-87)          She kept him on the line for 15-20
17   minutes during which time Petitioner told her where he was, asked
18   to have the dispatcher send police for him, and an officer was sent
19   to the location.           (RT 2989-91, 2992-93)          During the conversation,
20   Petitioner indicated he was responsible for the robbery and murder.
21   (RT 2991, 2993, 2995)             However, he also stated "I didn't do it."
22   (RT 2984-85)
23
24   73.            At some point during the conversation, he told the
25   dispatcher the police were almost there and he stayed on the
26   telephone with her until they arrived.                   (RT 2995)    When the police
27
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 1   arrived, she told Petitioner to go outside holding nothing in his
 2   hands and with his hands up.                Id.     OPD Officers Grier and Fritz
 3   arrested Petitioner. (RT 3004)
 4
 5   74.            Fritz put Petitioner in his patrol car.                 (RT 3005)      Fritz
 6   advised Petitioner that he was under arrest for suspicion of murder
 7   and that Petitioner was not to ask about the case.                      (RT 3009)
 8   Police officers Fritz and Keller transported him to the police
 9   station.       At some point, Petitioner began to talk, making a number
10   of disjointed statements during the ride.                   (RT 3009-10)         Petitioner
11   was talking quickly and rambling.                   (RT 3015)   He said:
12                  This can't be happening to me, I wake up like this,
13          my father called me and told me, then I called the
14          station, I wouldn't do this to Ms. Parker [sic], I seen
15          people come and go, the paper said I borrowed money from
16          her, that was the other tenants.                  I don't know how they
17          can identify me.           Shit, this is not right.
18   Id.    Petitioner appeared to be thinking out loud and was repeating
19   himself, over and over.                (RT 3016)
20
21   75.            Homicide detectives John Madarang and Robert Chenault
22   interviewed Petitioner at the station. Petitioner initially denied
23   involvement in the shooting, then he began confessing.                       (RT
24   3162-64, 3166, 3170-73)
25
26   76.            Petitioner became increasingly emotional as the interview
27
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 1   progressed, becoming more and more upset.                      He decided to tell the
 2   detectives "what really happened."                      (RT 3170)     He can be heard
 3   audibly sobbing during the two audio recordings introduced at trial
 4   of his confessions.            (Tr. Exh. 5, 7)
 5
 6   77.            Before the detectives began recording, Petitioner told
 7   them about the state of his life that led up to his needing money.
 8   (RT 3171) Petitioner also told them that he had thrown the gun that
 9   he used in the robbery into the water at the Alameda estuary.                               (RT
10   3172, 3209)        He described the gun as an old army issue Colt.45, a
11   1917 revolver.          Id. He told the detectives that he had bought the
12   gun for $90 from his former manager at Togo's.                         (RT 3172-73)       He
13   also admitted firing a shot while committing the robbery.                             (RT
14   3172)
15
16   78.            In his first recorded statement, Petitioner admitted that
17   he saw Mrs. Clark on July 26, 1993, between 4:00 and 5:00 p.m.                               (CT
18   16798)      She was in the back parking lot with Ed, the tenant who
19   lived in apartment #1. Id.              Petitioner did not see Mrs. Clark's
20   grandson, Lance.           (CT 16799) Petitioner decided to get some money
21   from Mrs. Clark at gunpoint.             Id.       He knew that she had collected
22   rent in the past, and she had previously cashed his income tax
23   refund check for him.             Id.   He was wearing a white sweater with a
24   hood, and blue jeans, and had covered his face with a nylon in the
25   hope Mrs. Clark would not be able to identify him.                          (CT 16800)       He
26   carried the .45 revolver which contained two bullets.                           Id.
27
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 1   79.            The gun was in his waistband as Petitioner ran toward the
 2   car.     (CT 16801)        Mrs. Clark was in the driver's seat.                He went up
 3   to the car and told her to give him the money.                     Id.    Then, because
 4   he felt he needed to scare her, he fired a warning shot into the
 5   back window of the car, after initially pulling the trigger and
 6   having the gun dry-fire.               (CT 16801, 16807-08)         He reached for her
 7   wallet, and she said take the money, but a struggle over the wallet
 8   ensued.      Id.     He was pulling on the money and trying to run.                   (CT
 9   16807)      He did not intend for the gun to go off and did not point
10   the gun at her head.             (CT 16801, 16807) Petitioner denied intending
11   to kill Mrs. Clark or Lance.               (CT 16807)      Mrs. Clark made a noise
12   after the gun fired.             (CT 16802)
13
14   80.            After the gun went off, Petitioner had the money in his
15   hand.     He got approximately $140 from the robbery.                    Id.     After the
16   robbery, he left the parking lot through the back fence and went to
17   a vacant house to change his clothes.                   Id.    He took off his clothes
18   and threw them in a garbage bin.                 Id.    He was wearing shorts and a
19   t-shirt underneath.            (CT 16803)      By changing his clothes, he hoped
20   that "they wouldn't know if it was me or not."                     Id.    After that, he
21   went to a store and got a beer.                (CT 16802-03)       Then, he returned
22   to the apartment complex.
23
24   81.            When he returned to the apartments, the police were
25   there, and he recalled talking to an officer.                     (CT 16803-04)
26
27
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 1   82.            Petitioner explained that he needed the money to go to
 2   school and take classes in carpentry and masonry.                     (CT 16804)         It
 3   cost $12/unit to take classes.              Id.
 4
 5   83.            Petitioner said he got the gun from Ron Marengo, a
 6   manager at his former place of employment.                    Id.   A woman who lived
 7   in his apartment complex, Connie, had given him the bullets about a
 8   month prior.         (CT 16805)        She gave him between 12-18 bullets.
 9
10   84.            Petitioner recalled that before the shooting he had drunk
11   five (5) 16 oz. beers and was affected by them.                     Id.    He began
12   drinking around 2:30 p.m. that afternoon.                 (CT 16805-06)          He stated
13   that he thought about robbing Mrs. Clark about 15-20 minutes before
14   he went down with the gun.              (CT 16806)      Petitioner did not know
15   that the boy was in the front seat until he returned to the
16   apartments after the shooting and the police said a boy had been
17   shot.     (CT 16806)
18
19   85.            Petitioner was remorseful, stating: "I didn't mean it to
20   go down like that."            Id.     He spent the money on drinking, trying to
21   forget.      This recorded statement ended at 5:19 p.m.                   (CT 16808)
22
23   86.            Petitioner’s second statement, taken by Deputy District
24   Attorney O'Connor, in the presence of Detective Madarang, commenced
25   at 6:25 p.m. the same evening.              During the second statement,
26   Petitioner added only a few details. Petitioner testified that he
27
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 1   did not know how many bullets were in the gun when he pulled it out
 2   to fire the warning shot.                 (CT 16813)      He stated he fired the
 3   warning shot to scare Mrs. Clark into understanding that he was
 4   serious and wanted the money.                 (CT 16814) Initially she was not
 5   scared and told him, "don't be stupid."                    (CT 16815)    When he
 6   grabbed the money, the gun went off and he heard her scream.                           (CT
 7   16814)      Petitioner had not checked to see if the gun was loaded,
 8   because he believed that Mrs. Clark would be scared if she just saw
 9   the gun.       Id.    Petitioner also told O'Connor that the gun
10   malfunctioned frequently: that the trigger would jam, and then
11   become extremely loose, with a very light trigger pull.                          (CT
12   186817-18)        At the end of his second statement, Petitioner began
13   crying uncontrollably and reiterated that he did not "mean it to go
14   down like that.          I'm no killer."           (CT 16820)
15
16   87.            Both of Petitioner’s taped confessions were played and
17   entered into evidence.                 (RT 3174; Tr. Exh. 5, 7)
18
19   88.            While Chenault claimed that Petitioner denied being under
20   the influence of alcohol at the time of the crime, Chenualt
21   admitted that Petitioner told the detectives that he drank four (4)
22   cans of beer before the robbery.                   (RT 3205, 3210-11)     Chenault also
23   confirmed that during the interview Petitioner told the detectives
24   the firing of the second shot was an accident and he did not even
25   know he had hit the boy.                 (RT 3209, 3212)
26
27
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 1   D.             Forensic Evidence
 2   89.            Forensic evidence showed that a single bullet went
 3   through the back portion of Mrs. Clark's neck and into the left
 4   side of Lance’s chest.                 (RT 2670, 2668) The bullet created a large
 5   entrance wound in Lance's body.                  (RT 2666, 2668)      The bullet exited
 6   Lance's body on the lower right hand side of his back.                        (RT 2666)
 7   The bullet struck a number of vital organs, including the heart,
 8   the aorta, and the liver.                (RT 2667)        The bullet wound caused
 9   extensive internal bleeding.                (RT 2688)       The cause of death was the
10   single gunshot.          (RT 2689)         The bullet was recovered from the body
11   of the car; it was found underneath Lance's body.                       (RT 2933)
12
13   90.            The forensic pathologist, Dr. Hermann, could not
14   determine with certainty the victim's position at the time he was
15   shot, because he did not know the positioning of the gun.                          (RT
16   2675)     Dr. Hermann testified, in response to a hypothetical
17   question, that if the bullet had passed through another person's
18   neck, one would expect it to go straight through the neck without
19   changing its course. (RT 2675)                If the bullet was fired through the
20   window and went through the neck of another, it would not be
21   expected to head downward as it did in Lance's body.                        (RT 2675-76)
22   Hermann opined that the victim's body would have to have been
23   tipped over toward the left side of the car so that when the bullet
24   struck him, it headed downward through his body.                      Id.
25
26   91.            A ballistics expert, Dr. Lansing Lee, testified that the
27
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 1   two bullets recovered from the victim's car, trial exhibits 27 and
 2   28, were ammunition for a .45 caliber semiautomatic pistol and had
 3   been fired by the same gun.               (RT 3121-22)       Dr. Lee testified that
 4   normally, a revolver could not properly fire bullets designed for a
 5   semiautomatic weapon.             (RT 3127)      However, the Colt Company had
 6   manufactured one revolver that could fire such ammunition.                          (RT
 7   3127-28)       Dr. Lee produced a replica gun, which was a Colt .45
 8   revolver, the 1917 model designed for the United States Army.                            (RT
 9   3128-31)
10
11   92.            Dr. Lee testified that a revolver like the replica gun
12   could be fired using either a double or single action.                       (RT 3133)
13   Firing the gun using a single action mechanism required the person
14   to pull back the hammer.               (RT 3133)        Alternatively, the person
15   using a weapon could simply pull the trigger without pulling back
16   the hammer, but this method required greater force to pull the
17   trigger.       (RT 3134)       Dr. Lee opined that it took approximately 10
18   pounds of pressure to fire the replica gun using a double action
19   mechanism, with a minimum of eight pounds of pressure.                       (RT 3136)
20   He estimated that it would only take about two pounds of pressure
21   to fire the replica gun if the hammer was already cocked.                          (RT
22   3136-37)       His estimates of the pressure required to fire the gun
23   were based solely upon the replica gun.                    (RT 3140)    Dr. Lee did not
24   examine the gun that was actually used in the shooting.                          (RT 3141)
25
26   93.            Deborah Rivers, a crime scene investigator, photographed
27
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 1   the scene and examined Mrs. Clark's vehicle.                        (RT 2907-10)      When
 2   she examined the vehicle, she observed the rear passenger side
 3   window was broken out, with glass in the car and outside the car on
 4   the ground.        (RT 2915)           She opined that the bullet entered through
 5   the first wall of the door, went through the base of the window,
 6   and then dented the second wall of the door.                        (RT 2917-18)      She
 7   recovered a spent bullet from the interior portion of the right
 8   rear door of the vehicle.                (RT 2916, 2918)          Rivers inserted a
 9   wooden dowel into the bullet hole, in an attempt to draw the
10   possible trajectory of the bullet.                        (RT 2919-21)   She admitted that
11   her estimate of trajectory could be off by several inches.                            (RT
12   2930-31)       She believed that the window shattered from velocity and
13   concussion, not because the bullet went through it.                         (RT 2931)       She
14   noted that the fact that the bullet went through the first part of
15   the door, before creating the dent in the second part of the door,
16   could have changed its path.                Id.      Rivers prepared a diagram, which
17   was admitted into evidence, of the location of Mrs. Clark's
18   vehicle, as well as other vehicles that were present in the parking
19   lot.     (RT 2922-26)
20
21   E.             The Defense Case
22   94.            Petitioner testified in his own defense and admitted he
23   was the armed robber.             At the time of the robbery, he was
24   unemployed and looking for work.                   (RT 3294-95) He had left his job
25   working at Togo's in Hayward about a year prior to the incident.
26
27
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 1   95.             About a year prior to the incident, he bought a .45
 2   caliber revolver, because he lived in a dangerous neighborhood and
 3   wanted it for protection. (RT 3303-04)                       When he bought the gun, he
 4   did not buy any bullets for it.                  (RT 3304)       He got some bullets for
 5   the gun approximately two to three months after buying the gun.
 6   Id.    He obtained about 12-18 bullets from his neighbor, LaCondra
 7   Douglas.       (RT 3304-05) When testing the gun, he had noticed it had
 8   problems.        (RT 3304)       Sometimes the trigger locked up and would not
 9   pull back at all.           Id.        When he finally got the trigger mechanism
10   to work, the trigger was loose and took very little force to pull.
11   (RT 3304)        By July 26, 1993, he only had a few bullets remaining;
12   the rest had been used to test the gun.                       (RT 3305)
13
14   96.             On July 26, 1993, Petitioner had traveled to a couple of
15   different locations, looking for work.                       (RT 3294-97)    First, he
16   went to Internal Personnel, an organization that provides temporary
17   jobs.     Id.     Next, he went to the Togo's in downtown Oakland and
18   looked for a job there. (RT 3296-97)                       Petitioner wanted employment
19   and money, hoping he could attend Laney College. (RT 3296)
20
21   97.             These activities took several hours and when he was done,
22   he returned to his apartment at Cherry Street.                        (RT 3298)      When he
23   returned home, he lounged around and performed some household
24   chores.      (RT 3299)        While he was doing his chores, he made three
25   trips to the local store for beer.                        On each trip he bought two (2)
26   16 oz. cans of malt liquor.                (RT 3299-3301)          On his third trip, he
27
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 1   gave one of the cans of alcohol to Alphonso Odom. (RT 3300-01)                             He
 2   was feeling the effects of the alcohol when he finished the last of
 3   the beer.       (RT 3301)
 4
 5   98.            At that point, he took the vacuum cleaner to his sister's
 6   room and looked out the back window, which looked over the back
 7   parking lot.         (RT 3301-02)        He saw Mrs. Clark talking to Ed Tyson,
 8   but did not see anyone else there. (RT 3302)                      He did not see Mrs.
 9   Clark's grandson Lance. Id. It was then that he decided to rob Mrs.
10   Clark.      (RT 3302, 3306)            He went into his mother's room, got one of
11   her stockings to cover his face and then got his gun and put it in
12   his waistband.          (RT 3302-03, 3306)               Petitioner was wearing some
13   jeans over gym shorts and a sweatshirt.                      (RT 3306) Petitioner
14   walked downstairs and to the back quickly.                      (RT 3307)      Mrs. Clark
15   was halfway in the car, sitting in the car with her legs out and
16   Mr. Tyson was standing by the back door of the car.                        Petitioner did
17   not see anyone else in the area or in the car.                       (RT 3308)      When he
18   reached the car, he demanded money from Mrs. Clark and told Tyson
19   not to move. Id.
20
21   99.            Initially, Petitioner pointed the gun at Mrs. Clark.
22   Mrs. Clark told him "don't be stupid, child."                       (RT 3308)      Mrs.
23   Clark seemed to be hesitating, so Petitioner fired a warning shot
24   into the rear window of the car, to let her know that he was
25   serious.       (RT 3308)       When he fired the shot, he was right up at the
26   car and the gun was inside the car pointing in back of the seat
27
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 1   toward the back window. (RT 3309)                   When he first tried, the gun
 2   just clicked; then he pulled the trigger again and that’s when it
 3   fired a bullet into the back window. (RT 3310)                    Mrs. Clark then
 4   held out her wallet and Petitioner reached for it.                     (RT 3311)       Mrs.
 5   Clark had the wallet in her lap and was taking money out of it.
 6   (RT 3310) Petitioner was holding part of the wallet. Id.                        His right
 7   hand was wrapped around the headrest of Mrs. Clark's car seat,
 8   supporting himself and holding the gun in his right hand. Id.                          Both
 9   the gun and his hand were inside the car.                  (RT 3311)
10
11   100.           As they were struggling, Connie Douglas' boyfriend pulled
12   his car into the back parking lot and Petitioner was rushing
13   because he did not want him to see what was going on.                      Id.
14   Petitioner turned around and looked toward Connie's boyfriend over
15   his left shoulder.            (RT 3311)     Then, the car backed up and
16   disappeared.         (RT 3312)         Petitioner thought that Connie's boyfriend
17   had driven away quickly because he had seen what was going on.                          (RT
18   3311)
19
20   101.           It was during this period, while Petitioner was trying to
21   take the money from Mrs. Clark, that the gun went off.                      Id.
22   Petitioner did not know why the gun went off.                    He did not
23   intentionally pull the trigger.                 (RT 3312-13)     After the gun went
24   off, Petitioner dropped the gun.                  (RT 3313) As the gun went off, he
25   heard Mrs. Clark scream. Id.               Petitioner was not aware that Lance
26   Clark was in the car at all.               Id.      He did not intend to shoot Mrs.
27
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 1   Clark and never intended to injure or shoot Lance Clark.                          Id.
 2
 3   102.           Petitioner next picked up the gun and ran.                  Id.     He ran
 4   through a space in the back fence, through some apartments where
 5   some adults and children were standing around and stopped on Birch
 6   Street.      (RT 3314)        He then ran to a vacant house on Birch Street
 7   and stood there for awhile, wondering whether he had really shot
 8   her.     Id.    He took his pants and sweatshirt off. Id.                  He then went
 9   to another back yard where some people approached him, asking what
10   he was doing back there.                Id. He left, went back to the same store
11   and got another beer.             Id. He then returned to the Cherry Street
12   apartments where he saw the ambulance and the paramedics pulling
13   Lance Clark out of the car.                (RT 3315)        That was the first time
14   Petitioner realized Lance was there.                      Id.
15
16   103.           Petitioner was paranoid and afraid.                 (RT 3316)      At the
17   time of trial, Petitioner did not recall what he had told the
18   police at that time, but admitted that he lied to them because he
19   was afraid.        (RT 3316)           Eventually the police left and he stayed at
20   the apartments, living there for about a week or so.                       Id.     Most of
21   the time he got drunk, smoked marijuana and tried to forget. (RT
22   3317)     He did not eat and lost weight. Id.                   He testified "I was
23   just doing stuff like I felt this was my last days on earth or
24   something."        (RT 3317)
25
26   104.           Eventually, Petitioner talked with his father and his
27
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 1   brother.       Petitioner called the police after learning they were
 2   looking for him.           (RT 3317-18)      He spoke with a dispatcher and told
 3   her where he was.           (RT 3319)      She sent the police out to arrest
 4   him.     Id.    He stayed on the telephone until the police arrived and
 5   put down the phone when he saw police in riot gear.                      (RT 3319)
 6   When he came out of his apartment with his hands out, an officer
 7   came and handcuffed him.               (RT 3320)        He initially denied
 8   responsibility in the interview because he was scared, but
 9   eventually confessed to committing the crimes.                     Id.
10
11   105.           In closing argument, defense counsel conceded that
12   Petitioner was guilty of first-degree murder on a felony-murder
13   theory, given that even an accidental killing during the course of
14   a robbery was murder, but argued that the crimes were not
15   premeditated.         (RT 3468, 3474-75)           The defense argued that
16   Petitioner was not guilty of premeditated attempted murder or even
17   of attempted murder, but of the lesser included offense of assault
18   with a deadly weapon.             (RT 3475-77)          Counsel further argued that
19   Petitioner was not guilty of the special circumstance, because the
20   killing was an accident, not carried out to advance the robbery or
21   the escape.        (RT 3478-81)
22
23   F.             The Penalty Phase
24   106.           The prosecution presented victim impact evidence,
25   consisting of the testimony of Bernice Clark, Christine Clark
26   (Lance's sister), and Judy Schaaf (Lance's second grade teacher).
27
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 1   These witnesses described Lance and testified regarding the effect
 2   that his death had upon each of them.                       The prosecution also
 3   presented an edited videotape of the victim and his family at
 4   Disneyland. (Tr. Exh. 10)
 5
 6   107.           The prosecution presented evidence regarding a single
 7   uncharged circumstance in aggravation, Petitioner's prior
 8   possession of a concealed loaded firearm.                       OPD Officer Rand Monda
 9   testified that he and his partner detained Petitioner on December
10   16, 1991, in the 10000 block of East 14th Street at 100th Avenue.
11   (RT 3777)       Petitioner removed his gloves and placed them on the
12   hood of the police car.                 (RT 3779)         Officer Monda then pat-searched
13   Petitioner for safety, and noticed a gun protruding from one of the
14   ski gloves, which were sitting on the roof of his police car.                              Id.
15   Officer Monda asked Petitioner to sit in the back of the police car
16   and Petitioner complied.                 (RT 3779) Officer Monda then found the
17   glove contained a loaded .25 caliber firearm.                        (RT 3780)      When
18   Petitioner saw the officer had the gun, he yelled things from the
19   back of the squad car.                 (RT 3781)     The officer testified that the
20   incident stuck in his mind,                 because he didn't even see the gun and
21   "I could have been shot."                 (RT 3782)
22
23   108.           However, Petitioner did not shoot at the officer or
24   menace him with the gun.                 (RT 3783-85)        He had stood at the police
25   car when he was asked to do so and he submitted to the pat search.
26   Id.    He peacefully gave up the gun by taking off his gloves, which
27
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 1   contained the gun, and placing them on the roof of the police car.
 2   (RT 3784-85)         He removed his gloves without any request from the
 3   officer.       In due course, Petitioner was handcuffed and taken to
 4   jail, which procedures he did not resist.                    (RT 3785)
 5
 6   G.             Evidence in Mitigation
 7   109.           The defense presented an extremely limited case in
 8   mitigation, consisting of the testimony of a few members of
 9   Petitioner's immediate family.               Petitioner's mother Mary Brown, his
10   sister Sarah Dykes, his brother Israel Wroton, and his aunt
11   Floyzell Jones.          Each testified that they hoped Petitioner would
12   not be executed. (RT 3818-19, 3823-25, 3826-27, 3830-32, 3835-37)
13   They also testified that they visited Petitioner in prison and
14   intended to continue to do so.               (RT 3821, 3825, 3828-29, 3833-34)
15
16   110.           On cross-examination, the prosecution elicited testimony
17   that Mr. Wroton had visited Petitioner three times since he had
18   been incarcerated, Mrs. Brown had visited him almost every weekend,
19   and his aunt had visited him approximately two or three times
20   during the two years since he had been incarcerated.                      (RT 3821,
21   3825, 3828, 3833)
22
23   111.           Petitioner's father also testified, mostly regarding his
24   own life, including that he was a war veteran.                     (RT 3835-36)       He
25   said he did not want to see his son executed as that would be the
26   last of his family line.               (RT 3837)        The defense did not present
27
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 1   any further evidence in mitigation.
 2
                                            IX.
 3                         PETITIONER’S CLAIMS IN FEDERAL HABEAS
 4                                           Claim 116
 5   PETITIONER'S DEATH SENTENCE IS INVALID BECAUSE CALIFORNIA’S DEATH
     PENALTY SCHEME IS FUNDAMENTALLY FLAWED IN NUMEROUS RESPECTS; BOTH
 6   ON ITS FACE AND AS APPLIED TO PETITIONER.
 7   Synopsis
 8   112.           The U.S. Supreme Court has clearly stated that the death
 9   penalty is constitutional provided it is applied in a clearly
10   delineated manner designed to impose it only on the “worst of the
11   worst.”
12          Capital punishment must be limited to those offenders who
13          commit "a narrow category of the most serious crimes" and
14          whose extreme culpability makes them "the most deserving
15          of execution." Atkins, supra, at 319, 153 L. Ed. 2d 335,
16          122 S. Ct. 2242. This principle is implemented throughout
17          the capital sentencing process. States must give narrow
18          and precise definition to the aggravating factors that
19          can result in a capital sentence. Godfrey v. Georgia, 446
20          U.S. 420, 428-429 (1980) (plurality opinion).
21   Roper v. Simmons, 543 U.S. 551, 568 (2005).
22
23   113.           The recent re-affirmation of this principle by the Court
24
25          16
               This claim was exhausted during proceedings before the
26   California Supreme Court. See direct appeal claims XII, XV, XVI,
     XVII, XVIII, XIX, XXIII, XXIV, XXV, and XXVIII, and state habeas claim
27   24.

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 1   is in complete accord with the Court’s longstanding view,
 2   articulated as far back as when it invalidated the death penalty
 3   nation-wide in 1972, observing:
 4                  To avoid the Eighth Amendment's proscription against
 5          cruel and unusual punishment, a death penalty law must
 6          provide a 'meaningful basis for distinguishing the few
 7          cases in which the death penalty is imposed from the many
 8          cases in which it is not.'
 9   Furman v. Georgia, 408 U.S. 238 (1972)(conc. opn. of White, J.);
10   accord Godfrey v. Georgia, 446 U.S. 420, 427 (1980) (plur. opn.)
11   The capital punishment system our nation had in place at that point
12   no longer satisfied this mandate, and accordingly the Court struck
13   it down in its entirety.
14
15   114.           To meet this constitutional mandate, since then the
16   states have regularly been reminded by the Court they must
17   genuinely narrow, by rational and objective criteria, the class of
18   murderers eligible for the death penalty:
19                  Our cases indicate, then, that statutory aggravating
20          circumstances play a constitutionally necessary function
21          at the stage of legislative definition: they circumscribe
22          the class of persons eligible for the death penalty.
23   Zant v. Stephens, 462 U.S. 862, 878 (1983).
24
25   115.           Sadly, it has become increasingly obvious that
26   California's death penalty statute as utilized in this day, and in
27
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 1   particular as shown clearly in this specific case, does not
 2   meaningfully narrow the pool of murderers eligible for the death
 3   penalty.       Nor does it guide the sentencer properly.               Rather, in
 4   California it is a combination of random forces and factors that
 5   determine who will actually be subjected to the ultimate
 6   punishment.          This is constitutionally offensive.
 7
 8   CALIFORNIA’S DEATH PENALTY STATUTE OF OVER-INCLUSIVE AS
     DEMONSTRATED BY SECTION 190.2 AND AS APPLIED TO PETITIONER
 9
10   116.           At the time of the offenses at issue here, the statute
11   contained no less than twenty-nine (29) special circumstances that
12   purported to narrow the large category of first degree murders and
13   murderers to the “worst of the worst” cases.                  See e.g. Kansas v.
14   Marsh, 548 U.S. 163, 206 (2006)(those most deserving of the death
15   penalty.17      However, reality is that the listed special
16   circumstances found in § 190.2 are currently so numerous and broad
17   that they encompass nearly every first-degree murder.18
18
19   117.           This is all directly against the grain of the U.S.
20
            17
21             This figure does not include the “heinous, atrocious, or
     cruel” special circumstance declared invalid in People v. Superior
22   Court (Engert), 31 Cal.3d 797 (1982).
            18
23             The required narrowing in California is accomplished in its
     entirety by the "special circumstances" set out in Penal Code § 190.2.
24   The California Supreme Court has explained that "[U]nder our death
     penalty law, . . . the section 190.2 'special circumstances' perform
25   the same constitutionally required 'narrowing' function as the
     'aggravating circumstances' or 'aggravating factors' that some of the
26   other states use in their capital sentencing statutes." People v.
     Bacigalupo, 6 Cal.4th 857, 868 (1993).
27
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 1   Supreme Court’s orders; nevertheless this result was exactly the
 2   drafters' publicly declared desired result in California.                        When it
 3   enacted the 1978 statute, the public did so embracing the goal of a
 4   death penalty statute that was as all-inclusive as possible.
 5
 6   118.           This statute was enacted into law as a ballot-based
 7   initiative, Proposition 7, on November 7, 1978. Proposition 7
 8   replaced the death penalty statute that had been implemented in
 9   California just one year before in 1977.                  Proposition 7 truly
10   narrowed the number of offenders who might be sentenced to death,
11   and thus, in the public’s eyes, the 1977 statute was too narrow.19
12
13   119.           In the 1978 Voter's Pamphlet, the proponents of
14   Proposition 7 described certain murders not covered by the existing
15   1977 death penalty law, and then stated: "And if you were to be
16   killed on your way home tonight simply because the murderer was
17   high on dope and wanted the thrill, the criminal would not receive
18   the death penalty. Why?                Because the Legislature's weak death
19   penalty law does not apply to every murderer. Proposition 7 would."
20   1978 Voter’s Pamphlet at 34, "Arguments in Favor of Proposition 7."
21   (Exhibit 1)
22
23   120.           Proposition 7, now embodied in Section 190.2, was thus
24
25          19
                Indeed, the Supreme Court itself has contrasted the 1977 law
26   with the 1978 law under which Petitioner was convicted, noting that
     the 1978 law had "greatly expanded" the list of special circumstances.
27   Pulley v. Harris, 465 U.S. 37, 52 n. 14 (1984).

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 1   drafted and successfully enacted to satisfy a public intent that
 2   was directly contrary to what the Supreme Court had ordered: a
 3   narrow circumscription of the class of persons eligible for the
 4   death penalty.          In California, in a particularly disturbing twist
 5   that must surely offend the core of Enmund v. Florida, 458 U.S. 782
 6   (1982), almost all felony-murders are now potentially special
 7   circumstance cases, this even though - as here - felony-murder
 8   cases can clearly include accidental and unforeseeable deaths, as
 9   well as acts committed in a panic, or under the dominion of a
10   mental breakdown, or acts committed by others.                   People v. Dillon,
11   34 Cal.3d 441 (1984).
12
13   121.           Section 190.2's reach has been even further extended to
14   virtually all intentional murders by the California Supreme Court's
15   construction of the lying-in-wait special circumstance, which the
16   Court has construed so broadly as to encompass essentially all
17   intentional murders. See People v. Hillhouse, 27 Cal. 4th 469,
18   500-501, 512-515 (2002);               People v. Morales, 48 Cal.3d 527, 557-58,
19   575 (1989).        These broad categories are joined by so many other
20   categories of capital murder that the statute either does, or at
21   least appears to, come very close to achieving its impermissible
22   goal of making every murderer eligible for death. This simply does
23   not comport with Furman or any of its related progeny.
24
25   122.           A comparison of § 190.2 with Penal Code § 189, which
26   defines first degree murder under California law, reveals that
27
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 1   § 190.2's sweep is so broad that it is difficult to identify
 2   varieties of first degree murder that would not make the
 3   perpetrator statutorily death-eligible.20
 4
 5   123.           In California there is no winnowing such as that the
 6   Supreme Court declared a requisite to a constitutionally acceptable
 7   statute.       Petitioner alleges that it is not occurring generally,
 8   and it did not occur specifically in his case.                   This justifies
 9   relief.
10
11   124.           The U.S. Supreme Court has made it clear that the
12   narrowing function, as opposed to the selection function, is to be
13   accomplished by the legislature.                 The electorate in California and
14   the drafters of the Briggs Initiative threw down a challenge to the
15   courts by seeking to make every murderer eligible for the death
16   penalty. Post-Rose Bird21 the California Supreme Court has never
17   taken up the challenge the voters presented to it.
18
19
20          20
               One scholarly article has identified seven (7) narrow but
21   theoretically possible categories of first degree murder that would
     not be capital crimes under § 190.2. Shatz and Rivkind, The California
22   Death Penalty Scheme: Requiem for Furman?, 72 N.Y.U. L.Rev. 1283,
     1324-26 (1997).
23          21
                As this Honorable Court no doubt well recalls, the late Hon.
24   Rose Bird was California’s first female justice and first female Chief
     Justice. In a historic and singular development, in 1986 she and two
25   other justices, Cruz Reynoso and Joseph Grodin, were removed from
     office by California voters who perceive the court to be soft on the
26   death penalty under her leadership. Since then, the California Supreme
     Court has affirmed capital judgments at a rate unequaled in any other
27   state.

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 1   125.           This Court should squarely accept that challenge, review
 2   the death penalty scheme currently in effect in this state, and,
 3   Petitioner believes and urges, once having done so, it will be
 4   compelled to strike down the statutory scheme as so all-inclusive
 5   as to be in violation of the Fifth, Sixth, Eighth and Fourteenth
 6   Amendments to the U.S. Constitution.
 7
 8   CALIFORNIA’S DEFINITION AND APPLICATION OF AGGRAVATING AND MITIGATING
     FACTORS IN SECTION 190.3 FURTHER INVALIDATE ITS DEATH PENALTY STATUTE
 9   ON ITS FACE AND AS APPLIED TO PETITIONER
10
11   126.           California Penal Code § 190.3(a) violates the Fifth, Sixth,
12   Eighth and Fourteenth Amendments to the United States Constitution in
13   that it has been applied in such a wanton and freakish manner that
14   almost      all    features       of    every      murder   have    been     found     to     be
15   "aggravating" within the statute's meaning.
16
17   127.           Factor (a), listed in § 190.3, directs the jury to consider
18   in aggravation the "circumstances of the crime."                     Having at all times
19   found     that     the     broad       term   "circumstances       of   the     crime"      met
20   constitutional scrutiny, the California Supreme Court has never
21   applied a limiting construction to this factor.                      Instead, that court
22   has allowed ever continuing expansions of this factor, approving
23   reliance on the "circumstance of the crime" as an aggravating factor
24   in such disparate instances as where the defendant had a "hatred of
25
26
27
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 1   religion,"22 or because three weeks after the crime a defendant sought
 2   to conceal evidence,23 or threatened witnesses after his arrest,24 or
 3   disposed      of    the    victim's     body    in      a   manner   that    precluded       its
 4   recovery.25        The ostensible purpose of § 190.3, at least according to
 5   its language is to inform the jury of what the jury should consider
 6   in assessing the appropriate penalty.                         Although factor (a) has
 7   survived a facial Eighth Amendment challenge, Tuilaepa v. California,
 8   supra, 512 U.S. 967, 987-988 (1994), it has been used in ways so
 9   arbitrary and contradictory as to violate both the federal guarantee
10   of due process of law and the Eighth Amendment as applied in this
11   case. Petitioner alleges this statute, as applied generally and in his
12   case in specific, is constitutionally infirm and must be invalidated.
13
14   128.           Prosecutors throughout California have argued that the jury
15   could weigh in aggravation almost every conceivable circumstance of
16   the crime, even those that, from case to case, reflect starkly
17   opposite circumstances.                Thus, prosecutors have stood before the
18   California Supreme Court arguing that "circumstances of the crime" is
19   a permissible aggravating factor to be weighed on death's side of the
20   scale:
21
            22
22             People v. Nicolaus, 54 Cal.3d 551, 581-82 (1991), cert.
     denied, 112 S.Ct. 3040 (1992).
23          23
               People v. Walker, 47 Cal.3d 605, 639 n.10 (1988), cert.
24   denied, 494 U.S. 1038 (1990).
            24
25             People v. Hardy, 2 Cal.4th 86, 204, cert. denied, 113 S.Ct.
     498 (1992).
26          25
               People v. Bittaker, 48 Cal.3d 1046, 1110 n. 35, cert.
27   denied, 496 U.S. 931 (1990).

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 1                  a. Both where the defendant struck many blows and
 2          inflicted multiple wounds,26 or because the defendant killed
 3          with a single execution-style wound.27
 4                  b. Both where the defendant killed the victim for some
 5          purportedly           aggravating         motive       (money,     revenge,
 6          witness-elimination,                 avoiding          arrest,       sexual
 7          gratification)28 or because the defendant killed the victim
 8          without any motive at all.29
 9                  c. Both where the defendant killed the victim in cold
10          blood30 or because the defendant killed the victim during a
11          savage frenzy.31
12                  d. Both where the defendant engaged in a cover-up to
13          conceal his crime,32 or because the defendant did not engage
14
15
16          26
               People v. Morales, California Supreme Court (hereafter
17   “No.”) S004552; People v. Zapien, No. S004762; People v. Lucas, No.
     S004788; People v. Carrera, No. S004569.
18          27
                    People v. Freeman, No. S004787; People v. Frierson, S004761.
19          28
                People v. Howard, No. S004452 (money); People v. Allison,
20   S004649 (same); People v. Belmontes, S004467 (eliminate a witness);
     People v. Coddington, S008840 (sexual gratification); People v. Ghent,
21   No. S004309 (same); People v. Brown, No. S004451 (avoid arrest); and
     People v. McLain, No. S004370 (revenge).
22          29
               People v. Edwards, No. S004755 (no reason); People v.
23   Osband, No. S005233; and People v. Hawkins, No. S014199 (same).
            30
24                  People v. Viscotti, No. S004597 (cold blood).
            31
25                  People v. Jennings, 53 Cal.3d 334 (1991)(savage frenzy).
            32
26             People v. Stewart, No. S020803 (attempt to influence
     witnesses); People v. Benson, No. S004763 (lied to police); and People
27   v. Miranda, No. S004464 (defendant did not seek aid for victim).

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 1          in a cover-up and so must have been proud of it.33
 2                  e. Both where the defendant made the victim endure the
 3          terror of anticipating a violent death34 or because the
 4          defendant killed instantly without any warning.35
 5                  f. Both where the victim had children,36 or because the
 6          victim had not yet had a chance to have children.37
 7                  g. Both where the victim struggled prior to death,38 or
 8          because the victim did not struggle.39
 9                  h. Both where the defendant had a prior relationship
10          with the victim,40 or because the victim was a complete
11          stranger to the defendant.41
12
13          33
               People v. Adcox, No. S004558 (defendant freely informed
14   others about crime); People v. Williams, No. S004365 (same); and
     People v. Morales, No. S004552 (defendant failed to engage in a cover-
15   up).
            34
16             People v. Webb, No. S006938; People v. Davis, No. S014636;
     and People v. Hamilton, No. S004363.
17          35
               People v. Freeman, No. S004787 (victim killed instantly);
18   and People v. Livaditis, No. S004767 (same).
            36
19                  People v. Zapien, No. S004762 (victim had children).
            37
20                  People v. Carpenter, No. S004654 (victim had not yet had
     children).
21          38
               People v. Dunkle, No. S014200 (victim struggled); People v.
22   Webb, No. S006938 (same); and People v. Lucas, No. S004788 (same).
            39
23             People v. Fauber, No. S005868 (no evidence of struggle); and
     People v. Carrera, No. S004569 (same).
24          40
               People v. Padilla, No. S014496 (prior relationship); People
25   v. Waidla, No. S020161 (same); and People v. Kaurish, 52 Cal.3d 648,
     717 (1990).
26          41
               People v. Anderson, No. S004385 (no prior relationship); and
27   People v. McPeters, No. S004712 (same).

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 1   129.           These examples show that absent any limitation on the
 2   "circumstances of the crime" aggravating factor, different prosecutors
 3   have urged juries to define and use this aggravating factor on death's
 4   side of the scale in completely contradictory circumstances.                                   A
 5   reasoned public, let alone a reasoned jurist, cannot consider this
 6   varied usage to narrow the group of individuals qualified for the most
 7   severe of all punishments.
 8
 9   130.           Of equal importance and problematic is the use of the
10   "circumstances of the crime" aggravating factor to embrace facts which
11   cover the entire spectrum of facets inevitably present in every
12   homicide:
13                  a.    The age of the victim.             Prosecutors have argued,
14          and juries were free to find, that factor (a) was an
15          aggravating circumstance because the victim was a child, an
16          adolescent,        a   young    adult,     in    the   prime   of    life,     or
17          elderly.42
18                  b.    The method of killing.             Prosecutors have argued,
19          and juries were free to find, that factor (a) was an
20          aggravating circumstance because the victim was strangled,
21
22          42
               People v. Deere, No. S004722 (victims were young, ages 2 and
23   6); People v. Bonin, No. S004565 (victims were adolescents, ages 14,
     15, and 17); People v. Kipp, No. 5009169 (victim was a young adult,
24   age 18); People v. Carpenter, No. S004654 (victim was 20), People v.
     Phillips, 41 Cal.3d 29, 63 (1985)(26-year-old victim was "in the prime
25   of his life"); People v. Samayoa, No. S006284 (victim was an adult "in
     her prime"); People v. Kimble, No. S004364 (61-year-old victim was
26   "finally in a position to enjoy the fruits of his life's efforts");
     People v. Melton, No. 5004518 (victim was 77); People v. Bean, No.
27   S004387 (victim was "elderly").

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 1          bludgeoned, shot, stabbed or consumed by fire.43
 2                  c.      The    motive      of   the         killing.   Prosecutors      have
 3          argued, and juries were free to find, that factor (a) was
 4          an aggravating circumstance because the defendant killed
 5          for      money,       to        eliminate           a   witness,     for     sexual
 6          gratification, to avoid arrest, for revenge, or for no
 7          motive at all.44
 8                  d.   The time of the killing. Prosecutors have argued,
 9          and juries were free to find, that factor (a) was an
10          aggravating circumstance because the victim was killed in
11          the middle of the night, late at night, early in the
12          morning or in the middle of the day.45
13                  e.    The location of the killing.                     Prosecutors have
14          argued, and juries have been free to find, that factor (a)
15          was an aggravating circumstance because the victim was
16          killed in her own home, in a public bar, in a city park or
17
18
            43
19             People v. Clair, No. S004789 (strangulation); People v.
     Kipp, No. 5004784 (same); People v. Fauber, No. S005868 (use of an
20   ax); People v. Benson, No. S004763 (use of a hammer); People v. Cain,
     No. 5006544 (use of a club); People v. Jackson, No. S010723 (use of
21   a gun); People v. Reilly, No. 5004607 (stabbing); People v. Scott, No.
     S010334 (fire).
22          44
               People v. Howard, No. S004452 (money); People v. Allison,
23   No. S004649 (same); People v. Belmontes, No. S004467 (eliminate a
     witness); People v. Coddington, No. S008840 (sexual gratification);
24   People v. Ghent, No. S004309 (same); People v. Brown, No. S004451
     (avoid arrest); People v. McLain, No. S004370 (revenge); People v.
25   Edwards, No. S004755 (no motive at all).
            45
26             People v. Fauber, No. S005868 (early morning); People v.
     Bean, No. S004387 (middle of the night); People v. Avena, No. S004422
27   (late at night); People v. Lucero, No. S012568 (middle of the day).

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 1          in a remote location.46
 2
 3   131.           The foregoing are representative examples of how the factor
 4   (a) aggravating circumstance is actually being applied in practice and
 5   make clear that it is being relied upon as an aggravating factor in
 6   virtually if not literally every case, by every prosecutor, and
 7   without any limitation whatsoever.                       As a consequence, from case to
 8   case, prosecutors have been permitted to turn entirely opposite facts
 9   - or mundane facts that are inevitably present in some variation in
10   every homicide - into aggravating factors which the jury is urged to
11   weigh on death's side of the scale.
12
13   132.           It   is    because      of   these        deficiencies   that   Petitioner,
14   convicted of felony-murder where the core crime is a robbery, can be
15   eligible for death, and this even despite the jury’s finding that he
16   did not intend to murder Bernice Clark, and despite his virtual lack
17   of a criminal history. Due to these infirmities in the application of
18   the statute Petitioner has been sentenced to death, all in violation
19   of federal constitutional principles.
20
21   AS APPRENDI AND RING CONFIRM, THE FAILURE TO REQUIRE THE NECESSARY
     PENALTY PHASE DETERMINATIONS TO BE MADE BEYOND A REASONABLE DOUBT IS
22   OFFENSIVE TO THE FEDERAL CONSTITUTION
23   133.           The trial court's failure to define the prosecution’s burden
24
            46
25              People v. Anderson, No. S004385 (victim's home); People v.
     Cain, No. S006544 (same); People v. Freeman, No. S004787 (public bar);
26   People v. Ashmus, No. S004723 (city park); People v. Carpenter, No.
     S004654 (forested area); People v. Comtois, No. S017116 (remote,
27   isolated location).

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 1   of proof for aggravating circumstances deprived Petitioner of his
 2   constitutional rights under the Fifth, Sixth, Eighth, and Fourteenth
 3   Amendments to the United States Constitution.                            Although the Ninth
 4   Circuit has previously rejected this specific argument for the 1977
 5   statute,      Williams       v.    Calderon,         52    F.3d    1465,    1485     (9th    Cir.
 6   1995)(rejecting           this         claim   regarding          1977     law),     Petitioner
 7   respectfully submits that the argument must be considered as to the
 8   1978 statute and the timing is particularly appropriate in light of
 9   the recent decisions in Ring v. Arizona, 536 U.S. 584 (2002), and
10   Apprendi v. New Jersey, 530 U.S. 466 (2000).
11
12   134.           Twenty-six (26) states require that factors relied on to
13   impose death in a penalty phase must be proven beyond a reasonable
14   doubt by the prosecution, and three (3) additional states have related
15   provisions.47        Only the statutes of California and four other states
16
            47
17             See Ala. Code § 13A-5-45(e)(1975); Ark. Code Ann. § 5-4-603
     (Michie 1987); Colo. Rev. Stat. Ann. § 16-11-103(d)(West 1992); Del.
18   Code Ann. tit. 11, § 4209(d)(1)(a)(1992); Ga. Code Ann. § 1 7-10-30(c)
     (Harrison 1990); Idaho Code § 19-2515(g)(1993); Ill. Ann. Stat. ch.
19   38, para. 9-1(f)(Smith-Hurd 1992); Ind. Code Ann. § 35-50-2-9 (a),
     (e)(West 1992); Ky. Rev. Stat. Ann. § 532.025(3)(Michie 1992); La.
20   Code Crim. Proc. Ann. art. 905.3 (West 1984); Md. Ann. Code art. 27,
     § 413(d),(f),(g)(1957); Miss. Code Ann. § 99-19-103 (1993); State v.
21   Stewart (Neb. 1977) 250 N.W.2d 849, 863; State v. Simants (Neb. 1977)
     250 N.W.2d 881, 888-890; N.J . Stat. Ann. § 2C:1 1-3c(2)(a); Nev. Rev.
22   Stat. Ann. § 175.554(3) (Michie 1992); N.M. Stat. Ann. § 31-20A-3
     (Michie 1990); Ohio Rev. Code § 2929.04 (Page's 1993); Okla. Stat.
23   Ann. tit. 21, § 701.11 (West 1993); 42 Pa. Cons. Stat. Ann.
     § 971.1(c)(1)(iii)(1982); S.C. Code Ann. §§ 16-3-20(A),(C) (Law. Co-op
24   1992); S.D. Codified Laws Ann. § 23A-27A-5 (1988); Tenn. Code Ann.
     § 39-13-204(f)(1991); Tex. Crim. Proc. Code Ann. § 37.071(c)(West
25   1993); State v. Pierre (Utah 1977) 572 P.2d 1338, 1348; Va. Code Ann.
     § 19.2-264.4(C)(Michie 1990); Wyo. Stat. § 6-2-102(d)(i)(A),(e)(I)
26   (1992).
          Washington has a related requirement that, before making a death
27                                                           (continued...)

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 1   (Florida, Missouri, Montana, and New Hampshire) fail to address burden
 2   of proof.        Four states require that the jury must base any death
 3   sentence on a finding beyond a reasonable doubt that death is the
 4   appropriate punishment.48              A fourth state, Utah, has reversed a death
 5   judgment because that judgment was based on a standard of proof that
 6   was less than proof beyond a reasonable doubt. State v. Wood, 648 P.2d
 7   71, 83-84 (Utah 1982).
 8
 9   135.           California does not require the reasonable doubt standard
10   be used during any part of the penalty phase of a defendant's trial,
11   except as to proof of prior criminality relied upon as an aggravating
12   circumstance.         Even in that context, the required finding need not be
13   unanimous. Accordingly, and under current federal law, California's
14   statute violates the due process clause of the Fourteenth Amendment
15   and the jury trial guarantees of the Sixth Amendment.
16
17   136.           There is no greater interest than what is at stake in the
18   penalty phase of a capital case.                Monge v. California, 524 U.S. 721,
19   732 (1998)("the death penalty is unique in its severity and its
20
21          47
            (...continued)
22   judgment, the jury must make a finding beyond a reasonable doubt that
     no mitigating circumstances exist sufficient to warrant leniency.
23   (Wash. Rev. Code Ann. § 10.95.060(4) (West 1990). And Arizona and
     Connecticut require that the prosecution prove the existence of
24   penalty phase aggravating factors, but specify no burden. (Ariz. Rev.
     Stat. Ann. § 13-703(c)(1989); Conn. Gen. Stat. Ann. § 53a-46a(c) (West
25   1985).
            48
26             See Ark. Code Ann. § 5-4-603(a)(3)(Michie 1991); N.J. Stat.
     Ann. § 2C:11- 3c(3)(a); State v. Goodman (N.C. 1979) 257 S.E.2d 569,
27   577; Wash. Rev. Code Ann. § 10.95.060 (West 1990).

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 1   finality").          In Monge, the Supreme Court expressly applied its
 2   rationale, previously set forth in Santosky, infra, to the burden of
 3   proof beyond a reasonable doubt49 applicable to capital sentencing
 4   proceedings:        "[I]n a capital sentencing proceeding, as in a criminal
 5   trial, 'the interests of the defendant are of such magnitude that .
 6   . . they have been protected by standards of proof designed to exclude
 7   as nearly as possible the likelihood of an erroneous judgment.
 8   Bullington v. Missouri, 451 U.S. 430, 441 (1981)(quoting Addington v.
 9   Texas, 441 U.S. 418, 423-424 (1979).
10
11   137.           In Apprendi v. New Jersey, 530 U.S. 466, 489 (2000), the
12   Supreme Court confirmed that any matter used to increase a defendant's
13   punishment beyond the statutory maximum must be alleged in the
14   charging document, presented to the jury, and proved beyond                                a
15   reasonable doubt.             The only exception to this rule is for prior
16   convictions.50 Under California's capital sentencing scheme, the jury
17   may not impose a death sentence unless it finds (1) that one or more
18   aggravating factors exist and (2) the aggravating factor or factors
19   outweigh any mitigating factors.                  (Pen. Code § 190.3) Accordingly,
20   under Apprendi, both the existence of any aggravating factors relied
21
22          49
               "When the State brings a criminal action to deny a defendant
23   liberty or life, . . . the interests of the defendant are of such
     magnitude that historically and without any explicit constitutional
24   requirement they have been protected by standards of proof designed
     to exclude as nearly as possible the likelihood of an erroneous
25   judgment." Santosky v. Kramer, 455 U.S. 745, 755 (1982)(internal
     citations omitted).
26
            50
27                  Almendarez-Torres v. United States, 523 U.S. 224 (1998).

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 1   upon to impose a death sentence and the determination that such
 2   factors      outweigh      any    mitigating      factors     must   be   made    beyond      a
 3   reasonable doubt.
 4
 5   138.           Any doubt that Apprendi applies to capital cases was put to
 6   rest by the Supreme Court's recent decision in Ring v. Arizona, 536
 7   U.S. 584 (2002), in which the Court concluded that when a finding of
 8   a particular fact is necessary to impose a sentence of death, such a
 9   finding must be made by a unanimous jury beyond a reasonable doubt.
10   The Ring decision makes clear that the due process principle set forth
11   in Apprendi applies to capital penalty phase jury trials.
12
13   139.           Analysis of the Apprendi and Ring decisions demonstrates
14   that the California death penalty sentencing scheme violates due
15   process principles embodied in the Fourteenth Amendment by failing to
16   require capital juries to find aggravating factors beyond a reasonable
17   doubt.      Under California's statutory scheme, a conviction for first
18   degree murder simpliciter carries a maximum sentence of 25 years to
19   life, unless certain additional findings are made, namely that the
20   defendant is guilty of a special circumstance. (Pen. Code § 190.7)
21   If the jury finds the defendant guilty of first degree murder and also
22   finds special circumstances to be true, the offense carries a maximum
23   sentence of life without the possibility of parole. (Pen. Code
24   § 190.2) Death is only authorized if the jury finds the additional
25   factor that there is a factor in aggravation and the circumstances in
26   aggravation outweigh the circumstances in mitigation. In light of
27
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 1   Ring, the jury’s findings were deficient and the sentence cannot
 2   stand.
 3
 4   140.           California's statute requires that the "trier of fact" find
 5   one or more aggravating factors, and that these factors outweigh
 6   mitigating factors, before it can decide whether or not to impose
 7   death.     Indeed, under the California statutes, neither a judge nor a
 8   jury may sentence a defendant to death based solely on the jury's
 9   findings at the guilt phase.                      Rather, to impose the increased
10   punishment of death, the jury must make additional factual findings
11   at the penalty phase. These findings include at least one aggravating
12   factor plus a finding that the aggravating factor or factors outweigh
13   any mitigating factors.                (Pen. Code § 190.3)
14
15   141.           As Apprendi shows, because these two additional factual
16   matters      are    required       to    impose       an   increased   punishment,       they
17   constitute the functional equivalent of offense elements which must
18   be proved beyond a reasonable doubt.                         Apprendi, at 489.          Thus
19   Petitioner was entitled to a jury instruction that before a death
20   verdict could be returned, the jury was required to find that: (1) any
21   aggravating factors upon which it relied were true beyond a reasonable
22   doubt; and (2) the aggravating factor or factors outweighed the
23   mitigating       factors      beyond      a   reasonable      doubt.    The      failure    of
24   California law to require such instructions renders California's death
25   penalty scheme unconstitutional.
26
27
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 1   142.           The additional facts supporting the greater punishment of
 2   death must be submitted to the jury and must be proved beyond a
 3   reasonable doubt. As the Supreme Court observed:
 4                  "The historic link between verdict and judgment and
 5          the consistent limitation on judges' discretion to operate
 6          within the limits of the legal penalties provided highlight
 7          the novelty of a legislative scheme that removes the jury
 8          from the determination of a fact that, if found, exposes
 9          the criminal defendant to a penalty exceeding the maximum
10          he    would     receive         if   punished       according   to   the    facts
11          reflected in the jury verdict alone."
12   Apprendi, 466 U.S. at 482.
13
14   143.           Of course, here, the error is not that a judge made the
15   requisite finding but that the jury was not required to unanimously
16   conclude beyond a reasonable doubt that one or more aggravating
17   factors was present or that death was the appropriate penalty.                              This
18   is a distinction without a difference.                       A unanimous jury failed to
19   make the additional finding that there was an aggravating factor or
20   factors and that those aggravating factor(s) outweighed any mitigating
21   factor(s).        Pen. Code § 190.3.            After the decisions in Apprendi and
22   Ring, these determinations must be made by a unanimous jury applying
23   a standard of proof of beyond a reasonable doubt.                              Apprendi, at
24   482-89.
25
26   144.           Without a jury instruction allocating the proper burden of
27
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 1   proof as to proof of factors in aggravation and among the aggravating
 2   and mitigating factors, Ring bars the imposition of the death penalty.
 3   No jury instruction on the burden of proof was given in this case and
 4   in fact, the jury was not required to unanimously find that the
 5   factors in aggravation were present. The failure to properly instruct
 6   on the burden of proof is a structural error "without which [the
 7   penalty trial] cannot not serve its function." Sullivan v. Louisiana,
 8   508 U.S. 275, 281 (1993).
 9
10   145.           The fact the jury was not required to make these findings
11   beyond a reasonable doubt also violates the Sixth Amendment, the
12   Eighth Amendment, and the Fourteenth Amendment.
13
14   146.           The United States Supreme Court has held that under the
15   Eighth and Fourteenth Amendments, "in a capital sentencing proceeding,
16   as in a criminal trial, 'the interests of the defendant [are] of such
17   magnitude that . . . they have been protected by standards of proof
18   designed to exclude as nearly as possible the likelihood of an
19   erroneous judgment.'" Monge v. California, 524 U.S. at 733, quoting
20   Bullington, 451 U.S. at 441; see also Walton v. Arizona, 497 U.S. 639
21   (1990),      overruled       in    part   by     Ring      v.   Arizona,   supra;     Ford    v.
22   Wainwright, 477 U.S. 399, 414 (1986); Beck v. Alabama, 447 U.S. 625
23   (1980).
24
25   147.           The practice in other states comports with this conclusion.
26   In   at    least     eight      (8)    states       in     which   the   death   penalty      is
27
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 1   permissible, capital juries are specifically instructed that a death
 2   verdict may not be returned unless the jury finds beyond a reasonable
 3   doubt that aggravation outweighs mitigation and/or that death is the
 4   appropriate penalty.51
 5
 6   148.           The reasonable doubt standard is routinely applied in
 7   California in proceedings with less serious consequences than a
 8   capital penalty trial, such as proceedings to determine eligibility
 9   for commitment under the mentally disordered sex offender law, and in
10   juvenile proceedings. See People v. Burnick, 14 Cal.3d 306, 318-320
11   (1975); Conservatorship of Roulet, 23 Cal.3d 219 (1979); In re
12   Winship, 397 U.S. 358, 364 (1970).
13
14   149.           Indeed, in California such comparatively minor matters as
15   sentence enhancement allegations, such as the allegation that the
16   defendant was armed during the commission of an offense, must be
17   proved by the standard of beyond a reasonable doubt.                           CALJIC No.
18   17.15.      The disparity of requiring a higher standard of proof for
19   matters of significantly less consequence while requiring no standard
20   at   all    for     aggravating        circumstances    which    may   result     in    the
21   defendant's death violates eighth amendment interests, as well as
22
23          51
               See J. Acker and C. Lanier, Matters of Life or Death: The
24   Sentencing Provisions in Capital Punishment Statutes (1995) 31
     Crim.L.Bull. 19, 35-37, and fns. 71-76, and the citations therein
25   regarding the pertinent statutes of Arkansas, Missouri, New Jersey,
     Ohio, Tennessee, and Washington; see also McKoy v. North Carolina, 494
26   U.S. 433, 437 (1990), and State v. Wood (Utah 1982) 648 P.2d 71,
     83-84, regarding the procedures in North Carolina and Utah,
27   respectively.

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 1   equal protection and due process principles.                  See generally, Myers v.
 2   Ylst, 897 F.2d 417, 421 (9th Cir. 1992)("A state should not be
 3   permitted to treat defendants differently . . . . unless it has 'some
 4   rational basis, announced with reasonable precision' for doing so").
 5
 6   150.           Here, the trial court instructed the jury to consider the
 7   matters set forth in Penal Code section 190.3, subdivisions (a)
 8   through (k), "if applicable," as aggravating or mitigating factors.
 9   (CT 609-11)         The court directed the jury to "consider, take into
10   account and be guided by the applicable factors of aggravating and
11   mitigating circumstances upon which you have been instructed" and to
12   "weigh[] the various circumstances . . . by considering the totality
13   of the aggravating circumstances with the totality of the mitigating
14   circumstances." (CT 629-31; RT 3962-63) The court also told the jury
15   that to return a death sentence, each juror "must be persuaded that
16   the aggravating circumstances are so substantial in comparison with
17   the mitigating circumstances that it warrants death instead of life
18   without the possibility of parole."                     Id.
19
20   151.           Thus, the court gave the jury the task and responsibility
21   of determining what the aggravating circumstances and the mitigating
22   circumstances were, but did not instruct the jury as to the standard
23   of proof or which party bore it as to aggravating or mitigating
24   circumstance. Indeed, the jury was told only that the burden of proof
25   beyond a reasonable doubt applied to Petitioner's prior misconduct,
26   implying that the burden did not apply to any other aggravating
27
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 1   factor. (CT 612-13; RT 3954-55)                           This left the jury without any
 2   guidance on these crucial issues.
 3
 4   152.           The    failure          to   give      a      reasonable        doubt    instruction
 5   applicable to circumstances in aggravation violated due process and
 6   equal     protection        principles,          as       well     as    the    Eighth       Amendment
 7   requirement of a reliable penalty determination.                                      The burden of
 8   proving appropriate punishment should be the same as that of proving
 9   guilt or special circumstances; namely, the burden of proof beyond a
10   reasonable doubt.           See e.g., In re Winship, supra, 397 U.S. 358.
11
12   153.           A burden of proof of at least a preponderance is required
13   as a matter of due process because that has been the minimum burden
14   historically permitted in any sentencing proceeding.                                    Judges have
15   never had the power to impose sentence without the firm belief that
16   whatever considerations underlie their sentencing decisions have been
17   at least proved to be more likely than not.                             They have never had the
18   power that a California capital sentencing jury has been accorded,
19   which     is   to    base      "proof"      of     aggravating           circumstances         on   any
20   considerations          they     want,       without         any    burden       at    all    on    the
21   prosecution, and sentence a person to die based thereon.                                 The absence
22   of any historical authority for a sentencer to impose sentence based
23   on aggravating circumstances found with proof less than 51% - even
24   10%, or 1% - demonstrates the unconstitutionality of failing to assign
25   a burden of proof.           See e.g., Griffin v. United States, 502 U.S. 46,
26   51 (1991)(historical practice given great weight in constitutionality
27
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 1   determination); Murray's Lessee v. Hoboken Land and Improvement Co.,
 2   59 U.S. (18 How)              272, 276-277 (1855)(due process determination
 3   informed by historical settled usages).
 4
 5   154.           "Capital punishment [must] be imposed fairly, and with
 6   reasonable consistency, or not at all." Eddings v. Oklahoma, 455 U.S.
 7   104, 112 (1982).             It is unacceptable - "wanton" and "freakish,"
 8   Proffitt v. Florida, 428 U.S. 242, 260 (1976) - the "height of
 9   arbitrariness," Mills v. Maryland, 486 U.S. 367, 374 (1988) - that one
10   defendant should live and another die simply because one juror or jury
11   can use different standards of proof for these questions, with no
12   coherent or uniformly applicable standards to guide either.
13
14   155.           In    non-capital       cases,           California   does      require       the
15   prosecution to bear the burden of proof to establish the defendant
16   should receive the most severe sentence possible.                              It does so,
17   however, only in non-capital cases. Cal. R. Ct. 420(b)(existence of
18   aggravating circumstances necessary for imposition of upper term must
19   be proved by preponderance of evidence).                             To provide greater
20   protection to non-capital defendants than to capital defendants
21   violates the due process, equal protection, and cruel and unusual
22   punishment clauses of the Eighth and Fourteenth Amendments.
23
24   156.           Finally, California Evidence Code section 520 provides:
25   "The party claiming that a person is guilty of crime or wrongdoing has
26   the burden of proof on that issue."                        There is no statute to the
27
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 1   contrary.       In any capital case, any aggravating factor will relate to
 2   wrongdoing; those that are not themselves wrongdoing (such as, for
 3   example, age when it is counted as a factor in aggravation) are still
 4   deemed to aggravate other wrongdoing by a defendant.                     Section 520 is
 5   a     legitimate      state      expectation       in   adjudication,     and    is     thus
 6   constitutionally protected under the Fourteenth Amendment.                        Hicks v.
 7   Oklahoma, 447 U.S. 343, 346 (1980).
 8
 9   157.           For all of these reasons, Petitioner's jury should have been
10   instructed that the prosecution had the burden of persuasion, and that
11   the    burden      was   proof     beyond   a    reasonable    doubt,    regarding       the
12   existence of any factor in aggravation, and the appropriateness of the
13   death penalty.           Sentencing Petitioner to death without adhering to
14   this minimal protection violated federal due process.                      Petitioner's
15   death sentence violates the federal constitution and the writ should
16   issue.
17   CALIFORNIA LAW VIOLATES THE FEDERAL CONSTITUTION BY FAILING TO REQUIRE
     THAT THE JURY MAKE WRITTEN FINDINGS REGARDING THE AGGRAVATING FACTORS
18   THE JURY BELIEVES JUSTIFY A DEATH SENTENCE; CALIFORNIA’S STATUTORY
     FRAMEWORK DOES NOT OTHERWISE SQUARE WITH FEDERAL LAW
19
20   158.           The failure to require written or other specific findings
21   by the jury regarding aggravating factors deprived Petitioner of his
22   federal      due    process      and   Eighth      Amendment   rights    to     meaningful
23   appellate review.            California v. Brown, 479 U.S. 538, 543 (1987);
24   Gregg v. Georgia, 428 U.S. 153, 195 (1976). And especially given that
25   California juries have total discretion without any guidance on how
26
27
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 1   to weigh aggravating and mitigating circumstances,52 there can be no
 2   meaningful appellate review without at least written findings because
 3   it will otherwise be impossible to "reconstruct the findings of the
 4   state trier of fact."              See Townsend v. Sain, 372 U.S. 293, 313-316
 5   (1963).
 6
 7   159.           Such findings are considered by the California Supreme Court
 8   to be an element of due process so fundamental that they are even
 9   required at parole suitability hearings.                       A convicted prisoner who
10   believes that he or she was improperly denied parole must proceed via
11   a petition for writ of habeas corpus, and is required to allege with
12   particularity the circumstances constituting the state's wrongful
13   conduct and show prejudice flowing from that conduct.                         In re Sturm,
14   11 Cal.3d 258 (1974).                   The parole board is therefore required to
15   state its reasons for denying parole:                      "It is unlikely that an inmate
16   seeking to establish that his application for parole was arbitrarily
17   denied can make necessary allegations with the requisite specificity
18   unless he has some knowledge of the reasons therefor."                         11 Cal.3d at
19   267.
20
21   160.           The same reasoning applies to the far graver decision a jury
22   faces in deciding whether to put someone to death. See also, People
23   v.   Martin,      42    Cal.3d         437,   449-450      (1986)(statement     of    reasons
24   essential to meaningful appellate review).
25
26          52
                    Tuilaepa v. California, 512 U.S. 967, 979-980 (1994).
27
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 1   161.           Consider also that in non-capital cases the sentencer is
 2   required by California law to state on the record the reasons for the
 3   sentence choice. Penal Code § 1170(c). Under the Fifth, Sixth, Eighth
 4   and Fourteenth Amendments, capital defendants are entitled to more
 5   rigorous protections than those afforded non-capital defendants.
 6   Harmelin v. Michigan, 501 U.S. 957, 994 (1991).                 Since providing more
 7   protection to a non-capital defendant than a capital defendant would
 8   violate the equal protection clause of the Fourteenth Amendment, see
 9   generally Myers v. Ylst, 897 F.2d at 421, the sentencer in a capital
10   case should be          required to identify for the record in some fashion
11   the aggravating circumstances found. California’s failure to impose
12   this violates federal law.
13
14   162.           The importance of written findings is recognized elsewhere
15   and throughout this country.                Of the thirty-four (34) post-Furman
16   state capital sentencing systems, twenty-five (25) require some form
17   of such written findings, specifying the aggravating factors upon
18   which the jury has relied in reaching a death judgment. Nineteen (19)
19   of these states require written findings regarding all penalty phase
20   aggravating factors found true, while the remaining six (6) require
21   a written finding as to at least one aggravating factor relied on to
22   impose death.53
23
            53
24              See Ala. Code §§ 13A-5-46(f), 47(d) (1982); Ariz. Rev. Stat.
     Ann. § 13-703(d)(1989); Ark. Code Ann. § 5-4-603(a)(Michie 1987);
25   Conn. Gen. Stat. Ann. § 53a-46a(e)(West 1985); State v. White (Del.
     1978) 395 A.2d 1082, 1090; Fla. Stat. Ann. § 921.141(3)(West 1985);
26   Ga.   Code    Ann.   §    17-10-30(c)(Harrison   1990);    Idaho   Code
                                                             (continued...)
27
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 1   163.           California’s failure to require this from capital juries
 2   renders the California death penalty scheme constitutionally flawed
 3   and the writ should issue.
 4
 5   164.           Under California law in any case where the authority is
 6   vested by statute in the trial court or jury to recommend or determine
 7   as a part of its verdict or finding the punishment to be imposed, that
 8   court itself may modify such verdict or finding by imposing the lesser
 9   punishment without granting or ordering a new trial, and this power
10   shall extend to any court to which the case may be appealed.                          Pen.
11   Code § 1181(7).
12
13   165.           California Penal Code § 1260 similarly provides:
14                  The court may reverse, affirm, or modify a judgment or
15          order appealed from, or reduce the degree of the offense or
16          attempted offense or the punishment imposed, and may set
17          aside, affirm, or modify any or all of the proceedings
18          subsequent to, or dependent upon, such judgment or order,
19
20          53
           (...continued)
21   § 19-2515(e)(1987); Ky. Rev. Stat. Ann. § 532.025(3)(Michie 1988); La.
     Code Crim. Proc. Ann. art. 905.7 (West 1993); Md. Ann. Code art. 27,
22   § 413(i)(1992); Miss. Code Ann. § 99-19-103 (1993); Mont. Code Ann.
     § 46-18-306 (1993); Neb. Rev. Stat. § 29-2522 (1989); Nev. Rev. Stat.
23   Ann.    §   175.554(3)(Michie    1992);    N.H.   Rev.   Stat:    Ann.
     § 630:5(IV)(1992); N.M. Stat. Ann. § 31-20A-3 (Michie 1990); Okla.
24   Stat. Ann. tit. 21, § 701.11 (West 1993); 42 Pa. Cons. Stat. Ann.
     § 9711 (1982); S.C. Code Ann. § 16-3-20(C)(Law. Co-op. 1992); S.D.
25   Codified   Laws   Ann.   §   23A-27A-5   (1988);   Tenn.   Code   Ann.
     § 39-13-204(g)(1993); Tex. Crim. Proc. Code Ann. § 37.071(c)(West
26   1993); Va. Code Ann. § 19.2-264.4(D)(Michie 1990); Wyo. Stat.
     § 6-2-102(e)(1988).
27
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 1          and may, if proper, order a new trial and may, if proper,
 2          remand the cause to the trial court for such further
 3          proceedings as may be just under the circumstances.
 4   Pen. Code § 1260.
 5
 6   166.           Under the terms of these statutes, any defendant is entitled
 7   to have the state courts consider reducing his punishment.                         Despite
 8   the clear language of these statutes, and over repeated dissents, a
 9   majority of the California Supreme Court has consistently refused to
10   acknowledge or exercise its power to modify punishments in capital
11   cases. See e.g., People v. Hines, 15 Cal.4th 997, 1079-1080 and
12   1081-1084 (1997), and cases cited therein.
13
14   167.           The foregoing statutes establish a procedural entitlement
15   that is protected by the federal due process clause. Hicks v.
16   Oklahoma, 447 U.S. 343; see also Ford v. Wainwright, 477 U.S. 399, 428
17   (1986)(O'Connor, J., concurring)("Where a statute indicates with
18   language of an unmistakable mandatory character that state conduct
19   injurious       to    an    individual     will        not   occur   'absent     specified
20   substantive predicates,' the statute creates an expectation protected
21   by   the    Due      Process     Clause.").        The   persistent    refusal     of    the
22   California Supreme Court to acknowledge or employ its power under
23   Penal Code § 1181(7), and Penal Code § 1260 accordingly is offensive
24   to the Due Process Clause of the Fourteenth Amendment.
25
26   168.           It should also bears noting that capital defendants possess
27
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 1   the right, under the Eighth Amendment and the Due Process Clause, to
 2   meaningful appellate review. Parker v. Duke, 498 U. S. 308, 321
 3   (1991)("We have emphasized repeatedly the crucial role of meaningful
 4   appellate review in ensuring that the death penalty is not imposed
 5   arbitrarily or irrationally.") Petitioner respectfully submits that
 6   the California Supreme Court's persistent refusal to employ its
 7   statutory       right     of    review    deprives        capital   defendants    of    that
 8   entitlement, as well as increasing the risk that California's capital
 9   charging and sentencing system, already unable to separate defendants
10   deserving of death from those who are not, Tuilaepa v. California,
11   supra, 512 U.S. 967 (Blackmun, J., dissenting), will randomly condemn
12   even more defendants.
13
14   THE DEATH PENALTY IS DISPROPORTIONATE TO PETITIONER'S CULPABILITY AND
     THEREFORE VIOLATES THE EIGHTH AMENDMENT.
15
16   169.           The    death     penalty      is   disproportionate     to   Petitioner's
17   personal culpability and thus violates the prohibition against cruel
18   and unusual punishment contained in the federal constitution.
19
20   170.           The Eighth Amendment forbids punishment that is grossly
21   disproportionate to the crime. Harmelin v. Michigan, 501 U.S. 957,
22   997-1001 (1991)(Kennedy, J., plurality opn).
23
24   171.           The death penalty is a disproportionate punishment here.
25   Petitioner was 19 years old at the time of the crime.                       He committed
26
27
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 1   a robbery which had tragic consequences.54 The jury concluded that the
 2   alleged attempted murder of Mrs. Clark was not premeditated.                              The
 3   forensic evidence established that Lance Clark was killed by the same
 4   bullet      that    struck      his    grandmother.           Under    the   doctrine       of
 5   transferred intent, if Petitioner had no premeditation, willful or
 6   deliberate intention to kill Bernice Clark, he could have none to kill
 7   Lance Clark since it was a single bullet, the same bullet, that struck
 8   both people.          Moreover, it is clear Petitioner never intended to
 9   shoot, let alone kill, victim Lance Clark.                     Petitioner testified at
10   trial that, intoxicated at the time, he did not even realize that
11   Lance Clark was in the vehicle when he went to rob Mrs. Clark.
12
13   172.           Petitioner        has   virtually        no   prior    criminal    history.
14   Specifically, he has no prior felony convictions, and had only one
15   prior misdemeanor, admitted as evidence in aggravation, where he was
16   found in possession of a concealed firearm.55                        However, he made no
17   attempt to use the firearm against the officer who stopped him;
18   indeed, when he was stopped by police he relinquished the firearm
19   forthwith.         (RT 3779-80)         He did not resist arrest or offer any
20   difficulties to the arresting officer.                   (RT 3783-85)     This incident,
21   which ostensibly served as a aggravation in Petitioner’s capital
22   sentencing trial, was so innocuous to the court which heard that case
23
            54
24             The trial court did not impose the upper term for the
     robbery itself. At sentencing, the trial court imposed the mid-term
25   for the robbery.
            55
26             Petitioner also underwent a juvenile adjudication, in which
     he was alleged to have started a series of fires.
27
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 1   as to result in a misdemeanor conviction, for which Petitioner was
 2   placed on probation.
 3
 4   173.           The death sentence imposed in this case is plain and simply
 5   disproportionate.           The federal constitution authorizes this Court to
 6   conduct proportionality review; the facts of this case justify the
 7   Court thereupon to grant the requested writ.
 8
 9   LACK OF INTER-CASE PROPORTIONALITY REVIEW
10   174.           The Eighth Amendment to the United States Constitution
11   forbids punishments that are cruel and unusual.                       The jurisprudence
12   that has emerged applying this ban to the imposition of the death
13   penalty has required that death judgments be proportionate, and
14   reliable.         The     notions      of   reliability       and   proportionality       are
15   intertwined.        Part of the requirement of reliability, in law as well
16   as science,          is "`that the [aggravating and mitigating] reasons
17   present in one case will reach a similar result to that reached under
18   similar circumstances in another case.'" Barclay v. Florida, 463 U.S.
19   939, 954 (1976)(plurality opinion, alterations in original, quoting
20   Proffitt v. Florida, 428 U.S. 242, 251 (1976) (opinion of Stewart,
21   Powell, and Stevens, JJ.).
22
23   175.           One commonly utilized mechanism for helping to ensure
24   reliability and proportionality in capital sentencing is comparative
25   proportionality review - a procedural safeguard the California Supreme
26   Court has rejected.           In Pulley v. Harris, 465 U.S. 37, 51 (1984), the
27
28   Petition for a writ of habeas corpus                                            Dykes v. Martel
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 1   Supreme       Court,       while       declining         to    hold    that    comparative
 2   proportionality           review       is   an      essential     component        of     every
 3   constitutional capital sentencing scheme, did observe the possibility
 4   that "there could be a capital sentencing scheme so lacking in other
 5   checks on arbitrariness that it would not pass constitutional muster
 6   without comparative proportionality review."
 7
 8   176.           Petitioner respectfully urges that California's 1978 death
 9   penalty statute, as drafted and as construed by the California courts
10   and applied in fact, has become such a sentencing scheme.                          The Harris
11   Court, in contrasting the 1978 statute with the 1977 law, noted that
12   the    1978      law    had        "greatly      expanded"       the   list    of       special
13   circumstances.          Harris, 465 U.S. 52 n. 14.
14
15   177.           In the absence of such proportionality review, the ever-
16   growing and now even more expansive list fails to meaningfully narrow
17   the pool of death-eligible defendants and leaves more room for
18   arbitrary sentencing than existed in even the death penalty schemes
19   struck down in Furman v. Georgia, supra.                      Further, the statute lacks
20   numerous other procedural safeguards commonly utilized in other
21   capital sentencing jurisdictions, and the statute's principal penalty
22   phase sentencing factor (§ 190.3(a) “circumstances of the crime”) as
23   seen elsewhere herein has itself proved to be an invitation to
24   arbitrary and capricious sentencing.                     A comparative proportionality
25   review was the only mechanism that might have enabled California’s
26   scheme to pass constitutional muster, but the California Supreme Court
27
28   Petition for a writ of habeas corpus                                             Dykes v. Martel
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 1   has consistently declined to impose it.
 2
 3   178.           The death penalty may not be imposed when actual practice
 4   demonstrates that the circumstances of a particular crime or a
 5   particular criminal rarely lead to execution.                    Gregg v. Georgia, 428
 6   U.S. at 206.          A demonstration of such a societal evolution is not
 7   possible without considering the facts of other cases and their
 8   outcomes.       The U.S. Supreme Court regularly considers other cases in
 9   determining claims that the imposition of the death penalty on a
10   particular person or class of persons may be disproportionate - even
11   cases from outside the United States.                    See Thompson v. Oklahoma, 487
12   U.S. 815, 821, 830-31 (1988); Enmund v. Florida, 458 U.S. 782, 796 n.
13   22 (1982); Coker v. Georgia, 433 U.S. 584, 596 (1977).
14
15   179.           Almost all of the states that have reinstated capital
16   punishment        since     Furman     require         comparative,   or     "inter-case,"
17   appellate sentence review (thirty-one (31) of the thirty-four (34)).
18   By statute, Georgia requires that the Georgia Supreme Court determine
19   whether ". . . the sentence is disproportionate compared to those
20   sentences imposed in similar cases." Ga. Stat. Ann. § 27-2537(c). The
21   provision was approved by the United States Supreme Court, holding
22   that it guards ". . . further against a situation comparable to that
23   presented in Furman v. Georgia . . ." Gregg v. Georgia, supra, 428
24   U.S. at 198.          Toward the same end, Florida has judicially ". . .
25   adopted the type of proportionality review mandated by the Georgia
26   statute." Profitt v. Florida, 428 U.S. 242, 259 (1976). Twenty states
27
28   Petition for a writ of habeas corpus                                              Dykes v. Martel
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 1   (20)have statutes similar to that of Georgia, and seven (7) have
 2   judicially instituted similar review.56
 3
 4   180.           Section 190.3 neither requires nor forbids either the trial
 5   court or the California Supreme Court to undertake a comparison
 6   between similar cases regarding the relative proportionality of the
 7   sentence imposed.           See People v. Fierro, 1 Cal.4th 173, 253 (1991).
 8   The prohibition on the consideration of evidence showing that death
 9   sentences are not being charged or imposed on similarly situated
10   defendants is a judicially construed rule.                    See e.g., People v.
11   Marshall, 50 Cal.3d 907, 946-947 (1990).
12
13
14          56
                See Ala. Code § 13A-5-53(b)(3) (1982); Conn. Gen. Stat. Ann.
15   §    53a-46b(b)(3)(West     1993);   Del.    Code    Ann.   tit.    11,
     § 4209(g)(2)(1992); Ga. Code Ann. § 17-10-35(c)(3)(Harrison 1990);
16   Idaho Code § 19-2827 (c)(3)(1987); Ky. Rev. Stat. Ann. § 532.075(3)
     (Michie 1985); La. Code Crim. Proc. Ann. art. 905.9.1(1) (c)(West
17   1984); Miss. Code Ann. § 99-19-105(3) (c)(1993); Mont. Code Ann.
     § 46-18-310(3) (1993); Neb. Rev. Stat. §§ 29-2521.01, 03, 29-2522(3)
18   (1989); Nev. Rev. Stat. Ann. § 177.055(d)(Michie 1992); N.H. Rev.
     Stat.    Ann.     §   630:5(XI)(c)     (1992);    N.M.    Stat.    Ann.
19   § 31-20A-4(c)(4)(Michie 1990); N.C. Gen. Stat. § 15A-2000(d)(2)(1983);
     Ohio Rev. Code Ann. § 2929.05(A) (Baldwin 1992); 42 Pa. Cons. Stat.
20   Ann. § 9711 (h)(3)(iii)(1993); S.C. Code Ann. § 16-3-25(C)(3) (Law.
     Co-op. 1985); S.D. Codified Laws Ann. § 23A-27A-12(3) (1988); Tenn.
21   Code Ann. § 39-13-206(c) (1)(d)(1993); Va. Code Ann. § 17.110.1C(2)
     (Michie 1988); Wash. Rev. Code Ann. § 10.95.130(2)(b) (West 1990);
22   Wyo. Stat. § 6-2-103(d)(iii) (1988).

23        Also see State v. Dixon (Fla. 1973) 283 So.2d 1, 10; Alford v.
     State (Fla. 1975) 307 So.2d 433, 444; People v. Brownell (Ill. 1980)
24   404 N.E.2d 181, 197; Brewer v. State (Ind. 1981) 417 N.E.2d 889, 899;
     State v. Pierre (Utah 1977) 572 P.2d 1338, 1345; State v. Simants
25   (Neb. 1977) 250 N.W.2d 881, 890 (comparison with other capital
     prosecutions where death has and has not been imposed); State v.
26   Richmond (Ariz. 1976) 560 P.2d 41, 51; Collins v. State (Ark. 1977)
     548 S.W.2d 106, 121.
27
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 1   181.           Given the tremendous reach of the special circumstances that
 2   make one eligible for death as set out in § 190.2 - a significantly
 3   higher percentage of murderers than those eligible for death under the
 4   1977 statute considered in Pulley v. Harris - and the absence of any
 5   other procedural safeguards to ensure a reliable and proportionate
 6   sentence, the California courts’ categorical refusal to engage in
 7   inter-case proportionality review now violates the Eighth Amendment
 8   and Petitioner is aggrieved as a direct consequence of this violation.
 9   Categories of crimes that warrant a particularly close comparison with
10   actual practices in other cases include the imposition of the death
11   penalty for felony-murders such as that at issue here or other
12   non-intentional killings, and single-victim homicides.                   (See Article
13   VI, Section 2 of the International Covenant on Civil and Political
14   Rights, which limits the death penalty to only "the most serious
15   crimes")57       Categories of criminals that warrant such a comparison
16   include persons suffering from insanity or mental retardation.                       Ford
17   v. Wainwright, 477 U.S. 399 (1986); Atkins v. Virginia,                  536 U.S. 304
18   (2002).
19
20   182.           Furman framed the question a viable capital sentencing
21   structure would be required to answer: whether, within a category of
22   crimes or criminals for which the death penalty is not inherently
23   disproportionate, the death penalty has been fairly applied to the
24   individual defendant and his circumstances.                 In the absence of inter-
25
            57
26             See also Kozinski and Gallagher (1995) Death, The Ultimate
     Run-On Sentence, 46 Case W. Res.L.Rev. 1, 30.
27
28   Petition for a writ of habeas corpus                                        Dykes v. Martel
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 1   case proportionality, California's 1978 death penalty scheme and
 2   system of case review fails to assess let alone answer this question,
 3   and as such is infirm. Gregg v. Georgia, supra, 428 U.S. at 192
 4   (citing Furman v. Georgia, supra, 408 U.S. at 313 (White, J., conc)).
 5   This defect in the statutory scheme violates the Fifth and Fourteenth
 6   Amendment       due    process         clauses,    the   Fourteenth    Amendment      equal
 7   protection clause, and the Eighth Amendment prohibition on cruel and
 8   unusual punishments.
 9
10   183.           Notably,        California         previously     required        inter-case
11   proportionality review for non-capital cases.                         Former Pen. Code
12   § 1170(f).58          However, neither Penal Code § 190.3 nor any other
13
            58
14             Prior to Petitioner's crime and sentence, Penal Code § 1170,
     subdivision (f) provided as follows: "(f)(1) Within one year after the
15   commencement of the term of imprisonment, the Board of Prison Terms
     shall review the sentence to determine whether the sentence is
16   disparate in comparison with the sentences imposed in similar cases.
     If the Board of Prison Terms determines that the sentence is
17   disparate, the board shall notify the judge, the district attorney,
     the defense attorney, the defendant, and the Judicial Council. The
18   notification shall include a statement of the reasons for finding the
     sentence disparate.       Within   120   days    of   receipt of this
19   information, the sentencing court shall schedule a hearing and may
     recall the sentence and commitment previously ordered and resentence
20   the defendant in the same manner as if the defendant had not been
     sentenced previously, provided the new sentence is no greater than the
21   initial sentence. In resentencing under this subdivision the court
     shall apply the sentencing rules of the Judicial Council and shall
22   consider the information provided by the Board of Prison Terms. "(2)
     The review under this section shall concern the decision to deny
23   probation and the sentencing decisions enumerated in paragraphs (2),
     (3), and (4) of subdivision (a) of Section 1170.3 and apply the
24   sentencing rules of the Judicial Council and the information regarding
     the sentences in this state of other persons convicted of similar
25   crimes so as to eliminate disparity of sentences and to promote
     uniformity of sentencing. "(g) Prior to sentencing pursuant to this
26   chapter, the court may request information from the Board of Prison
                                                             (continued...)
27
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 1   statute required the trial court or the California Supreme Court to
 2   undertake a comparison between this and other similar cases regarding
 3   the relative proportionality of capital sentence imposed.                        See People
 4   v. Fierro, 1 Cal.4th 173, 253 (1991).
 5
 6   184.           Since the Fifth, Eighth, and Fourteenth Amendments require
 7   that capital defendants be afforded greater proportionality protection
 8   than non-capital defendants,59 and since providing greater protection
 9   to a non-capital defendant would violate the equal protection clause
10   of the Fourteenth Amendment,60 Petitioner alleges the failure of
11   California's         death      penalty    scheme       to    provide    for     inter-case
12   proportionality review further violates the federal constitution in
13   that    the     statutory       scheme     also     violates    the     Eighth    Amendment
14   requirement that a death penalty not be imposed arbitrarily or
15   capriciously.           Gregg v. Georgia, 428 U.S. at 189, and that all
16   mitigating factors and evidence be considered by the sentencer.                            See
17   Parker v. Dugger, 498 U.S. 308, 315 (1991).
18
19   185.           This means the statutory scheme also violates the Eighth and
20   Fourteenth Amendment's heightened due process and requirement of
21   reliability in capital cases.              Ford v. Wainwright, 477 U.S. 399, 414
22
23          58
           (...continued)
24   Terms concerning the sentences in this state of other                                persons
     convicted of similar crimes under similar circumstances."
25          59
                    See Harmelin, 501 U.S. at 994.
26          60
                    See generally, Myers v. Ylst, supra, 897 F.2d at 421.
27
28   Petition for a writ of habeas corpus                                             Dykes v. Martel
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 1   (1986); Beck v. Alabama, 447 U.S. 625, 637-638 & n. 13 (1980).
 2
 3   186.           For each and all of these reasons, this Honorable Court
 4   should grant the requested writ.
 5
 6   CALIFORNIA GIVES PROSECUTORS VIRTUALLY UNBRIDLED DISCRETION TO DECIDE
     IN WHICH SPECIAL CIRCUMSTANCE MURDER CASES THE DEATH PENALTY WILL BE
 7   SOUGHT, AND THIS VIOLATES THE FIFTH, EIGHTH, AND FOURTEENTH
     AMENDMENTS.
 8
 9   187.           Under California law, the prosecutor alone in a special
10   circumstances case has the discretion to determine whether a penalty
11   trial will be held, meaning the prosecutor alone has the power to put
12   a defendant at risk of a capital sentence. This defect in the state's
13   statutory scheme introduces arbitrary and capricious elements into the
14   decision-making process and thereby violates the Fifth, Eighth, and
15   Fourteenth Amendments to the United States Constitution.
16
17   188.           As the late Justice Broussard noted in his dissenting
18   opinion      in    People       v.     Adcox,      47       Cal.3d   207,    275-276     (1988),
19   California’s giving individual prosecutors this discretion creates a
20   substantial        risk    of    county-by-county             arbitrariness.           Under   the
21   existing statutory scheme, some offenders will be chosen as candidates
22   for the death penalty by a prosecutor in one county while other
23   offenders with similar or even more ominous backgrounds in other
24   counties       will     not.           This   arbitrariness           offends    the     federal
25   constitution.           "Capital punishment [must] be imposed . . . with
26   reasonable consistency, or not at all." Eddings v. Oklahoma, 455 U.S.
27
28   Petition for a writ of habeas corpus                                                 Dykes v. Martel
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 1   104, 112 (1981).              There is no check or barrier against a misguided
 2   prosecutor’s considering constitutionally irrelevant and impermissible
 3   considerations, including race and economic status. Yet, to seek the
 4   death penalty on the basis of "factors that are constitutionally
 5   impermissible . . . such as . . . race" violates the Fifth, Eighth,
 6   and Fourteenth Amendments.                 Zant v. Stephens, 462 U.S. 862, 885
 7   (1983).
 8
 9   189.           Like the "arbitrary and wanton" jury discretion condemned
10   in Woodson v. North Carolina, 428 U.S. 280, 303 (1976), the arbitrary
11   and wanton prosecutorial discretion -- in charging, prosecuting, and
12   deciding whether to submit the case to a penalty phase jury -- allowed
13   by the California scheme is contrary to the principled decision-making
14   mandated by the Fifth, Eighth, and Fourteenth Amendments.                      Furman v.
15   Georgia, supra, 408 U.S. 238.              The judgment of death in this case is
16   the product of that unconstitutional system and for that reason may
17   not stand.
18
19   AS APPLIED TO PETITIONER, EACH AND ALL OF THE ABOVE DEFECTS HAVE
     CONTRIBUTED TO A DEATH SENTENCE IN VIOLATION OF FEDERAL CONSTITUTIONAL
20   LAW
21   190.           Petitioner alleges, and with discovery and an evidentiary
22   hearing will establish, that within Alameda County, the facts of his
23   offenses, the nature of his charges and offenses of conviction, and
24   the facts of his personal background including but not limited to his
25   nominal criminal history, are completely outside the norm of those
26   cases for which capital punishment has been sought and/or obtained by
27
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 1   the prosecution since Furman v. Georgia, 408 U.S. 238 (1972).                           See
 2   Verification of Phillip A. Treviño, infra, at ¶ 4.
 3
 4   191.           Petitioner f urther alleges, and with                 discovery and        an
 5   evidentiary hearing will establish, that within the counties of the
 6   State of Cal ifornia, the facts of his offenses, the nature of his
 7   charges and offenses of conviction, and the facts of his personal
 8   background including but not limited to his nominal criminal history,
 9   are completely outside the norm of                     those cases   for which capital
10   punishment has been sought and/or obtained by the prosecution since
11   Furman v. Georgia, 408 U.S. 238 (1972).
12
13   192.           Petitioner further alleges, and                with discovery and          an
14   evidentiary hearing will establish, that in the United States, the
15   facts of his o ffenses, the nature of his charges and offenses of
16   conviction, and the facts of his personal background including but not
17   limited to his nominal criminal history, are outside the norm of those
18   cases for which capital punishment has been sought and/or obtained by
19   the prosecution since Furman v. Georgia, 408 U.S. 238 (1972).
20
21   IMPOSITION OF THE DEATH PENALTY IN CALIFORNIA TODAY IS A VIOLATION OF
     THE FEDERAL CONSTITUTION’S PROHIBITION AGAINST CRUEL AND UNUSUAL
22   PUNISHMENT
23   193.           California voters recently demonstrated their support for
24   the death penalty has dropped significantly from the strong margin it
25   held when the current statute was enacted in the late 1970's. On
26   November 6, 2012, Californians were offered a referendum (Proposition
27
28   Petition for a writ of habeas corpus
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 1   34) on whether to abolish the death penalty, with such abolishment to
 2   include all individuals as to whom the penalty had been pronounced
 3   such as Petitioner. Individuals such as Petitioner as to whom a death
 4   sentence had previously been pronounced would have seen the sentence
 5   commuted to a sentence of life without possibility of parole.
 6
 7   194.           Although Proposition 34 failed by a margin of four (4)
 8   percent,61 this narrow margin shows this penalty is no longer the
 9   strong view of the state.              The narrow margin justifies an allegation,
10   as Petitioner makes herein, that this extreme penalty no longer
11   reflects       a    contemporary        view       that    comports    with    the     Eighth
12   Amendment.62
13
14   195.           The Eighth Amendment embodies concepts of dignity, civilized
15   standards, humanity and decency against which courts must evaluate
16   penal measures. Estelle v. Gamble, 429 U.S. 97 (1976). It prohibits
17   punishments that are incompatible with "evolving standards of decency
18   that mark the progress of a maturing society."                        Trop v. Dulles, 356
19   U.S. 86, 101 (1958).            To discern the "evolving standards of decency,"
20
21          61
                As of December 3, 2012, with 100% of the precincts
22   reporting, the California Secretary of State reports a final tally on
     Proposition 34 as 48.% in favor, 52% against.      (5,885,080 versus
23   6,372,996)    http://vote.sos.ca.gov/returns/ballot-measures/
            62
24             Indeed, while both California Governor Jerry Brown and
     California Attorney General Kamala Harris have affirmed their
25   intentions to enforce the law, they have publicly announced their
     personal opposition to the penalty. Exhibits 3, 4. After voting,
26   Governor Brown publicly stated he voted for Proposition 34. Exhibit
     4.
27
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 1   courts look to objective evidence of how society views a punishment
 2   today. Coker v. Georgia, 433 U.S. 584, 593-597 (1977); Enmund v.
 3   Florida, 458 U.S. 782, 788-796 (1982).
 4
 5   196.           Petitioner alleges that the vote tally from this recent
 6   election clearly shows the evolving standards in California are
 7   growing away from capital punishment. This in itself reflects how
 8   Petitioner’s sentence violates the Amendment.
 9
10   197.           The Eighth Amendment also prohibits capital punishment from
11   being imposed in an arbitrary and capricious manner.                   The Fifth and
12   Fourteenth Amendment entitle all persons to equal protection of the
13   laws, which includes the right to be treated similarly on similar
14   facts.
15
16   198.           Petitioner was tried and sentenced in 1995.              According to
17   a Gallup poll taken in September 1994, public support for the death
18   penalty had reached an all-time high of 80 per cent, having steadily
19   increased from around 65 per cent in the early 1970s. (Cal. Hab. Exh.
20   74, 6 App. 1558)63
21
22   199.           Petitioner was tried during a period of notable anti-crime
23
            63
24             In support of his state habeas, Petitioner submitted eight
     (8) volumes of exhibits. Said materials are referenced herein as
25   “Cal. Hab. Exh. X, Y App. Z” where “X” refers to the individual
     exhibit number, “Y” refers to which of the eight volumes contains said
26   exhibit, and “Z” refers to the page number at which the cited
     reference appears.
27
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 1   sentiment.          For example, Petitioner’s trial occurred in the wake of
 2   Polly Klaas’s murder.                  As the U.S. Supreme Court has recognized,
 3   “Polly      Klaas'     murder      galvanized       support    for    the    three     strikes
 4   initiative” in California and throughout the country.                                Ewing v.
 5   California, 538 U.S. 11 (2003). “Between 1993 and 1995, 24 States and
 6   the Federal Government enacted three strikes laws.”                         Id.
 7
 8   200.           It    seems     reasonable,       and     Petitioner    alleges,        that     a
 9   defendant who committed the same death eligible offense under the same
10   circumstances in 1995 was statistically more likely to be sentenced
11   to death than a defendant who might commit the same crime today would
12   be. Such variance is at odds with the Supreme Court’s jurisprudence
13   regarding what practices comport with the Eighth Amendment.
14
15   201.            With discovery and an opportunity to adduce supporting
16   evidence, Petitioner alleges he can establish the same, all in
17   conformance with California’s recent election results.64
18
19
20
21
22
23
            64
24              Under the Antiterrorism and Effective Death Penalty Act,
     Petitioner must present this initial petition for filing by no later
25   than December 21, 2012.    California voters decided Proposition on
     November 6, 2012, and 100% of the ballots cast were fully tallied as
26   of December 3, 2012, according to the California Secretary of State.
     Exhibit 5.
27
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 1                                            Claim 265
 2   TRIAL COUNSEL FAILED TO INVESTIGATE AND PRESENT READILY AVAILABLE
     EVIDENCE IN MITIGATION AT PETITIONER’S PENALTY PHASE TRIAL.
 3
 4   202.           There were numerous types of mitigation evidence that
 5   reasonable       and    competent      trial   counsel    would        have    prepared    and
 6   presented to Petitioner’s penalty phase jury.                     Petitioner’s personal
 7   and family profile is nothing less than the story of how a poor,
 8   undereducated and ignored child grows up in a deprived and violent
 9   inner-city existence:
10          a.      Single parent family with absentee father.
11          b.      Repeated shuffling back and forth between the parents.
12          c.      Depressed, overworked and mentally ill single mother with
13                  low self-esteem who was raising five children.
14          d.      Low income impoverished environment.
15          e.      Life in a series of violent, hopeless neighborhoods, each
16                  with repeated exposure to crime.
17          f.      Lack of parental supervision at home.
18          g.      Lack of parental affection.
19          h.      Lack of individual attention.
20          i.      Lack    of    appropriate       role    models     at    home    or   in    the
21                  neighborhood.
22          j.      Volatile relationship with stepmother.
23          k.      Drunken and abusive stepfather.
24
25          65
               This claim was presented to and decided by the California
26   Supreme Court during state habeas proceedings. See Habeas Claims 3,
     4, 5, 9, 18, and 29.
27
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 1          l.      Low expectations and humiliation by aunts and uncles.
 2          m.      Learning         disabilities             and        subnormal         intellectual
 3                  functioning, of which there appears to be a strong family
 4                  history.
 5          n.      Neuropsychological          impairments              in    functions    related       to
 6                  planning,       organizing,       judgment,               cognitive    flexibility,
 7                  fluency and self-monitoring.
 8          o.      Lack of parental support for education.
 9          p.      Dysfunctional and underfunded schools.
10          q.      Extremely       poor    performance             in    school,       with    frequent
11                  suspensions.
12          r.      Attention deficit/hyperactivity disorder
13          s.      Bipolar disorder
14          t.      Alcoholism, of which there was a strong history on both
15                  sides of the family, and substance abuse.
16          u.      Family history of various forms of mental illness including
17                  schizophrenia.
18   Reasonable and competent trial counsel would have brought forth this
19   evidence for the jury’s evaluation during the penalty phase, and once
20   informed fully of Petitioner’s background, the jury would not have
21   sentenced him to death.                Trial counsel delivered constitutionally
22   ineffective assistance and the writ should issue.
23
24   Synopsis
25   203.           It is clear that under the case law this evidence is
26   admissible and relevant during a capital sentencing proceeding.
27
28   Petition for a writ of habeas corpus                                                     Dykes v. Martel
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 1                  “[E]vidence        about      the      defendant's      background      and
 2          character is relevant because of the belief, long held by
 3          this society, that defendants who commit criminal acts that
 4          are attributable to a disadvantaged background, or to
 5          emotional and mental problems, may be less culpable than
 6          defendants who have no such excuse.”
 7   California        v.    Brown,         479   U.S.      538,   545    (1987)(O’Connor,         J.,
 8   concurring); Boyde v. California, 494 U.S. 370, 382 (1990); Penry v.
 9   Lynaugh, 492 U.S. 302, 319 (1989).
10                  "The presentation of mitigation evidence affords an
11          opportunity to humanize and explain--to individualize a
12          defendant outside the constraints of the normal rules of
13          evidence."
14   Mayes v. Gibson, 210 F.3d 1284, 1288 (10th Cir.), cert. denied, 531
15   U.S. 1020 (2000).
16
17   204.           It is ineffective assistance of capital trial counsel to
18   fail to conduct a proper penalty phase investigation and to make
19   reasonable strategic decisions in the presentation of penalty phase
20   mitigation evidence. Wallace v. Stewart, 184 F.3d 1112, 1117 (9th Cir.
21   1999); Caro v. Calderon, 165 F.3d 1223, 1227 (9th                                Cir. 1999);
22   Clabourne v. Lewis, 64 F.3d 1373, 1378 (9th Cir. 1995); Mak v.
23   Blodgett, 970 F.2d 614, 619 (9th Cir. 1992).
24
25   DISCUSSION
26   205.           To consider the significance of trial counsel’s failures,
27
28   Petition for a writ of habeas corpus                                                Dykes v. Martel
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 1   it seems pertinent to start with the prosecutor’s own admission of
 2   just how weak the aggravation case was against Petitioner.                        At a pre-
 3   trial hearing, the prosecutor openly conceded that any error in
 4   admitting aggravating evidence would not withstand review because
 5   “this case doesn’t have the bulk of additional aggravation[.]”                           (RT
 6   242, emphasis added)
 7
 8   206.           Next: a few stark facts. The entire penalty phase comprises
 9   exactly and only 62 pages of reporter’s transcript. (RT 3767-3838)
10   The entire case in aggravation against Petitioner consisted of victim
11   impact testimony and proof Petitioner had been in possession of a
12   handgun during a non-violent police stop.                       The prosecution’s own
13   acknowledgment about how weak its aggravation case against Petitioner
14   was no generous gesture; it was compelled to make the concession.
15
16   207.           Even more stark: the defense case consists of only 22 pages
17   of reporter’s transcript. The entire case in mitigation consisted
18   solely of unemotional requests by Petitioner’s family that he not be
19   executed.
20
21   208.           The record is sparse not because Petitioner had no redeeming
22   qualities, but because trial counsel failed to conduct a proper and
23   competent investigation pretrial.
24                  -      Trial counsel failed to provide a mental health
25          expert       with     critical      information        about   Petitioner’s
26          family’s history of mental illness, subnormal intellectual
27
28   Petition for a writ of habeas corpus                                           Dykes v. Martel
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 1          function and alcoholism.
 2                  -        Trial counsel did not follow up on evidence of
 3          neuropsychological              impairment         he   did   learn     existed       by
 4          requesting a more thorough examination.
 5                  -        Trial counsel never investigated how any adverse
 6          impact from admitting Petitioner’s juvenile arson behavior
 7          could be blunted, even when it was still a possibility that
 8          the arson would be admitted as aggravation.                           Importantly,
 9          counsel also failed to consider how the fact of the fires
10          could be developed as powerful mitigation by explaining it
11          as the product of many of the same dysfunctional and
12          unhealthy         influences        that      Petitioner         labored         under
13          throughout his life.
14
15   209.           The trial court refused to allow the prosecutor to impeach
16   Petitioner         at   the     guilt     phase     with       evidence      of     his     juvenile
17   misconduct.          (RT 3290)66
18
19   210.           The      trial    court,     therefore,           saw    what      trial      counsel
20   inexplicably did not:             that a rational jury probably would not have
21   used Petitioner’s minor adolescent juvenile history to discredit him.
22   Even after this ruling trial counsel made no effort to evaluate this
23
24          66
                Doing so, the court held that even if the fires Petitioner
25   set as a juvenile constituted moral turpitude and would otherwise have
     been admissible as impeachment, “the probative value of juvenile
26   misdemeanor conduct” as impeachment was substantially outweighed by
     the potential for confusion of the issues. (RT 3290)
27
28   Petition for a writ of habeas corpus                                                     Dykes v. Martel
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 1   evidence as a potentially favorable illustration of just how unguided
 2   Petitioner was during his formative years.
 3                  -      Evidence could have been put on about the crime-
 4          ridden neighborhood Petitioner spent his adolescent years
 5          in.
 6                  -      Evidence         could       have     been     put    on       about
 7          Petitioner’s learning disabilities, lifelong failure at
 8          school and broken family.
 9                  -      Importantly,       Petitioner         could    have   taken      the
10          stand to apologize openly and express the remorse he felt.
11          This alone would likely have saved his life.                              And the
12          record makes clear Petitioner was fully ready and willing
13          to testify when called upon to do so.                            Trial counsel
14          simply failed to allow Petitioner to use this opportunity
15          for salvation.
16
17   211.           Granted discovery and an evidentiary hearing, Petitioner
18   anticipates illustrating clearly just how these and further details
19   and illustrations of Petitioner’s deprived background and personal
20   challenges could have been presented to the jury and why it was
21   ineffective assistance of counsel to fail to do these things.
22
23   212.           Had trial counsel properly and competently investigated and
24   presented the evidence readily as mitigation, Petitioner would not
25   have been sentenced to death. The judgment of death must be reversed.
26
27
28   Petition for a writ of habeas corpus                                               Dykes v. Martel
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 1   THE LIMITED EXTENT OF TRIAL COUNSEL’S INVESTIGATION.
 2   Investigation of Petitioner’s Juvenile Arson
 3   213.           Although trial counsel obtained Petitioner’s juvenile court
 4   file, counsel had no understanding of the significance of Petitioner’s
 5   arsonist behavior.            Had he done so, counsel would have understood the
 6   fires Petitioner lit at his junior high school could not have been
 7   used to bolster the case for a death sentence; that any adverse impact
 8   of this evidence coming in at the penalty phase could be mitigated;
 9   and that the fact Petitioner set these fires could be turned to his
10   advantage and explained as the product of the same dysfunctional and
11   unhealthy influences that ultimately led to the commission of the
12   robbery/murder.          (Cal. Hab. Exh. 1, 1 App. 2-3)
13
14   Investigator Services
15   214.           Lead counsel Spencer Strellis’ billing records contain two
16   entries regarding investigator services:                    a 0.3-hour “discussion on
17   phone” on March 9, 1995, and a 2.5 hour meeting on May 14, 1995,
18   meeting “with investigator, co-counsel and doctor.”                      (Cal. Hab. Exh.
19   118, 7 App. 1936, 1953)
20
21   215.           The pre-trial investigator was Richard Eric Hove.                       (Cal.
22   Hab. Exh. 1, 1 App. 3.)                    Mr. Hove, however, was not a capital
23   mitigation specialist.                 Mr. Hove was a criminal defense attorney in
24   dire straits, unable to practice law, and a friend of Mr. Strellis.
25   At the time of his engagement on Petitioner’s case, Mr. Hove had been
26   suspended by the State Bar from practice following a federal criminal
27
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 1   conviction.        (Cal. Hab. Exh. 110, 7 App. 1832)67
 2
 3   216.           On May 22, 1995, the trial court ruled that the fires that
 4   Petitioner had lit at his junior high school would not be admissible
 5   at the penalty phase as part of the prosecutor’s case in aggravation.
 6   (RT 405) Yet, by that point, Mr. Strellis had already decided he would
 7   not present a case in mitigation and he did not revisit the issue.
 8
 9   Trial Counsel’s Investigative Efforts
10   217.           Trial counsel did not speak with Poashan Jones, Timothy
11   Love, Warren Johnson, or Beverly Joyce Johnson-Kaufman, Rhonda Dykes
12   or Cynthia Dykes Wise, family members of Petitioner who have provided
13   declarations with the petition.
14
15   218.           Trial counsel’s files contain no public records or other
16
            67
17              In 1993, under Docket 92-CR-234-VRW, Mr. Hove had been
     convicted in this District of two counts of violating 31 U.S.C. §§
18   5322(a) and 5324(3) by illegally structuring currency transactions to
     avoid triggering the filing of a cash transaction report. (Cal. Hab.
19   Exh. 111, 7 App. 1833) On April 6, 1995, the Ninth Circuit filed an
     opinion reversing Hove’s conviction. (Cal. Hab. Exh. 112, 7 App.
20   1854)
           The United States government elected to re-try Mr. Hove.
21   Although Mr. Hove had retained counsel at his first trial, he
     represented himself at the re-trial. Mr. Hove submitted or responded
22   to numerous filings during June 1995. Trial commenced on June 26,
     1995 and concluded on June 29, 1995. On June 30, 1995, Mr. Hove was
23   acquitted. (Cal. Hab. Exh. 1, 1 App. 3, Cal. Hab. Exh. 111, 7 App.
     1833, 1846-48)
24         Mr. Strellis was aware of Mr. Hove’s legal problems at the time,
     including the fact that he would be retried in June 1995 and would be
25   representing himself. (Cal. Hab. Exh. 1, 1 App. 3)
           Trial counsel hired no other investigators to develop mitigation
26   for the penalty phase, not even to take Mr. Hove’s place while he was
     preoccupied in June 1995 with his own legal problems. Id.
27
28   Petition for a writ of habeas corpus                                         Dykes v. Martel
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 1   documents related to numerous member of Petitioner’s family.
 2
 3   219.           Trial counsel did not even contact John Murcko, the lawyer
 4   who represented Petitioner in his juvenile court case to discuss his
 5   impressions of Petitioner and his family.                Murcko had office space in
 6   the same building that Spencer Strellis did.                   (Cal. Hab. Exh. 3, 1
 7   App. 7-9)
 8
 9   Mental Health and Social History Investigation
10   220.           Trial counsel did not engage a psychiatrist to evaluate
11   Petitioner. Instead, trial counsel retained Dr. Ollie Glover, a
12   forensic psychologist to investigate Petitioner’s mental health.
13   Counsel provided Dr. Glover only with Petitioner’s school records and
14   his juvenile court records.                (Cal. Hab. Exh. 2, 1 App. 6)             Trial
15   counsel did not provide Dr. Glover with any records related to
16   Petitioner’s family or any background information about mental health
17   issues in Petitioner’s family.              Id.
18
19   221.           In preparing an expert to conduct an examination concerning
20   the penalty phase, counsel must “seek out [evidence of the defendant’s
21   background] and bring it to the attention of experts.”                         Wallace v.
22   Stewart, 184 F.3d 1112, 1118 (9th Cir. 1999).                 See also, Clabourne v.
23   Lewis, 64 F.3d 1373, 1385 (9th Cir. 1995)(counsel was ineffective
24   where he failed to provide experts with materials they needed to
25   “develop an accurate profile” of the defendant’s mental health).
26   Counsel has “a professional responsibility to investigate and bring
27
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 1   to the attention of mental health experts who are examining his
 2   client, facts that the experts do not request[.]”                           Wallace, 184 F.3d
 3   at 1116.
 4
 5   222.           Even without trial counsel performing effectively and as
 6   reasonable and competent counsel should, Dr. Glover’s evaluation of
 7   Petitioner brought forth information that could have and should have
 8   been used to Petitioner’s advantage during the penalty phase. It was
 9   not used, and more significantly it was not further developed, only
10   due to trial counsel’s failures.
11
12   223.           The testing that Dr. Glover did on Petitioner established
13   that Petitioner is in the low normal range of intelligence.                                 (Cal.
14   Hab. Exh. 5, 1 App. 41-42)
15
16   224.           Dr.    Glover      interviewed             Petitioner   on    two    occasions,
17   developing a basic social history for Petitioner in the process.                               His
18   notes from his March 17, 1995, and June 2, 1995, interview of
19   Petitioner contain the seeds of strong mitigation that should have
20   been developed and presented:
21
22   225.           Petitioner discussed being raised in a single parent family
23   by a mother who was on welfare until he was eleven (11) years old and
24   then worked very hard but never got ahead. While his mother worked,
25   Petitioner was often alone with his younger sister, Sarah.                              He would
26   have to look after her.                (Cal. Hab. Exh. 37, 2 App. 551, 570, 574)
27
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 1   226.           Petitioner spoke with Dr. Glover about the criminal history
 2   of two of his brothers.                He told Dr. Glover that he kept a firearm
 3   because of the neighborhood they lived in and the fact that Cherry
 4   Street had been shot up by a rival gang.                     (Cal. Hab. Exh. 37, 2 App.
 5   573)
 6
 7   227.           On the subject of school, Petitioner related he not know how
 8   he got the limited education he achieved.                        He never did school work
 9   or homework, not even when staying with his father.                           He discussed
10   dropping out of school after tenth grade, his experience in special
11   education programs, and the fact that he always hyperactive in school
12   and acted like the class clown.                      He talked about his difficulty
13   reading, comprehending and remembering.                     (Cal. Hab. Exh. 37, 2 App.
14   551, 571)
15
16   228.           Dr. Glover noted that Petitioner seemed genuinely remorseful
17   and cried.       Petitioner said, “Lord knows I didn’t have any intention
18   of hurting anybody.”              After the crime, Petitioner couldn’t eat and
19   lost weight.         He felt better if he was drunk or high.                        He started
20   reading the Bible with his girlfriend, and he felt she knew something
21   had happened.         (Cal. Hab. Exh. 37, 2 App. 576)
22
23   229.           Dr.     Glover’s        interview         notes    periodically        document
24   Petitioner’s manic state, manic episodes, and how absentminded he was.
25   He also memorialized Petitioner’s paranoid ideations about forces
26   conspiring to keep African-Americans subjugated. Petitioner told Dr.
27
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 1   Glover that he felt he has always been impulsive. (Cal. Hab. Exh. 37,
 2   2 App. 552, 573, 574)
 3
 4   230.           Petitioner told Dr. Glover that his mother was married for
 5   a while to an alcoholic man.               Petitioner also told Dr. Glover about
 6   his own serious drinking problem, which began in junior high school,
 7   and how he would pour brandy into a Sprite can and go to school drunk.
 8   (Cal. Hab. Exh. 37, 2 App. 555, 576)
 9
10   231.           Dr. Glover also documented a number of head injuries that
11   Petitioner received, including in the bathroom where he blacked out.
12   (Cal. Hab. Exh. 37, 2 App. 577)
13
14   232.           Dr. Glover noted his impressions following the March 17,
15   1995, interview:           1) bipolar/manic; 2) OBS (Organic Brain Syndrome)
16   2nd degree to fall as child. Impacted ability to learn. Later blacked
17   out in bathtub.         Later hit in head with a bat; 3) chronic alcoholism.
18   (Cal. Hab. Exh. 37, 2 App. 577)
19
20   233.           Petitioner told Dr. Glover that he felt he understood more
21   than he could express.                 It was hard for him to talk in front of
22   people.       He would get sweats and would stutter a lot.                        Smoking
23   marijuana would help calm him down, and he could express himself
24   better.      (Cal. Hab. Exh. 37, 2 App. 552)
25
26   234.           Petitioner didn’t like being broke and laying around the
27
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 1   house but felt trapped in his situation.                        (Cal. Hab. Exh. 37, 2 App.
 2   552, 553)
 3
 4   235.           At    one    point,     Dr.    Glover        was    scheduled     to    interview
 5   Petitioner’s mother.             However, this meeting was cancelled by trial
 6   counsel and was never rescheduled.                     (Cal. Hab. Exh. 2, 1 App. 6A)
 7
 8   236.           Dr.    Glover      never      came      to   a     conclusive     diagnosis        of
 9   Petitioner. However, Dr. Glover’s files contain extensive notes on the
10   symptoms of bipolar disorder.                 (Cal. Hab. Exh. 37, 2 App. 558-563)
11
12   237.           Dr. Glover’s working diagnoses, as well as his emphasis on
13   Petitioner’s alcoholism, are evidenced by a June 7, 1995, letter that
14   he wrote to Dr. John Ratey, a professor of psychiatry at the Harvard
15   School of Medicine, and the co-author of a book on attention deficit
16   disorder that Dr. Glover had recently read.                        In the letter Dr. Glover
17   asks for Dr. Ratey’s “professional opinion” on the question of whether
18   “symptoms of ADD could co-exist with Bi-polar/manic symptoms of an
19   episodic nature . . . especially if that person were prone to abuse
20   alcohol.” (Cal. Hab. Exh. 37, 2 App. 549-50)                         Discussing Petitioner,
21   Dr. Glover wrote, “In my opinion, this lad has all of the hallmarks
22   of ADD which dates back to the 2nd grade.                         During the course of the
23   events which led up to the instant offense, I am of the impression
24   that he suffered a manic episode just prior to the commission of the
25   alleged offense.             He was       under dire circumstances at home and
26   desperate for money.             That is no excuse for such an offense, but it
27
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 1   is part of the set of circumstances surrounding this offense.”                          (Cal.
 2   Hab. Exh. 37, 2 App. 550)
 3
 4   238.           It is unclear whether or to what extent Dr. Glover’s
 5   impressions from his June 2, 1995, interview of Petitioner were
 6   communicated to or considered by trial counsel.                  Dr. Glover’s records
 7   contain no bill for services rendered in June, which would include the
 8   June 2 interview as well as the June 7 letter to Dr. Ratey which
 9   appears to be the last thing that Dr. Glover did on the case, or any
10   discussion of these matters with trial counsel.                   (Cal. Hab. Exh. 37,
11   2 App. 515-519)           Counsel’s bills reflect no conversations with Dr.
12   Glover about the June 2 interview with Petitioner or the letter to Dr.
13   Ratey.      (Cal. Hab. Exh. 118, 7 App. 1896-1959)
14
15   239.           Dr. Glover did professional and helpful work on Petitioner’s
16   case. Trial counsel simply failed to use it or to develop the leads
17   that it revealed.           Follow-up to Dr. Glover’s interviews of Petitioner
18   that could have, and Petitioner respectfully alleges should have, been
19   conducted was not undertaken by trial counsel.                            Reasonable and
20   competent counsel would have pursued this, and the failure to do so
21   was ineffective assistance of counsel.
22
23
     EVIDENCE OF REDEEMING QUALITIES IN PETITIONER THAT COULD HAVE BEEN
24   PRESENTED TO THE SENTENCING JURY.
25   240.           During closing argument, the prosecution emphasized the
26   complete       lack    of    mitigating    evidence     put     on   by     the     defense,
27
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 1   emphasizing how nobody who testified had anything good to say about
 2   Petitioner.
 3          [T]he defense is allowed to put on virtually anything to
 4          try to persuade you to give him life without parole                             The
 5          prosecution’s limited as to the areas we’re allowed to
 6          present evidence.               The defense can put on anything.                 And
 7          what you saw yesterday is a bare request from four — or was
 8          it five -        relatives, with no other information provided.
 9          They offered no opinion as to his character, they didn’t
10          tell you about anything good he’s ever done, but just the
11          bare request, he’s my relative, don’t execute him.                          That’s
12          it.     That’s all that’s been offered to you in mitigation.
13          And you’re going to weigh that against the circumstances of
14          the crime, the harm to the victim’s family, and his other
15          criminal       conduct.         .   .   .      [T]he     death   penalty   is   the
16          appropriate punishment. . . . And when you weigh what you
17          heard yesterday by the defense against the rest of the
18          case, it’s inconceivable that the scales could turn out any
19          other way.
20   (RT 3888-89)
21
22   241.           The prosecutor further argued for a death sentence on the
23   basis that “there’s nothing redeeming in Mr. Dykes to point to.”                               (RT
24   3890)          Petitioner’s ostensible lack of redeeming qualities appears
25   to have figured prominently in the jury’s decision to impose a death
26   sentence.       Several jurors afterwards related that because Petitioner
27
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 1   presented no evidence on his behalf, they felt that there was nothing
 2   they could do but impose a death sentence.
 3
 4   242.           Juror RA recalled that there was a lack of any positive
 5   evidence on behalf of Petitioner that she felt gave her the option of
 6   a sentence other than death. She said that she was very dismayed that
 7   the family members made a plea for Mr. Dykes in such a rote fashion.
 8   She    recalled       that     the     various      family    members   said     something
 9   perfunctory along the lines of ‘I want my brother to live’ and yet
10   could not elaborate on why he should be allowed to live, etc. In sum,
11   it was her view she had not received enough information or very little
12   information that would give her anything to go on, either emotionally
13   or something substantial that would give her sympathy and allow her
14   to consider life imprisonment as opposed to death as a verdict.                          (CT
15   698-99)
16
17   243.           Juror RA further recalled the defense team was basically
18   unable to provide any redeeming characteristics for them to consider
19   with regards to Petitioner.              She recalled the jurors were not sure if
20   Petitioner even had any redeeming characteristics but they knew that
21   they had not heard anything substantive with regards to that.                         There
22   was such a lack of information of that nature that the jury actually
23   found it “very odd.”             (CT 701)
24
25   244.           Juror RA further stated that the jurors had wanted to confer
26   with Mr. Strellis after they gave the verdict of death.                        They wanted
27
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 1   to   express      their      concerns      regarding       the   lack    of    this     type     of
 2   information that might have given them something to lean on positively
 3   toward Petitioner.            (CT 664)
 4
 5   245.           Juror JR felt Petitioner’s family members who testified
 6   appeared to show no concern for Petitioner himself.                              Although the
 7   family      members       said     they    wanted         Petitioner     to     receive       life
 8   imprisonment, they did not elaborate as to why he was deserving of
 9   life as opposed to death.                 In particular, when Petitioner’s father
10   testified, he only said that he wanted his son’s life spared because
11   of all the hard work that he (the father) had done. (CT 713-14)
12
13   246.           Juror SL was affected by the fact that Petitioner’s parents
14   had no redeeming qualities to relate about Petitioner and that his
15   father, mother and sister said absolutely nothing of any redeeming
16   nature about him.          (CT 717)       She also “felt that the testimony on the
17   part of other family members speaking in support of [Petitioner] was
18   lacking and that the members said nothing redeeming about [Petitioner]
19   at all.”       (CT 719)
20
21   247.           Recalling Petitioner’s father’s testimony that his son
22   should be spared because he was the last of the Dykes men in his line,
23   Juror SL recalls thinking, “Who the hell cares?”                        (Cal. Hab. Exh. 20,
24   1 App. 173)
25
26   248.           In turn, juror FC noted: “Mr. Strellis presented his case
27
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 1   very well but just did not have any material to work with.                        She felt
 2   sorry for a lawyer who had such a client.                    (CT 727)
 3
 4   249.           Trial counsel was on notice from the outset that proof of
 5   some redeeming qualities would be expected for the jury to spare
 6   Petitioner if the matter reached a penalty phase. Juror JM had stated
 7   during voir dire, “In terms of the death penalty for me to really, to
 8   really say that somebody would deserve that I think it would come down
 9   for me personally to be an individual that has no redeeming value to
10   society, for instance, cannot be rehabilitated and that sort of
11   thing.”      (RT 2476)
12                  “In all, counsel’s gross mishandling of the penalty-
13          phase defense left his client’s fate to jurors who could
14          only wonder why neither the man himself nor any member of
15          his family would step up to explain, in personal human
16          terms, why his life should be spared notwithstanding the
17          reprehensible conduct of which he had been found guilty.”
18   Cargle v. Mullin, 317 F.3d 1196, 1211 (10th Cir. 2003).
19
20   250.           Petitioner’s apparent lack of redeeming qualities also
21   figured prominently in the trial court’s decision not to set aside the
22   death sentence.          The trial court found that the record contained no
23   “sympathetic or other aspects of the defendant’s character or record
24   which provide a basis for a sentence less than death.”                      (RT 4130-31)
25
26   251.           Sadly the trial court was correct in this assessment.                     The
27
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 1   record is completely devoid of any evidence that might have humanized
 2   Petitioner in the eyes of a jury who felt that the circumstances of
 3   his crime, standing alone, justified a death sentence. This is only
 4   true, however, due to trial counsel’s ineffective assistance in
 5   failing      to    muster      that    evidence         for   the   court’s   and     jury’s
 6   consideration.
 7
 8   252.           This is even more unsettling since trial counsel plainly had
 9   ample reason and proof to know redeeming evidence was available for
10   him to put forth on Petitioner’s behalf.                      Trial counsel’s own files
11   contain a folder labeled “Mitigation.”                   In it were eight hand-written
12   letters on loose-leaf paper from various friends and family members
13   of the Petitioner. The letters that bear dates reflect that they were
14   written in December, 1993, long before Petitioner’s penalty phase
15   trial.
16
17   253.           When asked about them by successor counsel, trial counsel
18   Strellis did not even recall the letters existed or that he asked the
19   family to write them. (Cal. Hab. Exh. 1, 1 App. 3-4)
20
21   254.           In contrast, Petitioner’s sister, Sarah Dykes, clearly
22   recalled that the letters were trial counsel’s idea.                     (Cal. Hab. Exh.
23   7, 1 App. 94)         Of the letter writers, only Sarah Dykes testified at
24   trial. Yet, with her on the stand, trial counsel did not even elicit
25   from Ms. Dykes any of the heart-felt sentiments expressed in her
26   letter.      He did not have the jury hear how she and Petitioner would
27
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 1   try to watch each other’s back when they were left to fend for
 2   themselves       in    the    dangerous    Cherry       Street    neighborhood      or    that
 3   Petitioner would try to help Sarah with her with her homework, even
 4   though he himself had tremendous, longstanding problems in school, or
 5   that while Petitioner always had trouble finding work, when he did
 6   work, he helped his mother pay the bills and would buy groceries and
 7   other necessities.            (Cal. Hab. Exh. 7, 1 App. 92)
 8
 9   255.           It was ineffective assistance of counsel to fail to call
10   each of the authors of such sympathetic and revealing letters to
11   testify on Petitioner’s behalf in the penalty phase.                               If those
12   favorable witnesses had testified, Petitioner would not have been
13   sentenced to death.             Further, had trial counsel simply followed up
14   with those individuals or other members of Petitioner’s family, he
15   could have presented additional redeeming mitigation.
16
17   MITIGATING EVIDENCE OF PETITIONER’S IMMEDIATE AND CONTEMPORANEOUS
     REMORSE THAT COULD HAVE BEEN PRESENTED TO THE SENTENCING JURY.
18
19   256.           During closing argument at the penalty phase, the prosecutor
20   argued forcefully that Petitioner had not put on any evidence that he
21   was remorseful about the murder:
22                  Why didn’t the defense put on the girlfriend to say
23          that he’s showed [sic] remorse to her, confided in her?
24          There’s been no evidence presented that he ever showed any
25          remorse, other than when you listen to the tape, when he’s
26          finally confronted and he knows he can no longer continue
27
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 1          to deny it’s him.           Then the sprinklers turn on, then we get
 2          some tears.         But as you sit here now, do you really think
 3          when Mr. Dykes goes back to his cell at night he cries for
 4          Lance and Bernice and what he did to their family?                       Or do
 5          you think the tears are for him, for the situation he finds
 6          himself in?        Ask yourself that before you decide whether or
 7          not he deserves your mercy?
 8   (RT 3893) This prosecution argument resonated with the jury because
 9   of the absence of contrary evidence from Petitioner.68
10
11   257.           Juror     RM   stated    that      the    jurors   were   disturbed       that
12   Petitioner “never once said he was sorry for his actions” during his
13   guilt phase testimony. (CT 709-10.)69
14
15   258.           Juror JR recalled the jurors were disturbed by the fact that
16   at no time during the trial did Petitioner show any remorse or concern
17   for the consequences of his actions or for injuries and death to the
18   victims.       He and the other jurors were hoping that they would hear
19   something from Petitioner such as an apology or anything that would
20   give them some indication that Petitioner’s actions were anything
21
            68
22             This prosecution argument is of questionable ethics, as the
     prosecutor had reason to know based on his own interview of
23   Petitioner’s girlfriend that Petitioner had in fact been deeply
     troubled by these events, was drinking heavily, and reading the Bible
24   prior to self-surrendering in this matter.
            69
25             That the jurors held Mr. Dykes’ silence at the penalty phase
     and his failure to apologize during his guilt phase testimony against
26   him during penalty phase deliberations is the subject of the juror
     misconduct claim, which is claim 9 of the petition.
27
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 1   other than intentional acts.               (CT 713)
 2
 3   259.           Juror SL felt that during the sentencing phase, Petitioner
 4   should have gotten up and told the family of his victim that he was
 5   sorry, but there was no such testimony.                    (CT 717)    She felt it was
 6   unusual Petitioner did not have anything to say for himself and showed
 7   no remorse.        (CT 719)
 8
 9   260.           Juror GS wished Petitioner had been asked about remorse at
10   the penalty phase rather than at the guilt phase, where the court
11   ruled the question irrelevant and Petitioner was not allowed to
12   answer.      (Cal. Hab. Exh. 21, 1 App. 175-176)
13
14   261.           Juror FC remembered the jurors all wondered why Petitioner
15   was not put on the stand, if for nothing else than to say he was sorry
16   to the family. It was her understanding the lack of this behavior on
17   the part of Petitioner greatly affected the jurors.                       (CT 723)       She
18   recalled that during the final vote on penalty, she asked the jurors
19   generally how many of them may have changed their mind if Petitioner
20   had simply said he was sorry to someone. Some of the jurors said that
21   they would have been swayed by that and might have tipped their vote
22   to life imprisonment.             (CT 726)
23
24   262.           Despite the prosecutor’s assertion before the jury to the
25   contrary, the prosecutor had first-hand reason to believe Petitioner
26   was in fact remorseful after committing these crimes.                      Ms. Rodriguez’s
27
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 1   account of Petitioner’s remorseful behavior is memorialized in the
 2   prosecutor’s notes of an interview he conducted with her prior to
 3   calling her as a rebuttal witness.70
 4
 5   263.           Ms. Rodriguez was available to trial counsel, and she could
 6   have testified that during the time period following the crimes,
 7   Petitioner was very quiet around her.                         Although Petitioner did not
 8   tell her about the crimes, he told her that he had “messed up.”                              She
 9   erroneously assumed this meant he was cheating on her. Thereafter she
10   and Petitioner spent time reading the Bible together. (Cal. Hab. Exh.
11   39, 2 App. 479.)
12
13   264.           Petitioner’s            cousin,      Poashan     Jones,   also    could      have
14   testified about Petitioner’s remorseful demeanor. As his 1993 letter
15   states, “I know that he took someone’s life but deep in his heart he
16   didn’t mean to do that to anyone because I could see it in his eyes.
17   We grew up together, and we dreamed together.                       So I know what type of
18   person Ernest is inside and out. He hurt a lot of people’s hearts and
19   he hurts inside because of that, but doesn’t deserve to get the Death
20   Sentence.”        (Cal. Hab. Exh. 25, 1 App. 180)
21
22   265.           Trial counsel had no reasonable justification for failing
23   to put forth this witness in Petitioner’s penalty phase; his failure
24
            70
25             The   prosecutor  argued   Petitioner  had   never  acted
     remorsefully around his girlfriend despite the fact the prosecutor
26   know, from his own interview of Petitioner’s girlfriend, this was a
     false assertion.
27
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 1   to do so was simply ineffective assistance of counsel.
 2
 3   266.           If granted discovery and an evidentiary hearing, Petitioner
 4   will be able to show this Court there was simply no reasonable or
 5   competent strategy for trial counsel’s failures.
 6
 7   267.           As seen earlier, Petitioner’s genuine remorse and agitation
 8   after the crime are also reflected in trial counsel’s interview notes
 9   and Dr. Glover’s interview notes.                   Trial counsel’s own notes of an
10   interview with Petitioner dated January 17, 1994, include a heading
11   “post event regret.”             Trial counsel noted under this entry:            “drink
12   heavy, act differently, told brother why.” (Cal. Hab. Exh. 38, 2 App.
13   587)
14
15   268.           The testimony of the other witnesses alone probably would
16   have resulted in Petitioner’s life being spared, but Petitioner should
17   have testified at the penalty phase to say that he was sorry.                            He
18   could have done so had trial counsel simply prepared him or even just
19   called him to the stand.71
20
21   269.           Significantly, Petitioner’s remorse is even documented in
22   the probation report filed prior to sentencing. The probation officer
23   stated:      “The defendant is convincing that he is remorseful about the
24
25          71
               The record shows Petitioner testified on numerous occasions
26   throughout the proceedings, starting at the outset during pretrial
     motion hearings.
27
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 1   death of the nine-year-old grandson.                       That is clear from our talking
 2   to him.”       (Cal. Hab. Exh. 36, 2 App. 490)
 3
 4   270.           Petitioner had an extremely limited education, completing
 5   only the eighth grade.                 (Cal. Hab. Exh. 54, 5 App. 1345-46.)
 6
 7   271.           Petitioner’s father and mother did not live together, and
 8   Mr. Dykes was not regularly present in Petitioner’s life.                             (Cal. Hab.
 9   Exh. 6, 1 App.66; Cal. Hab. Exh. 7, 1 App. 83; Cal. Hab. Exh. 11, 1
10   App. 127)
11
12   272.           Petitioner’s father was a distant, unloving man.                         He never
13   expressed love to his daughters or took anything close to an active
14   interest in their lives and problems.                        He never paid much attention
15   to Petitioner or his sister, Sarah, either. (Cal. Hab. Exh. 7, 1 App.
16   90; Cal. Hab. Exh. 11, 1 App. 127, 129; Cal. Hab. Exh. 12, 1 App. 132)
17
18   273.           Petitioner        recalls       his         father   as    being       completely
19   emotionally distant. His father only told him once, while drunk, that
20   he loved him.           (Cal. Hab. Exh. 6, 1 App. 66)                      His father never
21   attempted to converse with Petitioner about the problems Petitioner
22   was having or the difficult choices that he that confronted him
23   growing up in one of the worst neighborhoods in Oakland.                              Id.
24
25   274.           Petitioner’s father had a severe drinking problem. He would
26   start drinking early in the morning and would continue drinking
27
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 1   throughout the day and late into the night.                     His drinking worsened
 2   after his wife died in 1980.                 Even when he found out that he had
 3   ulcers and intestinal problems and gout from drinking too much, he did
 4   not stop.       (Cal. Hab. Exh. 7, 1 App. 93-94; Cal. Hab. Exh. 11, 1 App.
 5   126; Cal. Hab. Exh. 12, 1 App. 135)
 6
 7   275.           Military records reflect incidents of misconduct involving
 8   Petitioner’s father’s abuse of alcohol that resulted in discipline,
 9   including being drunk on duty. (Cal. Hab. Exh. 54, 5 App. 1347, 1352)
10   His wife, Mary Dykes, was an alcoholic as well and died in 1980 of
11   respiratory failure related to her alcohol abuse.
12
13   276.           In 1992, prior to Petitioner’s crime, Petitioner’s father
14   was convicted of misdemeanor domestic violence, stemming from an
15   incident around the time of his divorce in which he hit Petitioner’s
16   stepmother with a gun.                 (Cal. Hab. Exh. 52, 5 App. 1278; Cal. Hab.
17   Exh. 11, 1 App. 128)               This resulted in restraining and stay away
18   orders being entered against the father, which Petitioner’s stepmother
19   requested be maintained in her response to the father’s petition for
20   divorce.       (Cal. Hab. Exh. 53, 5 App. 1314)72
21
22          72
               Late in life, in 2002, Petitioner’s father was convicted of
23   felony elder abuse, stemming from an especially tragic incident in
     which he tried to sexually assault his 102-year-old mother-in-law who
24   lived in his house. Police reports regarding the incident described
     the man as “extremely intoxicated.” Indeed, Petitioner’s father was
25   so intoxicated that the arresting officers did not give him a Miranda
     warning (Cal. Hab. Exh. 52, 5 App. 1257, 1265) Probation conditions
26   included no drinking and attending an alcohol rehabilitation program.
     (Cal. Hab. Exh. 52, 5 App. 1298)
27
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 1   277.           Petitioner’s father was a disciplinarian when Petitioner was
 2   living with him as an adolescent. He would hit Petitioner with a belt
 3   and take away his privileges.                   Petitioner was afraid of him and his
 4   moods.     When Petitioner would bring people to the home, he would walk
 5   on eggshells and try to be very quiet to avoid making his father
 6   angry.      (Cal. Hab. Exh. 10, 1 App. 120.)
 7
 8   278.           Root    causes        of   the   father’s           anger    and   withdrawal       are
 9   difficult       to     identify.            Petitioner’s            aunt     Yvonne     said      that
10   Petitioner’s father had issues from his time in the military and they
11   sometimes came out in his anger.                     (Cal. Hab. Exh. 9, 1 App. 110)
12
13   279.           Petitioner’s half-sister, Rhonda, lived with their father
14   for many years but never felt like she knew the person that he was
15   inside at all because he hardly ever spoke and never expressed
16   emotion.       (Cal. Hab. Exh. 11, 1 App. 129)
17
18   280.           According to Cynthia, their father would hardly ever talk
19   about his own father, Lawyer Dykes.                          She believes he was a minister
20   and had the impression from what little Petitioner’s father said about
21   the man that their grandfather had been very, very strict.                                  Although
22   Lawyer     Dykes      lived     to     be   a   very         old   man,     she   never     met    her
23   grandfather.         (Cal. Hab. Exh. 12, 1 App. 132)                       Lawyer Dykes may have
24   become a minister at some point, but records show he was a laborer.
25   (Cal. Hab. Exh. 58, 6 App. 1522)
26
27
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 1   281.           Petitioner’s            father’s       marriage     to     Lillian       Young,
 2   Petitioner’s stepmother, was not a good marriage.                         By all accounts,
 3   Petitioner’s stepmother was an unloving, materialistic, manipulative,
 4   and jealous person who spent the household money faster than it came
 5   in and she wanted nothing whatsoever to do with her husband’s family,
 6   including Petitioner.             (Cal. Hab. Exh. 7, 1 App. 93; Cal. Hab. Exh.
 7   11, 1 App. 127-28; Cal. Hab. Exh. 12, 1 App. 134-35)
 8
 9   282.           During his marriage to Petitioner’s stepmother, Petitioner’s
10   father     repeatedly        borrowed      money      against    his    house   to   pay    off
11   creditors.        (Cal. Hab. Exh. 40, 3 App. 633-685; Hab. Exh 12, 1 App.
12   134)      He filed for bankruptcy twice, once in 1987, while he was
13   married to Petitioner’s stepmother, and again in 1993, not long after
14   his separation from her. (Cal. Hab. Exh. 55, 5 App. 1388; Cal. Hab.
15   Exh. 56, 5 App. 1450)
16
17   283.           According to the juvenile court records, during the period
18   shortly before his arsonist activities, Petitioner had been living
19   with his father and his stepmother.                       Not surprisingly, Petitioner’s
20   relationship with his stepmother was volatile.                            She was openly
21   critical of Petitioner’s mother and accused him of trying to break up
22   her marriage to Petitioner’s father.                      (Cal. Hab. Exh. 29, 1 App. 201,
23   208) Petitioner recalls that, to appease his stepmother when she made
24   false accusations against Petitioner, his father beat him. (Cal. Hab.
25   Exh. 6, 1 App. 66-67)
26
27
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 1   284.           Petitioner’s sister Sarah recalled that their step-mother
 2   Lillian could not get along with anybody.                     Ernest moved back in with
 3   his mother because Lillian wanted him out. She blamed Ernest whenever
 4   money was missing at the house or when something went wrong. In sum,
 5   she was jealous of the children.73
 6
 7   285.           Because      Petitioner’s       father’s       stable   work     record    was
 8   emphasized at the penalty phase, the jury was left with the impression
 9   that the man        was a far more stable father-figure and provided a more
10   tranquil home than was remotely the case. The evidence to rebut this
11   image was available if trial counsel had bothered to put it before the
12   jury; the failure to do so was unreasonable and incompetent. This was
13   ineffective assistance of counsel.
14
15   286.           Petitioner’s mother’s lot in life was no better.                        At the
16   time Petitioner was born, Ms. Brown was on welfare.                      (Cal. Hab. Exh.
17   9, 1 App. 103)          Petitioner’s family did not have very much money or
18   material possessions.              He and his siblings would have gone without
19   food if there had not been so many extended family members around to
20   help     feed     them.        Petitioner       would    periodically      go     to    their
21   grandmother’s house to eat.             (Cal. Hab. Exh. 18, 1 App. 167)
22
23          73
               Once after Mr. Dykes had given Petitioner a remote control
24   car for a present, she got mad and asked him, “Why you buying things
     for those kids?” Another time when Petitioner was visiting, he was
25   laying on the bed watching TV. She attacked him, trying to choke him
     for some small reason. On another occasion, she accused Sarah of
26   chewing up 17 sticks of gum and tried to throw her out. (Cal. Hab.
     Exh. 7, 1 App. 93)
27
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 1   287.           When Petitioner lived with his mother, he moved around a
 2   lot. He recalled they lived in at least six (6) different apartments
 3   in Oakland. Moving so frequently was hard on Petitioner, particularly
 4   as in the crime-ridden neighborhoods in which his family lived he
 5   always had to prove himself in each new school.
 6
 7   288.           Ms. Brown would often work night shifts, and Petitioner
 8   would be home unsupervised when she left.                  (Cal. Hab. Exh. 17, 1 App.
 9   163)    Sometimes Ms. Brown worked two jobs trying to take care of her
10   family’s financial needs. One consequence of her absences from the
11   home was that she did not have control over her children.                         (Cal. Hab.
12   Exh. 18, 1 App. 166)            When Ms. Brown was not at work, she was usually
13   home sleeping.          (Cal. Hab. Exh. 17, 1 App. 163)
14
15   289.           Petitioner’s teachers repeatedly entreated her to be sure
16   that he did his homework and that he practiced reading.                           (Cal. Hab.
17   Exh. 30, 2 App. 413, 414, 418)                       Ms. Brown was either unable or
18   unwilling to help Petitioner in this way.
19
20   290.           Ms.    Brown     had    no   involvement    in    the   Juvenile      Court’s
21   attempts to rehabilitate Petitioner through his camp placement, a fact
22   that is repeatedly noted in the court papers.                     (Cal. Hab. Exh. 29, 1
23   App. 202, 207, 210)
24
25   291.           Ms. Brown’s inability or unwillingness to help Petitioner
26   is mirrored in her inability or unwillingness to involve herself in
27
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 1   Petitioner’s half-brother Versie Wroten’s juvenile proceedings.                            A
 2   social study prepared March 1, 1984, notes that “Mary Brown is a hard
 3   working woman who appears to have given up on her son.                      She decided
 4   he had the problem with theft and she was not going to deal with it.
 5   She ignored the letters sent by this Deputy as it was ‘Versie’s
 6   problem.’       (Cal. Hab. Exh. 42, 3 App. 777)
 7
 8   292.           Mental illness also runs in this family.                   Petitioner’s
 9   uncle, Billy Brown, developed mental illness as a young man.                        He was
10   in and out of jail when he lived in Oklahoma with Petitioner’s
11   maternal grandmother.             From time to time, he would accuse his mother
12   and his siblings of some type of conspiracy against him.                        (Cal. Hab.
13   Exh. 17, 1 App. 162)
14
15   293.           Petitioner’s uncle, Tony, got Billy his own apartment, but
16   Billy pulled a knife on his landlord.                    He was arrested and has been
17   institutionalized in mental hospitals ever since.                   (Cal. Hab. Exh. 9,
18   1 App. 107, 109; Cal. Hab. Exh. 17, 1 App. 162)
19
20   294.           Billy has been diagnosed with schizophrenia; Petitioner’s
21   aunt, Grace Love, also suffers from mental problems, perhaps also
22   schizophrenia (Cal. Hab. Exh. 9, 1 App. 109) Her problems were severe
23   around the 1980s but then subsided.                      When her husband suffered a
24   stroke, her mental health became worse.                   (Cal. Hab. Exh. 17, 1 App.
25   162)      She constantly thought that people were following her and
26   talking behind her back.               She quit her job and eventually refused to
27
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 1   accept any help from family or friends.                             She has since become
 2   homeless.       (Cal. Hab. Exh. 17, 1 App. 162)
 3
 4   295.           Petitioner’s            cousin,      Joyce     Johnson,   is     described        as
 5   “fragile.”        She had trouble with her speech and was slow in school.
 6   (Cal. Hab. Exh. 17, 1 App. 163)
 7
 8   296.           Subnormal intelligence also appears to run in the family.
 9   Petitioner’s maternal grandfather, Sherman Brown, and several of his
10   relatives, including his mother, are described as borderline retarded.
11   (Cal. Hab. Exh. 9, 1 App. 106)                      Petitioner’s aunt Yvonne started a
12   board and care facility for mentally disabled men as a result of
13   having taken in two of her disabled relatives.                        (Cal. Hab. Exh. 9, 1
14   App. 104-05)
15
16   297.           Petitioner, his sister and his half-brothers have all been
17   described as unusually slow as children.                        (Cal. Hab. Exh. 9, 1 App.
18   104; Cal. Hab. Exh. 17, 1 App. 161)                           Petitioner’s half-brother,
19   Israel, was distractible and had difficulty learning. (Cal. Hab. Exh.
20   9, 1 App. 104)         Petitioner, his sister, and his half-brother, Versie,
21   are described as being not all there. (Cal. Hab. Exh. 17, 1 App. 163)
22    Petitioner’s Aunt Yvonne, who was the product of an extramarital
23   relationship and was not Sherman Brown’s biological child, in contrast
24   is a successful businesswoman.                    (Cal. Hab. Exh. 13, 1 App. 139)
25
26   298.           According to family members, Ms. Brown has often been seen
27
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 1   talking to herself.             She claims to see and hear things that no one
 2   else does, and claims the ability to make predictions.                             She has been
 3   known to be friendly with someone and then the following day ignore
 4   them or curse them out for no perceptible reason.                           (Cal. Hab. Exh. 9,
 5   1 App. 107) She has frequently talked about how people are out to get
 6   her.
 7
 8   299.           Thus     available      evidence          suggested      a    mother     who     was
 9   effectively disabled from being an active, engaged, involved and
10   loving presence in Petitioner’s life.                      Had the jury been made aware
11   of these facts and forces at work in Petitioner’s life and upbringing,
12   he would not have been sentenced to death. Reasonable and competent
13   counsel know these types of information are mitigating evidence that
14   can be powerful            with a sentencing jury faced with the ominous
15   responsibility for deciding another human being’s fate. A jury would
16   have     been     free     to    reject    them,         but   it    was     trial     counsel’s
17   constitutional duty to put them before the jury precisely so that the
18   jury could do its task properly.                   It was ineffective assistance of
19   counsel of counsel to fail to present this evidence during the penalty
20   phase.
21
22   300.           Sarah Dykes recalled that of all the places she and her
23   brother lived growing up, the Cherry Street apartment was the most
24   difficult. At Cherry Street, there were six apartments in our building
25   – three on top and three down below. Petitioner’s family moved to
26   Cherry Street because the bedrooms were bigger and the rent was
27
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 1   cheaper.      Sarah had her own room and Petitioner’s mother had her own
 2   room.      Petitioner and his older brothers shared a third room. For
 3   Petitioner, this was still a crowded apartment.                           (Cal. Hab. Exh. 7,
 4   1 App. 85)
 5
 6   301.           There     were    drug    dealers           living   in   some    of    the    other
 7   apartments.          Sarah would always hear fights through the walls.
 8   Boyfriends kicked down the doors of their girlfriends’ apartments.
 9   Strangers would pound on the family’s door.                         Petitioner’s mother told
10   them never to answer the door when she was not home.                              They were not
11   allowed to let anyone in the apartment either.                           Id.
12
13   302.           The neighborhood around the Cherry Street apartment was not
14   good either.        Sarah was always worried and constantly looking out for
15   trouble.        When the landlord put up a gate outside the building,
16   vandals broke all the locks.                 There was no way to make things safe.
17   Vandals regularly broke into the mailboxes to steal food stamps.
18   (Cal. Hab. Exh. 7, 1 App. 86)
19
20   303.           There were many abandoned buildings in the neighborhood from
21   which drug dealers operated.                 Prostitutes were on the nearby street
22   corners. People were always getting into fights on this street. They
23   always found a way to get a fight started, and they would start a
24   fight if they thought you just looked at them strangely.                               You had to
25   know    how    to    avoid      them    or   to    protect      yourself.         People      armed
26   themselves with knives, box-cutters and razors.                                The police were
27
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 1   always patrolling the area. Sarah did not see guns very often but she
 2   always heard the gunshots.                A few streets over – on Birch, Sunnyside
 3   and Olive – someone was always getting shot.                          Id.
 4
 5   304.           Reasonable and competent counsel would have understood that
 6   putting such evidence and information about Petitioner’s background
 7   would have been to Petitioner’s advantage.
 8
 9   MENTAL HEALTH MITIGATION EVIDENCE
10   305.           During his state habeas proceedings, Petitioner engaged Dr.
11   Pablo Stewart, a psychiatrist with an expertise on the intersection
12   of mental illness and substance abuse, in connection with these
13   proceedings.         Dr. Stewart met with Petitioner twice and reviewed 1)
14   declarations and reports from family members regarding Mr. Dykes’
15   early     development        and       young   adulthood;        2)    his     school     records,
16   including educational reports, disciplinary reports and psychological
17   evaluations, 3) his juvenile court records, 4) records of Dr. Oliver
18   Glover, the psychologist retained by trial counsel, 5) medical and
19   psychological records from San Quentin State Prison; and 6) the
20   penalty      phase     transcript        of    his      trial.        Dr.    Stewart    also     had
21   discussions        with    habeas       counsel       about   the      crime    and     about    his
22   observations of Petitioner.
23
24   306.           Dr. Stewart opined that Petitioner has long exhibited and
25   continues to exhibit symptoms of bipolar disorder.                             (Cal. Hab. Exh.
26   6, 1 App. 74)           Dr. Stewart also expects that Petitioner has long
27
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 1   exhibited and, to a lesser degree, continues to exhibit, symptoms of
 2   attention deficit hyperactivity disorder.                          Id.
 3
 4   307.           Additionally,           while     much         of   Petitioner’s       conspiracy
 5   theorizing by itself is not indicative of a mental disorder, his
 6   insistence that influential people such as President Bush and John
 7   Ashcroft communicate to greater powers through secret code words is
 8   considered to be an “idea of reference,” which is a psychotic symptom.
 9   Id.
10
11   308.           Dr. Stewart noted that Petitioner’s half-brother, Dwayne,
12   on his mother’s side shared a similar worldview and possibly a similar
13   symptom.       There is also substantial evidence of mental illness on
14   Petitioner’s mother’s side of the family.                                Petitioner’s maternal
15   grandfather is described as borderline retarded.                              An uncle, Billy
16   Brown, has long been institutionalized for schizophrenia.                               An aunt,
17   Grace Love, has long suffered from mental illness.                             (Cal. Hab. Exh.
18   6, 1 App. 74-75)
19
20   309.           Dr. Stewart noted that based on family reports, trial
21   counsel’s        declaration           and     the          declarations     of    Petitioner’s
22   investigators, Petitioner’s mother (Mary Brown) exhibits symptoms
23   associated with schizophrenia.                  (Cal. Hab. Exh. 6, 1 App. 74-75)
24
25   310.           In Dr. Stewart’s view, it would have been critical for a
26   mental health expert like Dr. Glover to have as much information as
27
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 1   possible about mental illness in Petitioner’s family for Dr. Glover
 2   to be able to develop as thorough and accurate a diagnosis as
 3   possible.       (Cal. Hab. Exh. 6, 1 App. 75)
 4
 5   311.           According to Dr. Stewart, the prevalence of alcoholism in
 6   Petitioner’s family made it four to five times more likely that he
 7   would become alcoholic as well as develop a substance abuse problem.
 8   The odds of this increased substantially given Petitioner’s lack of
 9   appropriate role modeling or pro-social influences. In light of these
10   facts, and coupled with Petitioner’s longstanding abuse of alcohol and
11   marijuana from an early age, Dr. Stewart opined that Petitioner
12   suffers from a Polysubstance Abuse disorder.                    (Cal. Hab. Exh. 6, 1
13   App. 76)        This would have been true at the time of the offenses at
14   issue here.
15
16   312.           Testimony about Petitioner’s conditions would have been
17   vital at the penalty phase because, in Dr. Stewart’s view, persons
18   suffering from bipolar disorders and schizophrenic spectrum disorders
19   frequently have impulse control problems and tend to misinterpret
20   reality to a greater or lesser degree.                  (Cal. Hab. Exh. 6, 1 App. 75)
21
22
23   313.           If   trial     counsel   had     been    effective   and   adduced     such
24   testimony during the penalty phase trial, this would have challenged
25   the prosecution’s portrayal of Petitioner as having carefully planned
26   and orchestrated the robbery over a long period of time.                             When
27
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 1   Petitioner’s mental disorders, poor impulse control and substantial
 2   consumption of alcohol are considered, it becomes easy to see that the
 3   far more likely scenario is that Petitioner committed an aggressive
 4   act on the spur of the moment without giving any consideration to the
 5   wisdom of his actions or their possibly grave consequences.                         (Cal.
 6   Hab. Exh. 6, 1 App. 77) But for trial counsel’s ineffective assistance
 7   of counsel, the jury would have heard all of this evidence and not
 8   returned a death sentence.
 9
10   314.           Testing was also done during the state habeas proceedings
11   by Dr. Nell Riley, a neuropsychologist. That testing further confirmed
12   the learning disabilities that disabled Petitioner in school, his low
13   average IQ, his extremely poor academic functioning, and significant
14   neuropsychological deficits.
15
16   315.           Even the brief testing conducted by Dr. Glover provided
17   trial      counsel       with     clear    evidence     Petitioner     has     cognitive
18   dysfunction.          Dr. Glover’s test results should have triggered a
19   follow-up and comprehensive assessment by a qualified specialist.
20
21   316.           Reasonable and competent trial counsel would have pursued
22   this properly, equipped Dr. Glover (and any other appropriate medical
23   professionals) with the necessary information and allowed Dr. Glover
24   to complete his work. Reasonable and competent effective counsel also
25   would have secured appropriate and warranted neuropsychological tests
26   to gauge the true nature and extent of Petitioner’s impairment.
27
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 1   317.           Had such evidence been gathered, generated and presented to
 2   the sentencing jury, Petitioner would not have been sentenced to
 3   death.       It was ineffective assistance of trial counsel to undertake
 4   this preparation in this capital matter.
 5
 6   318.           Trial     counsel       failed    to      take    these   reasonable      steps,
 7   Petitioner’s jury was denied what could have been powerful and
 8   persuasive mitigation evidence, and as a consequence Petitioner was
 9   sentenced to death. Trial counsel delivered ineffective assistance and
10   the writ should issue.
11
12   319.           Had trial counsel performed competently here, the prosecutor
13   would not have been able to argue that 1) Petitioner came from a
14   normal, healthy family, 2) that he had no redeeming qualities, and 3)
15   that he was remorseless.
16
17   320.           The record reveals that jury did not regard a death sentence
18   as “a foregone conclusion.” Id. at 724. The jury spent approximately
19   two weeks deliberating over the sentence. (CT 541-547, 581)
20
21   321.           Reasonable and competent trial counsel would have properly
22   investigated Petitioner’s family and history, and in the process
23   located and developed each and all of these areas for presentation
24   during the penalty phase trial.74 It was failure of constitutional
25
            74
26                  Respectfully, granted discovery and an evidentiary hearing
                                                                (continued...)
27
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 1   dimension for trial counsel to not do so.                    Respectfully, the writ
 2   should issue.
 3
 4                                          Claim 375
 5   THE JURY COMMITTED MISCONDUCT IN TWO WAYS: (A) IT PUT PETITIONER IN
     JEOPARDY FOR A CRIME OF WHICH HE HAD ALREADY BEEN ACQUITTED, AND
 6   (B) IT CONSIDERED EXTRINSIC EVIDENCE, ALL IN VIOLATION OF FEDERAL
     AND STATE LAW
 7
 8   322.           The guilt trial verdict forms required the jury to decide
 9   whether the shooting of Mrs. Clark amounted to premeditated
10   attempted murder.           The jury's response to this allegation was
11   unequivocal: it entered a finding “that the attempted murder [of
12   Bernice Clark] was not wilful, deliberate and premeditated.” (CT
13   526)
14
15   323.           Accordingly, when the jury returned its verdict of
16   first-degree murder as to Lance Clark (CT 529), the only possible
17   reading that reconciled the two components of the jury’s verdict is
18   that the jury convicted Petitioner of Lance’s murder on a theory of
19   felony-murder.          The jury necessarily had to have acquitted
20   Petitioner of the premeditated murder of Lance at the time it found
21
22          74
           (...continued)
23   Petitioner respectfully notes he will be able to demonstrate to this
     Honorable Court each and all of these points in detail, showing the
24   Court the persuasive showing and presentation that could and should
     have been made to Petitioner’s sentencing jury.
25          75
               This claim was presented and denied by the California
26   Supreme Court in direct appeal claims 13, 14, and 28, and in state
     habeas claims 16, 23, and 29.
27
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 1   no premeditation as to the attempted murder of Bernice Clark.                        On
 2   this fact pattern and with these legal instructions, there was no
 3   alternative basis for the verdict.
 4
 5   324.           The above verdicts were signed by the foreperson of the
 6   jury on July 26, 1995, and August 2, 1995. They were read in open
 7   court by the clerk, the jury was polled, and these verdicts were
 8   affirmed and made a part of the court’s records on August 2, 1995.
 9   (CT 528-32)             Thereafter the matter proceeded to a penalty trial,
10   with opening statements therein given on August 8, 1995. (CT 533)
11
12   325.           On August 22, 1995, the seventh day of penalty phase
13   deliberations, the sentencing jury asked the court:
14                  Even though we agreed that death of Lance Clark was
15          murder of the first degree because it happened during the
16          commission of robbery, (felony murder law), are we now
17          permitted to look at the willful, premeditated and
18          deliberate nature of this killing under factor A?
19   (RT 4015)
20
21   326.           The record does not reflect a contemporaneous discussion
22   regarding the jury’s question.76 The court thereafter instructed the
23
            76
24             The record does contain the trial judge’s explanation to the
     jury that he was going to excuse the jury for a break before answering
25   the jury’s inquiries. The court stated: “I have not had a chance to
     confer with counsel in terms of how to respond. I have notified them
26   of the general nature of it, but I’d like to confer with them in terms
                                                             (continued...)
27
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 1   jury:
 2                  You may consider such factors under factor A of jury
 3           instruction 8.85 in your consideration of the
 4           circumstances of the crime of which the defendant was
 5           convicted in the present proceeding and the existence of
 6           any special circumstance found to be true.
 7   (CT 635-6; RT 4016) The court did not tell the jury that it was not
 8   allowed to revisit a theory as to which Petitioner had already been
 9   acquitted. There is no objection from Petitioner’s counsel to this
10   instruction on the existing record.
11
12   327.           The next day the court substituted two alternate jurors
13   for members of the panel. At this time, Petitioner’s counsel
14   requested the court instruct the jury to begin penalty
15   deliberations over.            (RT 4032-33)       At this point Petitioner’s
16   counsel noted he did not want the jury to relitigate the guilt
17   phase, since the jury had found non-premeditated murder.                       (RT 4034)
18   The prosecutor disagreed, however, arguing the jury could consider
19   premeditation under a lower burden of proof, even if it had a
20   reasonable doubt whether the murder was "willful, deliberate and
21
22           76
           (...continued)
23   of responding to you. . . I will discuss it with them, and I
     anticipate we’ll be able to respond to you very shortly [after your
24   lunch break.]” (RT 4012) Prior to answering the jury’s inquiries, the
     court further stated: “I have had an opportunity to discuss [the note]
25   with counsel.”   (RT 4014) With discovery and an evidentiary hearing,
     Petitioner expects to be able to establish the substance of that
26   conference and his contemporaneous opposition to the response given
     by the court.
27
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 1   premeditated."          (RT 4034-35)
 2
 3   328.           Petitioner’s counsel asked the court to instruct the jury
 4   not to reconsider deliberations already made during the guilt
 5   phase, and the court agreed, but reiterated that the jury would be
 6   free to consider the circumstances of the crime under factor (a).
 7   (RT 4035-36)         In the court's view, the circumstances of the crime
 8   "encompasses all of the circumstances of the crime including
 9   examination of questions of whether or not the acts of the
10   defendant were willful, deliberate or premeditated."                    (RT 4037)
11
12   329.           However, despite this discussion, the court simply
13   instructed the jury to begin its penalty phase deliberations anew,
14   saying nothing about guilt phase deliberations.                    (RT 4041) The
15   court's lack of instruction, combined with the prior instruction
16   given to all of the ten (10) jurors who remained and had received
17   the prior instruction in response to the jury’s earlier question,
18   left the jury with license to revisit the issue of premeditation
19   and deliberation under the guise of factor (a).                    This error
20   requires reversal of the death sentence.
21
22   Synopsis
23   330.           At the conclusion of the guilt phase, the jury convicted
24   Petitioner of robbing Bernice Clark and of the first-degree murder
25   of Lance Clark.          (CT 524)      The jury also convicted Petitioner of
26   the attempted murder of Bernice Clark.                  (CT 526)   Importantly, the
27
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 1   jury concluded that the attempted murder was not committed with
 2   premeditation and deliberation.                 Id.       The only logically consistent
 3   interpretation of the jury's verdicts is that the killing of Lance
 4   Clark was a first-degree murder because it was committed during a
 5   felony robbery.          Indeed, the jury even makes this explicit in the
 6   aforementioned note.             (RT 4015)
 7
 8   331.           An examination of the guilt phase instructions and
 9   verdicts supports this conclusion.                    The court instructed the jury
10   that there were two possible verdicts as to counts 1 and 3 and
11   three possible verdicts as to count 2.                     (RT 3538; CT 520)      The
12   court also instructed the jury in pertinent part:
13                  With respect to the charges contained in Count Two
14          (attempted murder) of the Information, if you are not
15          satisfied beyond a reasonable doubt that the defendant is
16          guilty of the crime charged, you may nevertheless convict
17          [him] of an lesser crime, if you are convinced beyond a
18          reasonable doubt that the defendant is guilty of such
19          lesser crime.
20                                          *         *         *
21                  The court cannot accept a guilty verdict on a lesser
22          crime unless you have unanimously found the defendant not
23          guilty of the [charged] or [greater] crime.
24   (CT 489-90)
25
26   332.           The court instructed the jury as to premeditated and
27
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 1   deliberate murder.            (CT 464-67; CALJIC 8.20)         The jury also was
 2   instructed in regard to murder, as follows:
 3                  When one attempts to kill a certain person, but by
 4          mistake or inadvertence kills a different person, the
 5          crime, if any, so committed is the same as though the
 6          person originally intended to be killed, had been killed.
 7   (CT 474)
 8
 9   333.           In regard to attempted murder, the court instructed the
10   jury that "every person who attempts to murder another human being
11   is guilty of a violation of Sections 664 and 187 of the Penal Code.
12   The court further instructed:
13                  It is also alleged in [count[s] 2] of the
14          information that the crime attempted was willful,
15          deliberate, and premeditated murder.                  If you find the
16          defendant guilty of attempt to commit murder, you must
17          determine whether this allegation is true or not true.
18   (RT 3526; CT 485; CALJIC 8.67)77              In contrast, the trial court
19   instructed the jury that Petitioner did not need to have intent to
20   kill in order to be guilty of the special circumstance of
21   robbery-murder.          Of course, under the felony murder rule, intent to
22   kill also is unnecessary.78
23
            77
24             CALJIC 8.67, which concerns premeditated attempted murder,
     contains the entirety of CALJIC 8.20, which defines the element of
25   premeditation for first degree murder.
            78
26                  Thus the murder and special circumstance verdicts do not
                                                              (continued...)
27
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 1   334.           During his guilt phase closing argument, the prosecutor
 2   argued that Petitioner premeditated the robbery and the murder of
 3   Lance Clark.         E.g. RT 3443-45, 3446-47, 3461, 3495-96.               The legal
 4   basis for the prosecutor's theory of premeditated murder was that
 5   Petitioner premeditated the shooting of Mrs. Clark and that, under
 6   a theory of transferred intent, this premeditation and deliberation
 7   should be transferred and applied to the killing of Lance Clark.
 8   This was the only available theory, because - as the forensic
 9   evidence established - the bullet that killed Lance Clark was the
10   same bullet that struck Mrs. Clark.                     The evidence clearly showed
11   and the prosecution conceded that Petitioner made no independent
12   effort to shoot let alone kill Lance Clark.                     There was simply no
13   independent evidence of premeditation as to the homicide, and as
14   such any findings as to Lance Clark’s death would have to turn on
15   the jury’s findings as to Petitioner’s mental state at the time of
16   the alleged attempted murder of Bernice Clark.
17
18   335.           The verdict forms required the jury to decide whether the
19   shooting of Mrs. Clark amounted to premeditated attempted murder.
20   The jury's response was unequivocal: it entered a finding the
21   attempted murder was not premeditated. (CT 531)
22
23   336.           Thus when the jury also returned a verdict of
24
            78
25         (...continued)
     show intent to kill; the only verdict that shows a finding as to
26   Petitioner’s mental state is the acquittal of attempted premeditated
     murder.
27
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 1   first-degree murder as to Lance, the only possible reading of the
 2   verdict is that the jury convicted Petitioner of Lance’s murder on
 3   a theory of felony-murder, but - just as it had done with its
 4   findings as to Mrs. Clark - the jury necessarily had to have
 5   acquitted him of the premeditated murder of Lance.
 6
 7   337.           Despite these prior findings, the court erroneously
 8   permitted the jury to reopen the issue of premeditation and
 9   deliberation under the guise of “circumstances of the crime.”                        The
10   court's instruction, which allowed the jury to reconsider the
11   issues of premeditation and deliberation, after an acquittal of
12   premeditated attempted murder, constitutes federal constitutional
13   error and the writ should issue.
14
     PERMITTING THE JURY TO RECONSIDER THE ISSUE OF PREMEDITATION
15   VIOLATED PETITIONER'S RIGHTS BECAUSE PETITIONER WAS ACQUITTED OF
     PREMEDITATED MURDER
16
17   338.           The penalty phase jury's reconsideration of the issue of
18   premeditation and deliberation, an issue which the guilt phase jury
19   necessarily resolved in Petitioner's favor, violated constitutional
20   principles of collateral and direct estoppel, incorporated into the
21   Double Jeopardy Clause of the Fifth and Fourteenth Amendments to
22   the United States Constitution.               The trial court's explicit grant
23   of permission to reconsider premeditation and deliberation also
24   violated the Eighth Amendment and Penal Code § 190.3, because the
25   jury already had found the evidence insufficiently reliable to
26   support a conviction in the guilt phase. These errors require
27
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 1   reversal of Petitioner's death sentence.
 2
 3   339.           It is well-established that principles of estoppel apply
 4   to criminal proceedings.               Ashe v. Swenson, 397 U.S. 436 (1970).
 5   Estoppel means that "when an issue of ultimate fact has been once
 6   determined by a valid and final judgment, that issue cannot again
 7   be litigated between the same parties."                  Id. at 442.      Collateral
 8   estoppel principles apply during the penalty phase of a capital
 9   trial.      Bullington v. Missouri, 451 U.S. 430, 444-45 (1981); see
10   Schiro v. Farley, 510 U.S. 222, 230 (1994).
11
12   340.           More narrowly, the principle of direct estoppel applies
13   to issue preclusion "within the confines of a single claim or cause
14   of action."        18 Charles A. Wright, et al., (1981) Federal Practice
15   & Procedure § 4418 at 169.              "Direct estoppel prevents a party from
16   relitigating a fact which was already determined against it in a
17   'decision that finally disposes of a part of a claim on the merits
18   but does not preclude all further action on the remainder of the
19   claim; issues common to both parts of the claim are precluded, even
20   though new issues remain to be decided.'"                     Id. at   169-70 (quoted
21   in United States v. Bailin, 977 F.2d 270, 276 (7th Cir. 1992). The
22   principles of direct estoppel prevent the prosecution from
23   relitigating issues that were necessarily decided in the
24   defendant's favor by reason of a partial acquittal on other counts.
25   Bailin, at 276-77.
26
27
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 1   341.           In deciding whether estoppel bars relitigation or
 2   reconsideration of an issue, three elements must be present: (1)
 3   the issue in question was actually raised and litigated in the
 4   prior proceeding; (2) the issue was necessarily decided in the
 5   defendant's favor; and (3) the issue in the later proceeding is the
 6   same as that involved in the prior proceeding.                  Delap v. Dugger,
 7   890 F.2d 285, 314 (11th Cir. 1989).
 8
 9   342.           Application of these principles here leads to the
10   conclusion that the trial court committed grave error when it
11   allowed the jury to incorporate premeditation into its
12   deliberations during the penalty phase.
13
14   343.           The issue of premeditation and deliberation was openly
15   litigated during the guilt phase of the trial.                  The prosecution
16   presented evidence that it contended showed that Petitioner
17   committed a deliberate and premeditated murder and a deliberate and
18   premeditated attempted murder.              This evidence was weak, but
19   included testimony from Alphonso Odom, LaCondra Douglas and Edward
20   Tyson. Likely precisely because the prosecution recognized how weak
21   the case was for premeditation, in closing the prosecutor argued in
22   the alternative that Petitioner was guilty of felony-murder.                       (RT
23   3443-45, 3461-62, 3496)
24
25   344.           Once the jury concluded that Petitioner did not commit
26   the crime of premeditated attempted murder and the verdicts were
27
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 1   announced, the question was resolved and Petitioner could not
 2   properly be put in jeopardy a second time for that crime.
 3          The rule of collateral estoppel in criminal cases is not
 4          to be applied with the hypertechnical and archaic
 5          approach of a 19th century pleading book, but with
 6          realism and rationality. . . . [T]his approach requires a
 7          court to 'examine the record of a prior proceeding,
 8          taking into account the pleadings, evidence, charge, and
 9          other relevant matter, and conclude whether a rational
10          jury could have grounded its verdict upon an issue other
11          than that which the defendant seeks to foreclose from
12          consideration.'
13   Ashe v. Swenson, 397 U.S. at 443 (quoting Sealfon v. United States,
14   332 U.S. 575 (1948)).             The only theory that supported a
15   first-degree murder conviction as to Lance Clark that could be
16   based on premeditation and deliberation was via intent transferred
17   from the attempted murder of Bernice to the actual murder of Lance
18   Clark. The forensic evidence simply permits no other construction:
19   it was undisputed that Lance Clark was killed by the same bullet
20   that first struck his grandmother.                  If the shooting of Mrs. Clark
21   was not deliberate and premeditated, the murder of Lance Clark
22   could not be either.             The jury's acquittal of premeditated and
23   deliberate attempted murder must rest on a factual determination
24   that Petitioner was not guilty of premeditating and deliberating.
25   There is simply no other conclusion that can be drawn rationally
26   from the verdicts as announced on this fact pattern.
27
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 1   345.           Finally, the issue of premeditation involved in the guilt
 2   phase is the same issue of premeditation that came into play during
 3   the penalty phase.             But, the acquittal of premeditated murder
 4   raised an absolute bar to the jury's reconsideration of
 5   premeditation in deciding whether to impose the death penalty.
 6
 7   346.           On this procedural and factual record, the trial court
 8   should have clearly instructed the jury it was not allowed to
 9   reconsider this part of the matter. The trial court's decision to
10   allow the jury to consider premeditation under factor (a) violated
11   the Eighth Amendment to the United States Constitution as well as
12   Penal Code § 190.3.
13
14   347.           The Eighth Amendment requires that a death sentence be
15   based only upon evidence that is reliable.                   Johnson v. Mississippi,
16   486 U.S. 578, 585-86 (1988).
17
18   348.           The California Legislature, in enacting § 190.3,
19   apparently recognized and wished to avoid the problems of double
20   jeopardy and estoppel in capital proceedings.                  Section 190.3
21   provides in pertinent part:
22                  However, in no event shall evidence of prior criminal
23          activity be admitted for an offense for which the defendant
24          was prosecuted and acquitted.                The restriction on the use of
25          this evidence is intended to apply only to proceedings
26          pursuant to this section and is not intended to affect
27
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 1          statutory or decisional law allowing such evidence to be used
 2          in any other proceedings.
 3   Section 190.3 thus plainly prohibits the prosecution from using, as
 4   evidence in aggravation, alleged crimes of which the defendant was
 5   acquitted.        See also People v. Jennings, 53 Cal.3d 334, 389-90
 6   (1991).      The language of § 190.3 is mandatory.               The apparent
 7   purpose of this statute, which applies only to capital cases, is to
 8   ensure compliance with the heightened standard of reliability for
 9   evidence admitted in aggravation, as required by the Eighth
10   Amendment and corresponding provisions of the state constitution.
11   See People v. Robertson, 33 Cal.3d 21, 53-54 (1982); People v.
12   Sheldon, 48 Cal.3d 935, 950-51 (1989).
13
14   349.           Section 190.3 excludes not only evidence of conduct for
15   which the defendant has been acquitted, but also "evidence
16   surrounding the acquitted offense which involve[s] additional,
17   lesser criminal misconduct."               Sheldon, 48 Cal.3d at 951.
18
19   350.           Thus, § 190.3 itself operates as an independent and
20   explicit bar during a capital penalty phase to consideration of
21   conduct for which the defendant has been acquitted.                     Id.79   The
22   exclusion of § 190.3 is not limited to crimes tried in a separate
23   trial or proceeding, but will include offenses tried along with the
24
25          79
               The trial court therefore also violated Petitioner’s liberty
26   interest in a state procedural guarantee, a further violation of
     federal law. Morrissey v. Brewer, 408 U.S. 471, 481 (1982).
27
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 1   capital offense.           Jennings, 53 Cal.3d at 389-90.
 2
 3   351.           This statute plainly embodies a state created liberty
 4   interest of the highest order, and as such Section 190.3 must be
 5   applied in a manner that is consistent with due process and which
 6   does not arbitrarily abrogate its purpose or intent. To allow
 7   otherwise is to violate federal constitutional due process
 8   principles. Dent v. West Virginia, 129 U.S. 114, 123 (1889);
 9   Goldberg v. Kelly, 397 U.S. 254 (1970); Board of Regents v. Roth,
10   408 U.S. 564 (1972); Perry v. Sindermann, 408 U.S. 593 (1972); Goss
11   v. Lopez, 419 U.S. 565 (1975); and Meachum v. Fano, 427 U.S. 215
12   (1976).
13
14   352.           The requirements of heightened reliability under the
15   Eighth Amendment and the express language of § 190.3 preclude that
16   which the trial court allowed to happen here.                     The requested writ
17   should issue.
18
19   THE JURORS WERE TAINTED BY EXTRANEOUS INFLUENCES AND THEIR EXPOSURE
     TO THESE EXTRANEOUS MATTERS VIOLATED FEDERAL CONSTITUTIONAL CONCERNS
20
21   Synopsis
22   353.           After the trial, some of the jurors submitted to interviews.
23   Those interviews disclosed that at least some jurors engaged in
24   serious misconduct. Based on this evidence, Petitioner presented the
25   trial court with a motion for a new trial.                   In support of the motion,
26   Petitioner submitted the reports of the investigator who conducted the
27
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 1   juror interviews.80
 2
 3   354.           The court concluded that the juror statements themselves
 4   were incompetent to impeach the jury verdict, because they concerned
 5   the jurors' reasoning processes.                        (CT 757-59)    The trial court
 6   declined to hold an evidentiary hearing on the juror misconduct. (CT
 7   756, RT 4103-04) The court further ruled, contrary to what trial
 8   counsel told the court he had been led to believe it would do, that
 9   the investigator’s statements were a further level of inadmissible
10   hearsay.        (RT 4105)         The court accordingly ruled that the juror
11   statements could not be considered in support of the motion for new
12   trial pursuant to Evidence Code section 1150.                    Id.
13
14   355.           The trial court's refusal to hold an evidentiary hearing on
15   jury misconduct was error under both state and federal law, as was the
16   subsequent trial court ruling denying the motion for a new trial.
17   People v. Jones, 17 Cal.4th 279, 317 (1998)81                      Granted appropriate
18   discovery and an evidentiary hearing, Petitioner alleges he will
19
            80
20             Trial counsel had not obtained declarations from the jurors
     directly, but rather attempted to rely on an under oath recital from
21   a defense investigator as to what the jurors had told him. Trial
     counsel represented to the trial court he did this in reliance upon
22   statements the court had made to him to the effect it would consider
     such a presentation. (CT 745-46, CT 750, RT 4093-94) The court denied
23   making any statements to counsel as to what would be admissible. (CT
     750-51, RT 4096)
24          81
               Under federal constitutional law, a defendant needs only to
25   present a prima facia case of juror misconduct. Mattox v. United
     States, 146 U.S. 140, 150 (1892); Remmer v. United States, 347 U.S.
26   227, 229 (1954). See also Wade v. Terhune, 202 F.3d 1190, 1197-98 (9th
     Cir. 2000).
27
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 1   establish these events did indeed violate his federal constitutional
 2   rights.
 3
 4   CONTENT OF THE JUROR STATEMENTS.
 5   356.           Petitioner proffered to the California Supreme Court, and
 6   here presents this Honorable Court with evidence regarding several
 7   jurors’ consideration of extrinsic materials during deliberations.
 8   This evidence consisted of a defense investigator's report regarding
 9   juror interviews. Some of the juror statements are clearly admissible
10   under both state and federal law, as they simply report what occurred
11   in the jury room or primarily tended to go to matters other than juror
12   reasoning.       As    those     statements       did      not     reflect    on     the   juror's
13   reasoning       processes,        but    rather,          showed    that     juror    misconduct
14   occurred, the trial court should have consider their substance.                                    A
15   summary of the juror statements follows.
16
17   357.           Juror RA's interview demonstrates that she and other jurors
18   considered extrinsic evidence when deciding this case. RA stated that
19   she had heard that the district attorney's automobile tires had been
20   slashed during the trial.               (CT 662)      The jury speculated whether this
21   incident was connected to the case.82                     Id.      RA also expressed fear to
22   other jurors and actively urged the jurors to remain anonymous when
23   returning their verdict.                Id. RA was afraid of several young men in
24
25          82
               The record does not show whether this actually occurred.
26   What matters here, however, is whether the jury believed the premise,
     which was extrinsic to the facts at issue.
27
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 1   the    courtroom       who,    she     stated,      the    jury   assumed       were   friends,
 2   relatives, or acquaintances of Petitioner.                         Id.     She stated that
 3   "some" jurors saw the young men create a disturbance as they were
 4   leaving the courtroom and outside the courthouse by pulling up their
 5   shirts, lowering their pants, running through traffic, and shouting
 6   profanity. (CT 662)              Juror FC also mentioned this misconduct, and
 7   described the courthouse spectators in question as "little gangsters."
 8   (CT 669)        She relayed that the judge observed the misbehavior and
 9   instructed jurors not to leave the courthouse unless accompanied by
10   the bailiff.         (CT 669-700)
11
12   358.           RA also recalled a discussion to the effect that a death
13   sentence did not mean Petitioner actually would be executed. (CT 703)
14   This    sentiment        was    echoed      by     juror    SL    who    told    the   defense
15   investigator that "to be honest, if we thought he would actually get
16   death, we probably wouldn't put him to death."                      (CT 681-82)        She also
17   "had the impression this was not [Petitioner's] first crime.                                 (CT
18   717-21)
19
20   359.           Juror FC's interview constituted further evidence that the
21   jury considered extraneous matters. FC personally injected extraneous
22   prejudicial material into deliberations: she stated that "she and
23   others knew that the defendant had not just started committing crimes
24   and that he undoubtedly had a juvenile history."                          (CT 666; 722-27)
25   The jury foreman, RM, confirmed that jurors speculated regarding
26   Petitioner's probable additional criminal history.                         (CT 676, 708-12)
27
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 1   360.           More significant, FC asserted that she had relayed to other
 2   jurors that she had "worked for a lawyer in the Fresno courthouse" and
 3   had seen many people get sentenced to life without possibility of
 4   parole, but nonetheless be released from prison.                            (CT 666, 722-27)
 5
 6   361.           FC's statements regarding her familiarity with criminal law
 7   through her work were notable because these statements both showed
 8   misconduct         during     deliberations             and   possibly,          the     deliberate
 9   concealment of material information on voir dire.                           During voir dire,
10   FC   did     not     mention     that     she      had      worked    for    a    lawyer.         Her
11   questionnaire indicated that she previously had worked as an assistant
12   court clerk in Fresno.                 (CT 15947) She did not mention any prior
13   experiences or discussions affected her view of prisoners receiving
14   life without possibility of parole, other than to express her personal
15   belief that death was a more lenient sentence than life without
16   possibility of parole.             (RT 641)       Her statements thus suggest she may
17   have responded dishonestly during voir dire.                            Such dishonesty, in
18   turn, would strongly suggest improper jury bias.                            In re Hitchings, 6
19   Cal.4th 97, 118 (1993); Dyer v. Calderon, 151 F.3d 970, 982-83 (9th
20   Cir.) (en banc), cert. denied. 525 U.S. 1033 (1998).
21
22   THE TRIAL COURT ERRED IN REFUSING TO CONSIDER THE JUROR STATEMENTS.
23
24   362.           The    trial      court    initially           concluded      that       the     juror
25   statements         contained      in     the     defense       investigator            report    were
26   inadmissible as unsworn hearsay.                    (RT 4105)        This ruling was error.
27
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 1   363.           Generally, when a party seeks a new trial based on jury
 2   misconduct, "the court must undertake a three-step inquiry." People
 3   v. Von Villas, 11 Cal.App.4th 175, 255 (1992), cert. den. 510 U.S. 838
 4   (1993).        First, the court must determine whether the affidavits
 5   supporting the motion are admissible under Evidence Code § 1150(a).
 6   Id.     Second, the court must consider whether the facts establish
 7   misconduct.        Id.    Third, if misconduct occurred, the prosecution must
 8   be given the opportunity to seek to rebut the presumption of prejudice
 9   stemming from the misconduct.              Hitchings, supra, 6 Cal.4th at 118.
10   Such rebuttal can be made by "proof that no prejudice actually
11   resulted."        Id.
12
13   364.           Hearsay is defined as an out-of-court statement admitted for
14   the truth of the matter.               Evid. Code § 1200.           While hearsay is
15   generally inadmissible as evidence at trial, there is no rule that
16   bars consideration of hearsay in considering whether a prima facie
17   case is established to justify an evidentiary hearing regarding jury
18   misconduct; indeed, juror affidavits themselves constitute hearsay but
19   are nonetheless admissible.            Thus, the trial court’s concern that the
20   defense investigator report may have itself been hearsay should not
21   have precluded consideration of its content in deciding whether an
22   evidentiary hearing on juror misconduct should be held.                         Jurors
23   commit misconduct when they consider extrinsic evidence - that is,
24   facts or information that was not admitted into evidence.                      A juror's
25   affidavits or testimony are admissible to show the truth or falsity
26   of a juror's voir dire responses, as well as juror bias or misconduct.
27
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 1   Hard v. Burlington Northern Railroad, 812 F.2d 482, 484 (9th Cir.
 2   1987).
 3
 4   365.           The trial court erred in denying an evidentiary hearing
 5   because the juror statements showed misconduct and the consideration
 6   of extrinsic evidence.                 A verdict rendered by even one biased juror
 7   denies a defendant due process and violates the Sixth Amendment right
 8   to a fair trial and the Seventh Amendment's guarantee to an impartial
 9   jury.     United States v. Henley, 238 F.3d 1111, 1120 (9th Cir. 2001);
10   Dyer v. Calderon, 151 F.3d 970, 973 (9th Cir. 1998).
11
12   366.           Under both federal and state law, jurors are competent to
13   testify regarding certain statements made inside the jury room. Evid.
14   Code § 1150(a); Rule 606(b)(2) of the Federal Rules of Evidence.
15   Statements that go to the jurors' deliberative and reasoning processes
16   are inadmissible, but a juror may give testimony about whether
17   extraneous prejudicial information was brought before the jury.
18   Therefore, while certain statements contained in the juror interviews
19   submitted by the defense were not admissible under evidence law,
20   others clearly were.                   The trial court erred in ruling that the
21   substance of the juror statements to the defense investigator were
22   barred by E.C. § 1150.             At a minimum, the admissible portions of the
23   statements presented a prima facie case of misconduct, sufficient to
24   require an evidentiary hearing.
25
26   367.           Even without the requested hearing, it was clear the jurors
27
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 1   committed prejudicial misconduct, as they considered evidence other
 2   than what the court admitted into evidence. This violated Petitioner’s
 3   Sixth Amendment right to a fair trial and Fifth Amendment right to due
 4   process.       United States v. Smith, 26 F.3d 739, 758 (7th Cir. 1993).
 5
 6   368.           This error is particularly offensive in a capital case,
 7   which presents a heightened need for reliability. Ford v. Wainwright,
 8   477 U.S. 399, 414 (1986); Beck v. Alabama, 447 U.S. 625, 637-638 & fn.
 9   13 (1980).
10
11   369.           At least two jurors' statements indicated a discussion
12   undertaken in violation of Caldwell v. Mississippi, 472 U.S. 320, 333
13   (1985), in that the jurors commented that Petitioner likely would
14   never be executed. In other words, they speculated that death did not
15   mean death.          This was misconduct.                 A defendant facing the death
16   penalty is entitled to a jury instruction that a sentence to life
17   imprisonment without possibility of parole precludes any chance for
18   parole. Kelly v. South Carolina, 534 U.S. 246 (2001); Shafer v. South
19   Carolina, 532 U.S. 36 (2001).
20
21   370.           Finally,       the      jurors     committed       misconduct        when    they
22   considered the activities of some unidentified trial spectators who
23   they unjustifiably associated with Petitioner, as well as when they
24   somehow received and then discussed information that the district
25   attorney's       automobile         tires   had     been    slashed    during   the        trial.
26   Notably,       there     is    no      evidence     in    the    record   regarding         these
27
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 1   unidentified spectators or that the slashed tire event occurred, let
 2   alone that any of this was in any way associated with Petitioner if
 3   it did occur.
 4
 5   371.           The jury misconduct committed in this case was serious and
 6   the judgment accordingly infirm. Petitioner will and does request both
 7   discovery and an evidentiary hearing in support of his claim his death
 8   sentence is accordingly a violation of federal constitutional law.
 9
10                                                Claim 4
11   CALIFORNIA’S DEATH PENALTY IS CONSTITUTIONALLY OFFENSIVE IN HOW IT
     DIRECTS A SENTENCING JURY TO EVALUATE AND WEIGH EVIDENCE IN
12   MITIGATION AND AGGRAVATION
13   372.           When a death penalty prosecution proceeds to a penalty
14   phase trial, California’s statutory scheme relies on the jury to
15   weigh the statutorily enumerated aggravating and mitigating factors
16   presented by the evidence,83 and then to determine which of two
17   penalties to impose: life imprisonment without possibility of
18   parole or death.
19
20   373.           Petitioner alleges that as written and as applied in his
21   case, this statutory scheme has denied him his federal
22   constitutional rights.                 Based on these infirmities, the sentence of
23   death is unlawful and this Honorable Court should grant the
24   requested writ of habeas corpus.
25
            83
26             The jury was instructed on the factors as presented in Penal
     Code § 190.3.
27
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 1
 2   THE JURY WAS MISLED REGARDING HOW IT SHOULD WEIGH THE AGGRAVATING
     AND MITIGATING FACTORS IN THIS MATTER
 3
 4   374.           The jury in this case was instructed with CALJIC No.
 5   8.85, a standard instruction regarding the factors in aggravation
 6   and mitigation which may be considered in determining whether a
 7   sentence of death or life without the possibility of parole should
 8   be imposed.        As given in this case, the instruction read as
 9   follows:
10                  In determining which penalty is to be imposed on the
11          defendant, you shall consider all of the evidence which
12          has been received during any part of the trial of this
13          case, except as you may be hereafter instructed.                  You
14          shall consider, take into account and be guided by the
15          following factors if applicable.                 Some of these factors
16          may be inapplicable because they were not shown by the
17          evidence in this case.          The factors you may consider are
18          as follows:
19                  (a) The circumstances of the crime of which the
20          defendant was convicted in the present proceeding and the
21          existence of any special circumstances found to be true;
22                  (b) The presence or absence of criminal activity by
23          the defendant, other than the crimes for which the
24          defendant has been tried in the present proceedings,
25          which involve the use or attempted use of force or
26          violence or the express or implied threat to use force or
27
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 1          violence;
 2                  (c) The presence or absence of any prior felony
 3          conviction, other than the crimes for which the defendant
 4          has been tried in the present proceedings;
 5                  (d) Whether or not the offense was committed while
 6          the defendant was under the influence of extreme mental
 7          or emotional disturbance.
 8                  (e) Whether or not the victim was a participant in
 9          the defendant's homicidal conduct or consented to the
10          homicidal act;
11                  (f) Whether or not the offense was committed under
12          circumstances which the defendant reasonably believed to
13          be a moral justification or extenuation for his conduct;
14                  (g) Whether or not the defendant acted under extreme
15          duress or under the substantial domination of another
16          person;
17                  (h) Whether or not at the time of the offense the
18          capacity of the defendant to appreciate the criminality
19          of his conduct or to conform his conduct to the
20          requirements of law was impaired as a result of mental
21          disease or defect or the effects of intoxication;
22                  (i) The age of the defendant at the time of the
23          crime;
24                  (j) Whether or not the defendant was an accomplice
25          to the offense and his participation in the commission of
26          the offense was relatively minor;
27
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 1                  (k) Any other circumstance which extenuates the
 2          gravity of the crime even though it is not a legal excuse
 3          for the crime, and any sympathetic or other aspect of the
 4          defendant's character or record that the defendant offers
 5          as a basis for a sentence less than death, whether or not
 6          related to the offense for which he is on trial.
 7                  You must disregard any jury instruction given to you
 8          in the guilt or innocence phase of this trial which
 9          conflicts with this principal (sic).
10                  You are to determine from all of the evidence
11          whether any particular factor is present in the case.
12          You are to disregard any factor that is not shown by the
13          evidence.
14   (CALJIC No. 8.85, CT 609-11)
15
16   375.           The foregoing instruction violates the federal
17   constitution in a number of respects.                   Whether read as a whole or
18   in its component parts, the instruction is impermissibly vague,
19   overbroad, and misleading regarding the manner in which aggravating
20   and mitigating factors are to be weighed.                    The instruction also
21   violates the federal constitution has applied to Petitioner because
22   it includes inapplicable factors and fails to designate which
23   factors are aggravating and which are mitigating.                    Therefore, in
24   this case CALJIC 8.85 violates the Eighth and Fourteenth
25   Amendments.
26
27
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 1   376.           Factor (b) permitted the jury to consider in aggravation
 2   "[t]he presence or absence of criminal activity by the defendant,
 3   other than the crimes for which the defendant has been tried in the
 4   present proceedings, which involve the use or attempted use of
 5   force or violence or the express or implied threat to use force or
 6   violence."
 7
 8   377.           This instruction failed to provide the jury with proper
 9   guidance regarding the use of unadjudicated criminal conduct and
10   violated Petitioner's rights to due process and equal protection.
11   In addition, while this instruction was upheld against an Eighth
12   Amendment vagueness challenge in Tuilaepa v. California, 512 U.S.
13   967, 977 (1994), the instruction as applied in this case violated
14   the Eighth Amendment because it permitted the jury to consider
15   unreliable evidence of Petitioner's possession of a loaded firearm,
16   an act which did not involve any violence.
17
18   378.           To the extent Tuilaepa has any application here,
19   Petitioner respectfully submits that on these facts the holding
20   warrants reconsideration.
21
22   379.           The admission of evidence of previously unadjudicated
23   criminal conduct as an aggravating factor justifying a capital
24   sentence violated Petitioner's rights to due process and a reliable
25   determination of penalty under the Eighth Amendment.
26
27
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 1   380.           California does not allow the use of unadjudicated
 2   offenses in non-capital sentencing.                        For the same state to
 3   nevertheless allow use of the same unreliable evidence in a capital
 4   proceeding violates Petitioner's equal protection rights under the
 5   federal constitution, and it violates Petitioner's federal right to
 6   due process of law because the state applies its law in an
 7   irrational and unfair manner.                Hicks v. Oklahoma, 447 U.S. 343
 8   (1980), U.S. Const. Amend. XIV; Cal. Const., art. I, §§ 7, 15).
 9
10   381.           The use of factors (d) and (h) on this record
11   specifically violated Petitioner's rights under the federal
12   constitution. The jury was instructed that in determining the
13   appropriate penalty they could consider factor (d), "[w]hether or
14   not the offense was committed while the defendant was under the
15   influence of extreme mental or emotional disturbance" and factor
16   (h), "[w]hether or not at the time of the offense the capacity of
17   the defendant to appreciate the criminality of his conduct or to
18   conform his conduct to the requirements of law was impaired as a
19   result of mental disease or defect or the effects of intoxication."
20
21   382.           As a matter of both state and Eighth Amendment law,
22   factors (d) and (h) may only be used by the jury to mitigate
23   Petitioner's sentence.                 People v. Davenport, 41 Cal.3d 247, 288-289
24   (1985); People v. Hamilton, 48 Cal.3d 1142, 1184 (1989); see
25   generally, Parker v. Dugger, 498 U.S. 308, 314-316
26   (1991)(intoxication is mitigating circumstance); Zant v. Stephens,
27
28   Petition for a writ of habeas corpus                                              Dykes v. Martel
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 1   supra, 462 U.S. at 885 (some circumstances can only serve as
 2   mitigating).
 3
 4   383.           There are several different ways in which the given
 5   instructions could have been misunderstood on this record, thereby
 6   depriving Petitioner of his federal constitutional protections.
 7
 8   384.           First, a claim that a defendant killed due to some kind
 9   of mental illness or emotional disturbance will trigger negative
10   responses in some people and accordingly be seen as an aggravating
11   factor for those individuals.              While it is true that many jurors
12   could properly view evidence of mental disturbance or mental defect
13   as mitigating, others may view such evidence as aggravating.                        As
14   the Supreme Court recognized in Penry v. Lynaugh, 492 U.S. 302
15   (1989), evidence of a defendant's mental problems-- in that case
16   mental retardation and a history of abuse-- can serve as "a
17   two-edged sword: it may diminish his blameworthiness for his crime
18   even as it indicates that there is a probability that he will be
19   dangerous in the future."              Id. at 324.
20
21   385.           Similarly, it is foreseeable that some jurors might
22   conclude that a defendant who was voluntarily under the influence
23   of drugs or alcohol at the time of his crime was more, rather than
24   less, deserving of death.               This interpretation is acknowledged
25   within California state law.               People v. Vacca, 38 Cal.App.4th 804,
26   808 (1995)(trial court properly considered as aggravating
27
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 1   sentencing factor that defendant committed his offense while under
 2   the influence of alcohol and drugs).                    Other jurors, however, could
 3   consider this to be a mitigating factor.                     This again demonstrates
 4   that the jury was not adequately guided; state law makes clear
 5   these factors could only be considered mitigating.
 6
 7   386.           Significantly, the California Supreme Court has held that
 8   the "presence or absence" formulation normally used with respect to
 9   CALJIC No. 8.85 factors (b) and (c) connotes that the presence of
10   those factors is aggravating while their absence is mitigating.
11   See e.g., People v. Sanders, 51 Cal.3d 471, 528 fn. 27 (1990).                         It
12   follows that the "whether or not" formulation used in factors (d)
13   and (h) gives rise to a converse - but otherwise identical -
14   connotation.         Thus, the failure to instruct the jurors that factors
15   (d) and (h) could only be used as mitigation made it reasonably
16   likely that one or more jurors, in violation of the Fifth, Sixth,
17   Eighth and Fourteenth Amendments, would "attach . . . the
18   'aggravating' label . . . to conduct that actually should [have]
19   militate[d] in favor of a lesser penalty."                   Zant v. Stephens, 462
20   U.S. 862, 865 (1983).
21
22   387.           In capital cases "it is essential that jurors be properly
23   instructed regarding all facets of the sentencing process."                        Walton
24   v. Arizona, 497 U.S. 639, 653 (1990), overruled by Ring v. Arizona,
25   536 U.S. 584 (2002).             In this case, due to these errors, this did
26   not occur.        Accordingly, the judgment must be vacated.
27
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 1   388.           The failure to delete inapplicable factors from CALJIC
 2   No. 8.85 further violated Petitioner's federal constitutional
 3   rights.      Although some factors listed in CALJIC No. 8.85 were
 4   potentially applicable to the facts of this case, many clearly were
 5   not.     The inapplicable factors included: factor (c) ("the presence
 6   or absence of any prior felony conviction"), factor (e) ("Whether
 7   or not the victim was a participant in the defendant's homicidal
 8   conduct or consented to the homicidal act"); factor (f) ("Whether
 9   or not the offense was committed under circumstances which the
10   defendant reasonably believed to be a moral justification or
11   extenuation for his conduct"); factor (g) ("Whether or not the
12   defendant acted under extreme duress or under the substantial
13   domination of another person"); factor (j) ("Whether or not the
14   defendant was an accomplice to the offense and his participation in
15   the commission of the offense was relatively minor").                    In addition,
16   the prosecutor argued that factor (h) ("Whether . . . the capacity
17   of the defendant to appreciate the criminality of his conduct or to
18   conform his conduct to the requirements of law was impaired as a
19   result of mental disease or defect or the effects of
20   intoxication"), was also inapplicable as phrased.                   In spite of
21   their inapplicability, the trial court did not delete these factors
22   from the instruction.             Their inclusion in the list introduced
23   confusion, capriciousness, and unreliability into the capital
24   decision-making process in violation of Petitioner's rights under
25   the Fifth, Sixth, Eighth, and Fourteenth Amendments.
26
27
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 1   389.           The "whether or not" formulation of the inapplicable
 2   factors cited above suggested that the jury could consider them
 3   either for or against Petitioner. Instructing the jury on such
 4   irrelevant matters diluted the jury's focus, distracted its
 5   attention from the difficult task at hand, and introduced confusion
 6   into the process.           Irrelevant instructions also created a grave
 7   risk that the death penalty was imposed on the basis of
 8   inapplicable factors.             These two dangers are heightened by the
 9   court's failure to explain which factors were aggravating and which
10   were mitigating.
11
12   390.           The failure to delete unsupported factors for which there
13   was no supporting evidence denigrated the nominal mitigation
14   evidence actually presented.               The jury was effectively invited to
15   engage in a quantitative analysis and sentence Petitioner to death
16   because there was evidence in mitigation for "only" one or two
17   factors, whereas the instruction suggested there could have, and
18   likely in the jury’s eyes should have, been more to justify a life
19   sentence.
20
21   391.           The inclusion of inapplicable factors deprived Petitioner
22   of his right to an accurate and individualized sentencing
23   proceeding based solely on permissible factors relating to him and
24   the crime.
25
26   392.           This error also artificially inflated the weight of the
27
28   Petition for a writ of habeas corpus                                          Dykes v. Martel
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 1   aggravating factors and violated the Fifth, Sixth, Eighth and
 2   Fourteenth Amendment requirements of heightened reliability in the
 3   penalty determination.                 Ford v. Wainwright, 477 U.S. 399, 411, 414
 4   (1986); Beck v. Alabama, 447 U.S. 625, 637 (1980).
 5
 6   393.           The court's failure to designate aggravating and
 7   mitigating factors deprived Petitioner of federal constitutional
 8   rights.        CALJIC No. 8.85 presents the jury with a list of factors
 9   but does not indicate which factors are aggravating and which are
10   mitigating.
11
12   394.           The failure to instruct Petitioner’s jury clearly as to
13   which factors could be mitigating only as well as to eliminate
14   those clearly not presented for consideration all deprived
15   Petitioner of federal constitutional rights to due process, an
16   impartial jury, equal protection, and a reliable determination of
17   penalty in violation of the Fifth, Sixth, Eighth, and Fourteenth
18   Amendment.
19
20   395.           These errors are exacerbated here by the prosecutor's
21   arguments, the jury’s misconduct, and trial counsel’s ineffective
22   assistance as presented herein and as will be further developed
23   through these proceedings.
24
25   396.           Petitioner was entitled to a reliable penalty
26   determination. These errors denied him this. The writ should issue.
27
28   Petition for a writ of habeas corpus                                            Dykes v. Martel
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 1   CALJIC NO. 8.88, AS GIVEN HEREIN, VIOLATED PETITIONER'S RIGHTS
     UNDER THE FIFTH, SIXTH, EIGHTH AND FOURTEENTH AMENDMENTS TO THE
 2   UNITED STATES CONSTITUTION.
 3
     397.           Petitioner’s jury was instructed with CALJIC No. 8.88.
 4
     In pertinent part, this instruction read as follows:
 5
                    It is now your duty to determine which of the two
 6
            penalties, death or confinement in the state prison for
 7
            life without parole, shall be imposed on the defendant.
 8
                    After having heard all the evidence, and after
 9
            having heard and considered the arguments of counsel, you
10
            shall consider, take into account, and be guided by the
11
            applicable factors of aggravating and mitigating
12
            circumstances upon which you have been instructed.
13
                    An aggravating factor is any fact, condition, or
14
            event attending the commission of a crime which increases
15
            its guilt or enormity, or adds to its injurious
16
            consequences which is above and beyond the elements of
17
            the crime itself.
18
                    A mitigating circumstance is any fact, condition or
19
            event which as such does not constitute a justification
20
            or excuse for the crime in question, but may be
21
            considered as an extenuating circumstance in determining
22
            the appropriateness of the death penalty.
23
                    The weighing of aggravating and mitigating
24
            circumstances does not mean a mere mechanical counting of
25
            factors on each side of an imaginary scale, or the
26
27
28   Petition for a writ of habeas corpus                                         Dykes v. Martel
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 1          arbitrary assignment of weights to any of them.                  You are
 2          free to assign whatever moral or sympathetic value you
 3          deem appropriate to each and all of the various factors
 4          you are permitted to consider.
 5                  In weighing the various circumstances you determine
 6          under the relevant evidence which penalty is justified
 7          and appropriate by considering the totality of the
 8          mitigating circumstances with the totality of the
 9          aggravating circumstances.
10                  To return a judgment of death, each of you must be
11          persuaded that the aggravating circumstances are so
12          substantial in comparison with the mitigating
13          circumstances that it warrants death instead of life
14          without possibility of parole.
15   (CALJIC No. 8.88; CT 629-30; RT 3962-63)
16
17   398.           This instruction violated Petitioner’s rights under the
18   Fifth, Sixth, Eighth and Fourteenth Amendments to the federal
19   constitution.         The instruction was defective in a number of
20   respects.       First, the instruction was vague and imprecise, failed
21   to accurately describe the weighing process the jury must apply in
22   capital cases, and deprived Petitioner of the individualized
23   consideration the Eighth Amendment requires.                  Second, the
24   instruction contradicted the requirements of PC § 190.3 by
25   indicating that a death judgment could be returned if the
26   aggravating circumstances were merely "substantial" when compared
27
28   Petition for a writ of habeas corpus                                         Dykes v. Martel
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 1   to mitigating circumstances, thus permitting the jury to impose
 2   death even if it found mitigating circumstances outweighed
 3   aggravating circumstances.             The instruction was therefore
 4   improperly weighted toward death.                 Third, the instruction
 5   effectively informed the jury that a single mitigating factor was
 6   not sufficient to prevent imposition of the death penalty.84                      The
 7   instruction's definition of mitigating circumstances was further
 8   defective in that it failed to inform the jury of the full scope of
 9   evidence which may be considered in mitigation. See Lockett v.
10   Ohio, 438 U.S. 586 (1978).             The instruction also misled the jury by
11   failing to provide the jury with a definition of the legal term
12   "life without the possibility of parole."
13
14   399.           CALJIC No. 8.88 also improperly modified the
15   prosecution's burden of proof under California law.                    Penal Code
16   § 190.3 states that after considering aggravating and mitigating
17   factors, the jury "shall impose" a sentence of confinement in state
18   prison for a term of life without the possibility of parole if "the
19   mitigating circumstances outweigh the aggravating circumstances."
20   PC § 190.3.85         The United States Supreme Court has held that this
21   mandatory language is consistent with the individualized
22
            84
23                  This component alone violates Lockett v. Ohio, 438 U.S. 586
     (1978).
24          85
               It bears note the California Supreme Court has recognized
25   that the statute’s provision that if aggravating circumstances
     outweigh mitigation circumstances, the jury “shall impose” a sentence
26   of death is impermissible. People v. Brown, 40 Cal.3d 512, 544 n. 17
     (1985).
27
28   Petition for a writ of habeas corpus                                         Dykes v. Martel
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 1   consideration of the defendant's circumstances required under the
 2   Eighth Amendment.           Boyde v. California, 494 U.S. 370, 377 (1990).
 3
 4   400.           However, this mandatory language is not included in
 5   CALJIC No. 8.88.           Instead, the instruction informs the jury merely
 6   that the death penalty may be imposed if aggravating circumstances
 7   are "so substantial" in comparison to mitigating circumstances that
 8   the death penalty is warranted.                 The word "substantial" means only
 9   "of or having substance."               Webster's New World Dictionary (3d
10   College ed. 1989) 1336.                Although the word carries with it the
11   connotations "considerable," "ample," and "large," id., it neither
12   means nor suggests "outweigh."                The instruction therefore fails to
13   conform to the requirements of Penal Code § 190.3.                     The instruction
14   by its terms would plainly permit, if not outright direct, the
15   imposition of a death sentence whenever aggravating circumstances
16   were merely "of substance" or "considerable," even if the jury felt
17   they were outweighed by mitigating circumstances.                     By failing to
18   conform to the specific mandate of Penal Code § 190.3, the
19   instruction violates the Fourteenth Amendment.                    Hicks v. Oklahoma,
20   447 U.S. 343, 346-347 (1980).
21
22   401.           In addition, the instruction improperly reduced the
23   prosecution's burden of proof below that required by the applicable
24   statute.       An instructional error which incorrectly describes the
25   burden of proof, and thus "vitiates all the jury's findings," can
26   never be shown to be harmless.                Sullivan v. Louisiana, 508 U.S.
27
28   Petition for a writ of habeas corpus                                           Dykes v. Martel
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 1   275, 281 (1993)(emphasis in original).
 2
 3   402.           The instruction incorrectly described the weighing
 4   process applicable to aggravating and mitigating evidence under
 5   California law.
 6
 7   403.           The instruction incorrectly explained the weighing
 8   process required by California law in a number of other respects.
 9   For example, the instruction was defective because it improperly
10   suggested that a quantitative comparison of the "totality" of
11   mitigating factors was required. Yet, the California Supreme Court
12   has indicated that one mitigating factor, standing alone, may be
13   sufficient to outweigh all other factors. People v. Grant, 45
14   Cal.3d 829, 857, n. 5 (1988); People v. Hayes, 52 Cal.3d 577, 642
15   (1990); People v. Cooper, 53 Cal.3d 771, 845 (1991).                      The language
16   of CALJIC No. 8.88 not only failed to communicate this important
17   concept to the jury but also suggested that the jury was required
18   to consider the "totality" of the mitigating circumstances and
19   balance them against the "totality" of the aggravating
20   circumstances.          This was prejudicial because, in the absence of
21   qualitative consideration, this quantitative formula could weigh
22   the scales in favor of a judgment of death, thereby depriving
23   Petitioner of the individualized consideration guaranteed him by
24   the Eighth Amendment to the United States Constitution.                       Stringer
25   v. Black, 503 U.S. 222,                231-232 (1992).
26
27
28   Petition for a writ of habeas corpus                                           Dykes v. Martel
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 1   404.           Under California law, a trial court has a sua sponte duty
 2   to correctly instruct the jury on the general principles of law
 3   governing the case before it.              People v. Hernandez, 47 Cal.3d 315,
 4   353 (1988); People v. Avalos, 37 Cal.3d 216, 229 (1984).                       The
 5   trial court’s failure to comply with so basic a premise, guaranteed
 6   by state, is cognizable here as a deprivation of a liberty
 7   interest. Hicks v. Oklahoma, 447 U.S. 343 (1980).
 8
 9   405.           The instruction also is defective and death-oriented
10   because it fails to adequately describe or define the penalty of
11   life without the possibility of parole.                 This technical term is
12   commonly misunderstood by lay persons and jurors, such that the
13   trial court was obliged to define it.86                 The trial court had a sua
14   sponte duty to define terms which have a "technical meaning
15   peculiar to the law."             People v. McElheny, 137 Cal.App.3d 396
16   (1982). Its failure to do so denied Petitioner his federal
17   constitutional right to have the jury decide every material issue
18   presented by the evidence.             People v. Reynolds, 205 Cal.App.3d 775,
19   779 (1988), citing People v. Mayberry, 15 Cal.3d 143, 157 (1975).
20   The error also deprived Petitioner his rights to a reliable
21   determination of penalty under the Eighth Amendment and his right
22   to due process of law under the Fourteenth Amendment.
23
24          86
               In fact, here, the record shows the jury actually
25   misunderstood the term and a discussion ensued during jury
     deliberations that Petitioner could receive a sentence of life without
26   the possibility of parole and yet be released from prison.         (CT
     722-27) See also Claim 3.
27
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 1   406.           Current academic research shows that many jurors, perhaps
 2   as many as half, do not understand that the sentencing alternative
 3   of life without parole actually means no possibility of parole.
 4   See, e.g., Bowers, Research on the Death Penalty: Research Note
 5   (1993) 27 Law & Society Rev. 157, 170; see also, Simmons v. South
 6   Carolina, 512 U.S. 154, 169-170 and n. 9 (1994).                   Media accounts
 7   and pervasive mistrust of the criminal justice system have resulted
 8   in a widespread believe that a sentence of                   "life without parole"
 9   does not really mean the defendant will spend the rest of his life
10   in prison. Id. Indeed, the United States Supreme Court reversed a
11   South Carolina death sentence on the grounds that the trial court
12   refused to give a parole ineligibility instruction requested by the
13   defense. Shafer v. South Carolina, 532 U.S. 36 (2001).                    The court
14   stated that where "[d]isplacement of 'the longstanding practice of
15   parole availability' remains a relatively recent development, . . .
16   'common sense tells us that many jurors might not know whether a
17   life sentence carries with it the possibility of parole.'" Id.
18
19   407.           Here the danger that Petitioner's jury would share this
20   common misunderstanding ripened into reality.                  As addressed in
21   Claim 3 at least some jurors believed that even with a sentence of
22   life without possibility of parole, there was a significant chance
23   that Petitioner would be released from prison.                  They believed that
24   if he were sentenced to death, there was a lesser chance that he
25   would eventually be released.              This shows that the lack of a jury
26   instruction defining clearly that life without possibility of
27
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 1   parole meant exactly that was harmful to Petitioner.
 2
 3   408.           The instruction given was further defective in its
 4   description of mitigation.             As noted above, the instruction stated
 5   that "[a] mitigating circumstance is any fact, condition or event
 6   which as such does not constitute a justification or excuse for the
 7   crime in question, but may be considered as an extenuating
 8   circumstance in determining the appropriateness of the death
 9   penalty."       This definition of mitigation failed to inform the jury
10   of the full scope of evidence that may be considered in determining
11   the appropriate sentence and was reasonably likely to be understood
12   as a limitation on mitigating evidence.
13
14   409.           The definition of mitigation given in this case, with its
15   focus limited to "the crime in question," was substantially likely
16   to have been understood as limiting the jury's consideration solely
17   to the circumstances of the crime, in violation of the federal
18   constitution.         Lockett v. Ohio, 438 U.S. 586 (1978).             Numerous
19   authorities have noted the importance of mitigation evidence which
20   is wholly unrelated to the crime. See e.g., Williams v. Taylor, 529
21   U.S. 362, 398 (2000)(defendant's childhood "filled with abuse and
22   privation, or reality that he was 'borderline mentally retarded'"
23   may influence jury's determination of moral culpability); Lambright
24   v. Stewart, 241 F.3d 1201, 1208 (9th Cir. 2001)("Evidence of mental
25   disabilities or a tragic childhood can affect a sentencing
26   determination even in the most savage case.").
27
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 1   410.           The trial court's failure to provide the jury with
 2   adequate instructions on this critical concept undermined the
 3   reliability of the ensuing death judgment, failed to properly
 4   channel the jury's decision-making process, and effectively
 5   eliminated from consideration relevant mitigating evidence.                       (U.S.
 6   Const., Amends. V, VI, VIII, and XIV.
 7
 8   411.           It is fundamental that a "risk that the death penalty
 9   will be imposed in spite of factors which may call for a less
10   severe penalty . . . is unacceptable and incompatible with the
11   commands of the Eighth and Fourteenth Amendments."                   Lockett v.
12   Ohio, 438 U.S. 586, 605 (1978).               The numerous errors in this
13   instruction improperly impaired, all to Petitioner's disadvantage,
14   the jury's freedom to assess whether life without the possibility
15   of parole or death was the proper verdict to reach in this case. On
16   these facts and record, especially given the closeness of the
17   penalty determination, these errors render infirm the judgment of
18   death.      Chapman v. California, 386 U.S. 18, 24 (1967).
19
20   412.           Accordingly, for each and all of these reasons,
21   individually and in unison, the writ should issue.
22
23
24
25
26
27
28   Petition for a writ of habeas corpus                                         Dykes v. Martel
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 1                                          Claim 587
 2   CALIFORNIA’S DEATH PENALTY SCHEME VIOLATES THE FEDERAL CONSTITUTION
     IN HOW AND WHAT IT ALLOWS JURIES TO USE AS EVIDENCE IN AGGRAVATION.
 3
 4   413.           Petitioner herein alleges that his sentence of death is a
 5   violation of the Eighth Amendment in that it is the result of a
 6   defective definition of what constitutes evidence in aggravation
 7   for purposes of guiding a capital sentencing jury in California,
 8   compounded by erroneous rulings by the trial court regarding                       such
 9   evidence. The result of these flaws is a capital sentence that
10   violates federal constitutional law.
11
12   414.           This claim has two principal components, each of which
13   assesses a particular defect, each having to do with evidence
14   presented to or considered by the jury in aggravation, and
15   individually and in unison they render the sentence defective as a
16   matter of federal constitutional law:
17          (A) The trial court’s refusal to instruct the sentencing
            jury that under California law that it had to find
18          unanimously that an aggravating act had been committed,
            and said act had to reflect an actual or implied threat
19          of force and violence. (infra)
20          (B) The trial court’s decision to permit the prosecution
            to introduce evidence of simple possession of a firearm
21          as a qualifying act in aggravation under California Penal
            Code § 190.3(b). (infra)
22
23   415.           Individually as well as in unison, these defects in the
24
25          87
               This claim was presented to and adjudicated by the
26   California Supreme Court in direct appeal issues 16, 17, 18, 20, and
     21.
27
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 1   proceedings render Petitioner’s death sentence a violation of
 2   federal law and the writ should be granted.
 3
 4   THE TRIAL COURT ERRED IN REFUSING TO INSTRUCT THE JURY THAT, BEFORE
     CONSIDERING A FACTOR IN AGGRAVATION, IT MUST UNANIMOUSLY FIND BOTH
 5   THAT THE DEFENDANT COMMITTED THE ACT IN AGGRAVATION AND THE ACT
     CONSTITUTED AN IMPLIED THREAT OF FORCE OR VIOLENCE.
 6
 7   Background
 8   416.           At the jury instruction conference during the penalty
 9   phase, Petitioner’s counsel asked the court for several
10   modifications to CALJIC 8.87.                 (RT 3855-57)      The court rejected the
11   defense requests, holding that there is no requirement a capital
12   sentencing jury unanimously agree that the act in aggravation was
13   committed.          (RT 3856-58)         The court then instructed the jury with
14   CALJIC No. 8.87.
15
16   417.           Initially, Petitioner’s counsel did not request that to
17   consider an incident in aggravation, the jury had to unanimously
18   agree both that it occurred and that it constituted an implied
19   threat of force or violence.
20
21   418.           However, after deliberations had commenced, the jury made
22   the following inquiry:
23          We the jury . . .               request:
24                  1.    Did both attorneys stipulate to the fact that
25          the defendant was one, convicted of the act of carrying a
26          concealed firearm upon the person and, two, carrying a
27
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 1          loaded firearm on the person while in a public place
 2          which involved the implied use of force or violence?
 3   (RT 4014) The jury underlined the term "implied use of force or
 4   violence."        Id.
 5
 6   419.           The record shows that the trial court responded:
 7                  First with respect to your first question, during
 8          the course of this trial neither attorney formally
 9          stipulated that the defendant was convicted of the act of
10          carrying a concealed firearm upon the person or that the
11          defendant was convicted of carrying a loaded firearm on a
12          person while in public place.                The alleged conduct of the
13          defendant's carrying a concealed firearm upon the person
14          and carrying a loaded firearm on the person while in
15          public place was a subject of testimony received at the
16          penalty phase of these proceedings from Officer Rand
17          Monda of the Oakland Police Department, and in addition
18          was the subject of testimony by the defendant Ernest
19          Dykes on cross-examination by Mr. Carmine during the
20          guilt phase of these proceedings.
21                  The weight and significance to be attached to such
22          testimony are exclusively matters for your determination.
23          By your underlining the phrase in your note which reads,
24          and I'm quoting, which involved the implied use of force
25          or violence, end quote, I assume that you wish the court
26          to respond in some fashion to this particular phrase as
27
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 1          it is used in the instructions.                    As I have just indicated
 2          there was no formal stipulation entered into by the
 3          attorneys on the subject although the alleged conduct
 4          itself was the subject of the testimony to which I have
 5          just referred.
 6                  Whether the conduct involved the implied use of
 7          force or violence is also exclusively a matter for your
 8          determination.
 9   (RT 4015-16)
10
11   420.           Petitioner’s counsel thereupon requested the court to
12   clarify for the jury that it must find beyond a reasonable doubt
13   the alleged act of possession of the concealed, loaded weapon was
14   an act involving the implied use of force or violence.                       (RT
15   4020-21) Petitioner’s counsel further objected to the instruction
16   as given since it did not require the jury to find beyond a
17   reasonable doubt both that the incident occurred and that the
18   incident involved the implied use of force or violence.                        (RT
19   4020-21)       He also argued that the prior instruction regarding the
20   gun possession should have required the jury to find the possession
21   beyond a reasonable doubt.             Id.
22
23   421.           The court refused to give Petitioner’s requested jury
24   instruction.         Nor did the court instruct the jury any such finding
25   must be unanimous.            Thus the jury was not reminded that its
26   findings on aggravating circumstances must be made beyond a
27
28   Petition for a writ of habeas corpus                                            Dykes v. Martel
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 1   reasonable doubt.           (RT 4020)      Nor was the jury instructed that it
 2   had to be unanimous in its finding.                      (RT 3855)
 3
 4   422.           Indeed, the court further failed to require even that a
 5   simple majority of jurors agree on any particular aggravating
 6   factor, let alone agree whether any particular combination of
 7   aggravating factors might warrant the sentence of death.                          (See RT
 8   3856-58) As a consequence, this record is deficient regarding how
 9   the jury operated and whether its judgment was structured in
10   compliance with federal constitutional tenets.
11
12   423.           This is deficient for the same reason addressed by the
13   plurality opinion in Schad v. Arizona, 501 U.S. 624, 632-633
14   (1991)(plur. opn. of Souter, J.). With nothing to guide its
15   decision, there is nothing to suggest the jury imposed a death
16   sentence based on any form of agreement regarding the reasons for
17   the sentence. Petitioner requested this clarification be given to
18   his jury when it demonstrated it was foundering on the point; the
19   trial court’s refusal to do so warrants relief from this Court.
20
21   CALIFORNIA LAW VIOLATES THE SIXTH, EIGHTH AND FOURTEENTH AMENDMENTS
     TO THE UNITED STATES CONSTITUTION BY FAILING TO REQUIRE UNANIMOUS
22   JURY AGREEMENT ON AGGRAVATING FACTORS
23   424.           Petitioner understands the California Supreme Court "has
24   held that unanimity with respect to aggravating factors is not
25   required by statute or as a constitutional procedural safeguard."
26   People v. Taylor, 52 Cal.3d 719, 749 (1990); accord People v.
27
28   Petition for a writ of habeas corpus                                            Dykes v. Martel
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 1   Bolin, 18 Cal.4th 297, 335-336 (1998). It was consistent with this
 2   construction of California's capital sentencing scheme that the
 3   trial court refused to provide an instruction requiring jury
 4   agreement or unanimity on any particular aggravating factor. The
 5   instructions did not even require that a majority of jurors agree
 6   on any particular aggravating factor nor that any particular
 7   combination of aggravating factors warranted the sentence of death.
 8   Petitioner respectfully notes this is a deficient scheme, failing
 9   to guide the sentencer adequately in its task, and indeed allowing
10   a sentence to rest on inconsistent findings within the jury.
11
12   425.           For each and all of these reasons, the sentence of death
13   violates the Sixth, Eighth and Fourteenth Amendments.                    See e.g.,
14   Murray's Lessee v. Hoboken Land and Improvement Co., 59 U.S. (18
15   How) 272 (1855); Griffin v. United States, 502 U.S. 46, 51 (1991).
16
17   426.           California's judicial interpretation of its capital
18   sentencing structure as not requiring unanimity of the jury on
19   whether a given aggravating factor has been proven beyond
20   reasonable doubt places the state in a distinct minority of the
21   states.      Of the twenty-two (22) states that vest responsibility for
22   death penalty sentencing on the jury, fourteen (14) require
23   unanimity within the jury as to proof of specific factors in
24   aggravation.88
25
            88
26                  See Ark. Code Ann. § 5-4-603(a) (Michie 1993); Colo. Rev.
                                                               (continued...)
27
28   Petition for a writ of habeas corpus                                         Dykes v. Martel
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 1   427.           California's lack of a unanimity requirement violates the
 2   Due Process Clause of the Fourteenth Amendment and the jury trial
 3   guarantees of the Sixth Amendment, which mandate that all of the
 4   findings prerequisite to a sentence of death must be made beyond a
 5   reasonable doubt by a unanimous jury.                   Ring v. Arizona, 536 U.S.
 6   584 (2002); Apprendi v. New Jersey, 530 U.S. 466 (2000).
 7
 8   428.           In Apprendi, the Supreme Court held that a state may not
 9   impose a sentence greater than that authorized by the jury's
10   verdict of guilt, unless the facts supporting an increased sentence
11   (other than a prior conviction) are submitted to the jury and
12   proved beyond a reasonable doubt.                 Id. at 489.   Under California's
13   capital sentencing scheme, a death sentence may not be imposed
14   absent findings (1) that one or more aggravating factors exist and
15   (2) the aggravating factor or factors outweigh any mitigating
16   factors.       (Penal Code § 190.3)         In Ring v. Arizona, the Supreme
17   Court made clear that the principles of Apprendi apply to findings
18   necessary to impose a death sentence.                   Accordingly, under Ring and
19   Apprendi, it should be clear the existence of any aggravating
20
21          88
           (...continued)
22   Stat. Ann. § 16-11-103(2) (West 1992); Ill. Ann. Stat. ch. 38, para.
     9-1(g) (Smith-Hurd 1992); La. Code Crim. Proc. Ann. art. 905.6 (West
23   1993); Md. Ann. Code art. 27, § 413(i) (1993); Miss. Code Ann.
     § 99-19-103 (1992); N.H. Rev. Stat. Ann. § 630:5(IV) (1992); N.M.
24   Stat. Ann. § 31-20A-3 (Michie 1990); Okla. Stat. Ann. tit. 21,
     § 701.11 (West 1993); 42 Pa. Cons. Stat. Ann. § 9711(c)(1)(iv) (1982);
25   S.C. Code Ann. § 16-3-20(C) (Law. Co-op. 1992); Tenn. Code Ann.
     § 39-13-204(g) (1993); Tex. Crim. Proc. Code Ann. § 37.071 (West
26   1993). In addition, New Jersey requires unanimity by case law. State
     v. Bey II (N.J. 1988) 548 A.2d 887, 112 N.J. 123, 159.
27
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 1   factors relied upon to impose a death sentence must be found beyond
 2   a reasonable doubt by a unanimous jury.
 3   429.           The failure to require unanimity before evidence could be
 4   weighed as aggravating violated the Sixth, Eighth and Fourteenth
 5   Amendments.
 6
 7   430.           The Supreme Court has pointed out that the penalty phase
 8   of a capital case "has the 'hallmarks' of a trial" on guilt or
 9   innocence."        Monge v. California, supra, 524 U.S. at 726;
10   Strickland v. Washington, 466 U.S. 668, 686-687 (1984); Bullington
11   v. Missouri, 451 U.S. 430, 439 (1981).                  While the unadjudicated
12   offenses are not the only offenses for which the defendant is being
13   tried, that trial-within-a-trial often plays a dispositive role in
14   determining whether death, the "penalty . . . unique 'in both its
15   severity and its finality,'" is imposed.                 Monge v. California, at
16   732 (quoting Gardner v. Florida, supra, 430 U.S. at 357).
17
18   431.           The error is reversible per se, because it permitted the
19   jury to return a death judgment without making the findings
20   required by law.           See Sullivan v. Louisiana, supra, 508 U.S. at
21   278-281; United States v. Gaudin, 515 U.S. 506, 522-523
22   (1995)(aff'g 28 F.3d at pp. 951-952).
23
24   432.           In any event, given the difficulty of the penalty
25   determination in this case, Respondent cannot show there is no
26   beyond a reasonable doubt that the failure to instruct on the need
27
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 1   for unanimity regarding aggravating circumstances did not
 2   contribute to the verdict of death.                     Chapman v. California, supra,
 3   386 U.S. at 24; Fahy v. Connecticut, 375 U.S. 85, 86-87 (1963);
 4   Satterwhite v. Texas, 486 U.S. 253, 258-259 (1988); Hitchcock v.
 5   Dugger, 481 U.S. 393, 399 (1977) It cannot even be found that the
 6   error had "no effect" on the penalty verdict.                    Caldwell v.
 7   Mississippi, 472 U.S. 320, 341 (1985)                    As a result, the penalty
 8   verdict must be set aside.
 9
10   THE ADMISSION OF EVIDENCE THAT PETITIONER WAS ARRESTED FOR
     POSSESSION OF A LOADED AND CONCEALED WEAPON VIOLATED THE EIGHTH
11   AMENDMENT TO THE UNITED STATES CONSTITUTION
12   433.           Before trial, the district attorney notified the defense
13   he intended to present as evidence in aggravation that Petitioner
14   had previously possessed a concealed and loaded firearm in a public
15   place.      (CT 231)       The defense objected because the incident
16   involved neither the use or threatened use of force or violence,
17   nor the implied or threatened use of force or violence.                       (RT
18   219-21) The court nonetheless ruled that the evidence was
19   admissible, stating that "someone who carries a loaded and
20   concealed handgun is carrying a classical instrument of violence
21   that is normally used only for criminal purposes." (RT 224) To so
22   rule, the court concluded that the incident qualified under PC
23   § 190.3(b) as involving an implied use or threat of force or
24   violence. (RT 224-25)
25
26   434.           The California Supreme Court held in People v. Michaels,
27
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 1   28 Cal.4th 486 (2002), that all incidents of illegal weapons
 2   possession were admissible as acts involving an implied threat of
 3   violence under § 190.3(b). California law, embodied in the Michaels
 4   decision and as seen in this case, now extends the scope of
 5   § 190.3(b) beyond that which is permitted under the Due Process
 6   Clause of the Fourteenth Amendment.                     The California Supreme Court's
 7   expansion of the scope of evidence admissible under § 190.3(b) also
 8   aggravates the already significant risk of the arbitrary and
 9   capricious imposition of the death penalty, in violation of the
10   Eighth Amendment.
11
12   435.           Petitioner alleges this all violates his federal
13   constitutional rights. Petitioner respectfully asks this Court to
14   assess the tension between federal law and California law as stated
15   in Michaels and as applied here. Upon doing so, and in
16   consideration of the facts at issue herein, Petitioner respectfully
17   submits this Court will be drawn to the conclusion it is
18   appropriate to issue the writ.
19
20   436.           In a capital case, the prosecution is entitled to
21   introduce evidence regarding prior incidents involving the
22   defendant's actual use of force or violence, or his threats to use
23   force and violence, as well as incidents which involve an implied
24   threat of violence.            (Pen. Code § 190.3(b)) State law makes clear
25   evidence of threats alone are not admissible.                    See People v. Boyd,
26   38 Cal.3d 762, 774-776 (1985).                While in certain circumstances the
27
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 1   possession of weapons has been seen to permissibly constitute an
 2   incident involving an implied use or threat of violence or force,
 3   under Eighth Amendment jurisprudence this has not been true for all
 4   instances of illegal weapons possession.                 Rather, whether illegal
 5   weapon possession constitutes an implied threat of force or
 6   violence turned on the individual circumstances of the case.                       The
 7   admission of weapons possession had been admitted under § 190.2(b)
 8   when the weapons were possessed in jail or prison, e.g., People v.
 9   Hughes, 27 Cal.4th 287 (2002); People v.                 Quartermain, 16 Cal.4th
10   600, 631-32 (1997); People v. Williams, 16 Cal.4th 153, 238 (1997);
11   People v. Ramos, 15 Cal.4th 1133 (1997); People v. Hines, 15
12   Cal.4th 997, 1057 (1997); and People v. Ramirez, 50 Cal.3d 1158,
13   1186-87 (1990).            It had also been held admissible when the
14   evidence permitted "an inference that the defendant possessed a
15   dangerous weapon with the purpose of using it to avoid apprehension
16   and successfully escape the scene of a crime."                  People v. Smithey,
17   20 Cal.4th 936, 993 (1999).            See also People v. Clair, supra, 2
18   Cal.4th at 676-77 (defendant came to crime scene equipped with
19   screwdriver and took up knife while committing burglary, but cast
20   it away at last minute); People v. Jackson, 13 Cal.4th 1164,
21   1235-36 (1996) (defendant armed himself after escaping from
22   custody); People v. Grant, 45 Cal.3d 829, 851 (1988)(evidence that
23   while in jail the defendant possessed a prison-made weapon and made
24   provocative threats to deputy admissible under § 190.2(b)); cf.
25   People v. Belmontes, 45 Cal.3d 744, 809 (1988)(defendant's prior
26   act of motioning to a handgun at his side and stating to a friend
27
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 1   that it was all the protection that he needed was inadmissible).
 2
 3   437.           This was all true until the California Supreme Court
 4   issued its decision in People v. Michaels, 28 Cal.4th 486 (2002).
 5   There that court extended its reasoning to the mere possession of a
 6   loaded or concealed weapon.            The decision is in tension with
 7   federal law as it violates the due process clause of the Fourteenth
 8   Amendment and the prohibition against the arbitrary and capricious
 9   imposition of the death penalty under the Eighth Amendment.
10
11   438.           It bears observation that in this Nation generally an
12   individual may lawfully possess a firearm.                   U.S. Const. Amend. II.
13   Petitioner's possession of the firearm during the incident in
14   question was unlawful simply because he was carrying a loaded and
15   concealed weapon.89           He did not threaten or menace anyone with the
16   weapon, and he was not prohibited from possessing a firearm.                       Given
17   the vitality of the Second Amendment, and the United States
18   Solicitor General's position that the Second Amendment protects an
19   individual's right to bear arms, it is doubtful that federal law
20   can be reconciled with the premise that the mere carrying of a
21   firearm constitutes an implied threat of force or violence.                       See
22   Haney v. United States, No. 01-8272, Brief in Opposition of the
23
24          89
               Demonstrating the randomness of California’s death penalty
25   scheme, if Petitioner had possessed a carry permit for the gun there
     would have been no violation of law for his exact same conduct.  The
26   point is even more acute when looked at from a national perspective
     which, at best is uneven.
27
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 1   United States.          The fact that in California such carrying is
 2   unlawful and constitutes a misdemeanor, does not, as a matter of
 3   federal law, transform the conduct from one of innate
 4   self-protection into a threat against others.
 5
 6   439.           The court erred in admitting the incident of gun
 7   possession as aggravation evidence in this case.                   The incident
 8   merely involved Petitioner's possession of a loaded and concealed
 9   handgun. When stopped by police officer, Petitioner immediately
10   relinquished the weapon by placing it on top of the police car,
11   albeit in his glove.             Petitioner never motioned to the weapon, did
12   not confront the police officer, did not reach for the weapon, and
13   indeed did not threaten the officer in any way.                   While possession
14   of a loaded and concealed handgun is illegal, this conduct, by
15   itself, does not constitute an implied threat of force, at least in
16   the context of the other facts surrounding Petitioner's arrest and
17   particularly not for use in a capital context as evidence in
18   aggravation.
19
20   440.           The prosecutor relied heavily on Petitioner's prior
21   arrest involving this conduct to argue that he was a dangerous
22   individual for whom lenient treatment had failed.                   (RT 3887)      In
23   particular, the prosecutor argued that even after he had been
24   arrested for possession of a gun, Petitioner went out and got
25   another one with deadly results.                The prosecutor used Petitioner's
26   prior offense to argue that he was "well down the road of criminal
27
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 1   age."     (RT 3887) Yet there was no other evidence before the jury of
 2   Petitioner engaging in other prior criminal conduct. The admission
 3   of this evidence was powerful and prejudicial.
 4
 5   441.           Additionally, there is evidence that the jury directly
 6   relied on the prior offense in deciding to sentence Petitioner to
 7   death.      One juror cited directly to Petitioner’s prior arrest for
 8   possessing the gun as reason enough to impose the death penalty.
 9   (CT 676-77)        Other jurors admitted that they believed that
10   Petitioner had a more extensive criminal history than was presented
11   at trial and based their penalty decision on this belief.                      See
12   e.g., CT 666, 708-12, 721.
13
14   442.           Even the trial judge cited this incident as a reason not
15   to modify and reduce the sentence.                  (CT 778-80)    The evidence
16   regarding the possession of the handgun served to inflame the
17   emotions of the jury resulting in the belief that Petitioner was a
18   threat to society.
19
20   443.           The admission of this evidence was particularly harmful
21   to Petitioner because the case in aggravation against him was not
22   overwhelming.         Petitioner had no other prior adult criminal history
23   and if this incident had not been admitted, the prosecutor would
24   not have been able to make the strident argument that Petitioner
25   was a man on whom leniency had been tried and failed.                    Moreover,
26   the circumstances of the offense were not so unusually heinous that
27
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 1   the death penalty was a foregone conclusion.                  This was after all a
 2   homicide that occurred in the context of a robbery gone wrong, and
 3   where the jury did not even find Petitioner to have acted with
 4   premeditation.          It was undisputed that Petitioner did not intend to
 5   kill Lance Clark, and the jury concluded that he did not
 6   premeditate the attempted murder of Mrs. Clark. Even the length of
 7   jury deliberations regarding the penalty supports the premise that
 8   the introduction of this evidence was not harmless.                    People v.
 9   Cardenas, 31 Cal.3d 897, 907 (1982)(12 hours); People v. Rucker, 26
10   Cal.3d 368, 391 (1980)(9 hours); People v. Woodard, 23 Cal.3d 329,
11   341 (1979)(6 hours).
12
13   444.           Given the nature and circumstances of the offense and the
14   lack of      other evidence in aggravation, the erroneous admission of
15   the gun incident was serious error and justifies issuance of the
16   writ.
17
18                                          Claim 690
19   THE JURY SPECULATED REGARDING MATTERS ABOUT WHICH EVIDENCE HAD NOT
     BEEN PRESENTED BECAUSE THE TRIAL COURT REFUSED TO INSTRUCT IT NOT
20   TO DO SO.
21   445.           Prior to submitting the penalty phase case to the jury,
22   defense counsel requested modifications to instructions, to wit:
23                  I do have a request, on page 2, the third paragraph
24
25           90
               This claim was presented to and decided by the California
26   Supreme Court in direct appeal claims 10, 14, and 28, as well as
     habeas claims 1, 2, 9, 13, 14 and 29.
27
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 1          reads, "you must neither be influenced by bias nor
 2          prejudice against the defendant, nor swayed by public
 3          opinion or public feelings.              Both the defendant" - "the
 4          people and the defendant have a right to expect that you
 5          will consider all of the evidence, follow the law,
 6          exercise your discretion conscientiously, and reach a
 7          just verdict."
 8                  I would like to add a sentences [sic] to that,
 9          probably between public feeling and both, that you are to
10          reach your verdict based upon the evidence, and should
11          not either speculate, you know, not be subject to either
12          speculation or conjecture, 'cause clearly it's the law in
13          the state of California that they can't speculate or
14          conject, but are only supposed to use the evidence as
15          it's been presented to them.               That was - conjecture, for
16          some reason, got left out of this instruction when they
17          went over to capital.           And I believe that to be a fair
18          statement of the law.
19   (RT 3863-64)
20
21   446.           The court expressed concern that such an instruction
22   might conflict with part of No. 8.88 which permits the jury to
23   assign "whatever moral or sympathetic value you deem appropriate to
24   each and all of the various factors." Petitioner’s counsel
25   disagreed, persisting in the request.                   (RT 3865)   He explained:
26          "All I'm telling them is that they have to operate on
27
28   Petition for a writ of habeas corpus                                         Dykes v. Martel
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 1          evidence, they can't operate on mere conjecture or
 2          guessnot or whatnot, they have to deal with evidence.
 3                  Then the next section tells them how to consider the
 4          evidence, they may assign to it whatever moral or
 5          sympathetic value they want to."
 6   (RT 3866)
 7
 8   447.           The court rejected Petitioner’s request and gave the
 9   instructions as worded.                (RT 3867)
10
11   448.           After the court addressed some other matters, defense
12   counsel renewed his request, asking the court to give a special
13   instruction telling the jury they are not allowed to decide the
14   case by "either speculation or conjecture.                      I feel very strongly
15   that this is a principle which is, in fact, embodied in the
16   California law."           (RT 3870)       The court denied the request.            Id.
17   The trial court erred under both federal and state law.
18   Petitioner’s subsequent death sentence is a violation of federal
19   constitutional and this Court should grant the writ of habeas
20   corpus requested herein.
21
22   449.           It is a fundamental principle of law that jury decisions
23   are to be based on the evidence presented to it, not on speculation
24   or conjecture regarding matters outside the record.                        This is
25   particularly true in capital cases.                       Although juries are permitted
26   to consider almost any matter in mitigation, and are free to assign
27
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 1   whatever moral weight to a particular matter they see fit, juries
 2   are precluded from exploring matters outside the evidence presented
 3   to it.91
 4
 5   450.           The Supreme Court has outlined procedures designed to
 6   preclude sentencers from being given "unbridled discretion in
 7   determining the fates of those charged with capital offenses."
 8   California v. Brown, supra, 479 U.S. at 541. Thus, a jury
 9   instruction directing jurors not to speculate or to make the
10   penalty determination based on speculation or conjecture is a
11   correct statement of the law.              Such an instruction is appropriate
12   because it reminds the jury that it is not to speculate regarding
13   matters such as whether the defendant has a more extensive criminal
14   record than was presented at trial, or any other matters regarding
15   the defendant's character as to which evidence was not presented.
16
17   451.           In this case we now know the jury speculated that
18   Petitioner had an additional and more extensive criminal record
19   than was presented in evidence, as well as that a sentence of life
20   without possibility of parole did not really mean Petitioner would
21
            91
22              For example, in California juries are routinely instructed
     not to conduct experiments relating to evidence and are forbidden from
23   visiting crime scenes on their own.        CALJIC 1.03.    Jurors are
     precluded from consulting with outside experts, People v. Honeycutt,
24   20 Cal.3d 150, 157-58 (1977), and may not consult outside source
     materials such as dictionaries to learn the definition of particular
25   legal terms.    People v. Karis, 46 Cal.3d 612, 642 (1988).        See
     generally In re Malone, 12 Cal.4th 935, 963-64 (1996)(presumption of
26   prejudice when juror commits misconduct by going outside the evidence
     presented).
27
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 1   stay in prison.          Even at the time of trial we also had reason to
 2   know the jury was being invited by the prosecution to speculate as
 3   to Petitioner’s upbringing and the nature and character of his
 4   family and support systems. This all renders the ensuing death
 5   sentence a violation of Eighth Amendment principles.
 6
 7   452.           The trial court’s decision was not even consistent with
 8   prior California Supreme Court decisions. In People v. Mickey, 54
 9   Cal.3d 612, 695, (1991), cert. denied, 506 U.S. 819 (1992),                       the
10   state court upheld an instruction similar to the one requested
11   here.     There, the trial court had instructed: "You may consider
12   pity, sympathy or mercy in deciding the appropriate punishment;
13   however, you should not be governed by mere                  conjecture,       prejudice
14   or public opinion."            Accord People v. Gonzalez, 51 Cal.3d 1179,
15   1225 (1990), cert. denied, 502 U.S. 835 (1991) The instruction
16   requested here did not even call for the jury to consider pity or
17   sympathy, rather it merely asked the jury not to speculate
18   regarding matters outside the record.                   Thus, the instruction was an
19   accurate statement of state law and should have been given by the
20   trial court.
21
22   453.           The error was significant as this record discloses jurors
23   did in fact speculate about matters outside the record.                     Post
24   verdict interviews with jurors confirm that several jurors opined
25   their suspicion that Petitioner had a lengthy juvenile criminal
26   history.        For example, juror FC admitted in post-verdict
27
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 1   interviews that she believed and told other jurors that Petitioner
 2   likely had a lengthy juvenile record, and that he had not just
 3   started committing crimes. (CT 666-67, 722-27)                      While during voir
 4   dire, juror FC denied working for a lawyer with any criminal
 5   practice; during deliberations, she informed jurors that while
 6   working for a Fresno lawyer, she had seen many people be sentenced
 7   to life without possibility of parole and then be released.
 8   (CT 722-27)        She did not want to see Petitioner get out of prison.
 9   The foreman of the jury, RM, confirmed in a post-trial interview
10   that the jury speculated about Petitioner's probable additional
11   criminal history.           (CT 708-12)      He personally stated that he did
12   not believe the jurors had gotten the full story regarding
13   Petitioner's past criminal history.                      (CT 676)   Similarly, juror
14   Sandra Lucas "had the impression this was not [Petitioner's] first
15   crime. (CT 681-82, 717-21)
16
17   454.           The speculation engaged in by these jurors, and the
18   speculation very likely engaged in by other jurors, undoubtedly was
19   evaluated in their decision to sentence Petitioner to death.
20
21   455.           The record presented to the state court established the
22   jury in fact speculated.               The trial court's refusal to provide the
23   requested instruction was prejudicial and the writ should issue.
24
25
26
27
28   Petition for a writ of habeas corpus                                            Dykes v. Martel
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 1                                          Claim 792
 2   THE METHOD OF EXECUTION EMPLOYED IN CALIFORNIA VIOLATES THE
     FOURTEENTH AMENDMENT GUARANTEE OF PROCEDURAL DUE PROCESS AND THE
 3   EIGHTH AMENDMENT'S PROHIBITION UPON CRUEL AND UNUSUAL PUNISHMENT.
 4
 5   456.           In 1992, California added as an alternative means of
 6   execution "intravenous injection of a substance or substances in a
 7   lethal quantity sufficient to cause death by standards established
 8   under the direction of the Department of Corrections." Penal Code
 9   § 3604(a).        The 1992 legislation allowed the inmate to select
10   either lethal gas or lethal injection, and provided that if the
11   inmate made no selection, execution would be by lethal gas.
12   Previously, the only method of execution was lethal gas.
13
14   457.           California's execution procedures violate the federal
15   constitution in two respects.              First, the state has failed to
16   comply with the statutory requirement that standards for lethal
17   injection be established by the Department of Corrections.                      Pen.
18   Code § 3604(a).          Second, Petitioner submits that both of the
19   statutory methods of execution constitute cruel and unusual
20   punishment in violation of Petitioner's rights under the Eighth
21   Amendment.
22
23   THE DEPARTMENT OF CORRECTIONS' FAILURE TO ADOPT THE REGULATIONS
     MANDATED BY PENAL CODE § 3604 VIOLATES PETITIONER'S RIGHT TO
24
25          92
               This claim was presented to the California Supreme Court in
26   direct appeal claim 26, and habeas claim 27. That court found the
     issue premature and denied it without prejudice.
27
28   Petition for a writ of habeas corpus                                         Dykes v. Martel
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 1   PROCEDURAL DUE PROCESS.
 2
 3   458.           The Fourteenth Amendment guarantees that no person will
 4   be deprived of life, liberty, or property without due process of
 5   law.     U.S. Const., Amend. XIV.           To establish a violation of the
 6   right to procedural due process, the complaining party must show:
 7   (1) a constitutionally protected interest in life, liberty or
 8   property; (2) governmental deprivation of that interest; and (3)
 9   the constitutional inadequacy of procedures accompanying the
10   deprivation.         Bank of Jackson County v. Cherry, 980 F.2d 1362, 1366
11   (11th Cir. 1993).           An inmate facing execution has a
12   constitutionally protected interest in life that is not
13   extinguished by his judgment and sentence.                   Ohio Adult Parole
14   Authority v. Woodward, 523 U.S. 272, 281, 288 (1998)
15
16   459.           The state of California intends to deprive Petitioner of
17   life and must accordingly do so in accordance with procedures which
18   accord with the requirements of due process.                  As the following
19   discussion demonstrates, the procedures adopted by the state were
20   and are constitutionally inadequate.
21
22   460.           When a statute requires a regulatory agency to adopt
23   standards to guide the performance of specified actions, the
24   agency's failure to adopt such standards or to comply with the
25   procedures required for adoption of standards prior to taking those
26   actions violates the guarantee of procedural due process.                      See e.g.
27
28   Petition for a writ of habeas corpus                                         Dykes v. Martel
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 1   Marshall v. Union Oil, 616 F.2d 1113, 1116 (9th Cir. 1980).                       In
 2   California, all regulations and other standards of general
 3   application employed by a governmental agency must be adopted
 4   pursuant to the procedures set forth in the state Administrative
 5   Procedures Act (hereinafter, "the Act."                 Gov't Code § 11342(g).
 6   The Act mandates that rigorous procedures be observed prior to the
 7   adoption of regulations, including public notice and hearings,
 8   legal review, and a public comment period, followed by filing of
 9   the regulation with the Secretary of State.                  See e.g. Gov't Code
10   § 11346.4 et seq.           Rules adopted without complying with the Act are
11   invalid and may not be enforced.                Gov't Code § 11340.5.
12
13   461.           To Petitioner's knowledge, the Department of Corrections
14   has not complied with the mandate of section 3604(a) to establish
15   standards for the administration of lethal injections or with the
16   provisions of the Administrative Procedures Act.                   The only
17   regulation in the California Code of Regulations which even
18   mentions the words "lethal injection" is 15 C.C.R. § 3349.                      This
19   section merely sets forth the procedures and departmental forms
20   required for a Death Row inmate's request for either lethal
21   injection or lethal gas and therefore does not comply with the
22   requirements of § 3604(a).             The only other information dealing with
23   the subject which is available from the Department of Corrections
24   is a brief document, dated March, 1996, which merely provides a
25   vague description of the Department's lethal injection procedures.
26   The document, apparently a press release, neither states the source
27
28   Petition for a writ of habeas corpus                                         Dykes v. Martel
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 1   of the information it contains nor refers to any official
 2   regulations or rules.             In pertinent part, this document states as
 3   follows:
 4                  "The inmate is connected to a cardiac monitor which
 5          is connected to a printer outside the execution chamber.
 6          An IV is started in two usable veins and a flow of normal
 7          saline solution is administered at a slow rate. [One line
 8          is held in reserve in case of a blockage or malfunction
 9          in the other.] The door is closed. The warden issues the
10          execution order.
11
12   462.           In advance of the execution, syringes containing the
13   following are prepared:
14                  - 5.0 grams of sodium pentothal in 20-25 cc of diluent
15                  - 50 cc of pancuronium bromide
16                  - 50 cc of potassium chloride
17   Each chemical is lethal in the amounts administered.
18
19   463.           At the warden's signal, sodium pentothal is administered,
20   then the line is flushed with sterile normal saline solution. This
21   is followed by pancuronium bromide, a saline flush, and finally,
22   potassium chloride. As required by the California Penal Code, a
23   physician is present to declare when death occurs."
24   http://www.cdc.state.ca.us/issues/capital/capital4.htm; See
25   Appendix 124, In re Carpenter, Petition for Habeas Corpus, S083246.
26
27
28   Petition for a writ of habeas corpus                                         Dykes v. Martel
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 1   464.           This document does not comply with the provisions of the
 2   Administrative Procedures Act.              No notice appears to have been
 3   given to the public prior to its adoption, nor is Petitioner aware
 4   that any hearing or public comment period preceded its adoption
 5   either.      The document does not appear to have been published or
 6   filed with the Secretary of State, nor does it appear to have been
 7   vetted by the Office of Administrative Law.                  In addition, the
 8   document itself does not even purport to be a regulation.                      By its
 9   own terms, it does not prescribe the procedures that must be used
10   during an execution, but rather appears to describe for the press
11   or public in general terms the procedures the department uses.
12
13   465.           The foregoing document also fails to establish coherent
14   standards for administering lethal injections. The document is
15   extremely vague and general in its description.                    For example, it
16   is not clear from the document how far "in advance of the
17   execution" the drugs are prepared.                  No physical restraints are
18   described.        It is not clear how many people are present, who these
19   people are, what qualifications they must have, or what training
20   they must have undergone.
21
22   466.           Most significantly, the document does not define a set of
23   procedures that will ensure that a condemned prisoner will be free
24   from unnecessary suffering.            The document's failure to prescribe
25   even a minimal level of training for the personnel involved in
26   administering the lethal injection raises a substantial and
27
28   Petition for a writ of habeas corpus                                         Dykes v. Martel
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 1   unnecessary risk that the subject will undergo extreme pain and
 2   suffering before and during his execution.                   If inadequately trained
 3   personnel improperly insert the catheter, the chemicals may be
 4   inserted into Petitioner's muscle or other tissue rather than
 5   directly into his bloodstream, causing extreme pain in the form of
 6   a severe burning sensation.            Furthermore, a failure to inject the
 7   chemicals directly into the bloodstream will cause the chemicals to
 8   be absorbed far more slowly, and the intended effects will not
 9   occur. Improper insertion of the catheter could also result in its
10   failing out of the vein, resulting in a failure to inject the
11   intended dose. There also is the risk that the catheter will
12   rupture or leak as pressure builds up during the administration of
13   the chemicals unless the catheter has adequate strength and all the
14   joints and connections are adequately reinforced.
15
16   467.           The document does not mandate that a physician or other
17   trained medical expert be present to render treatment or assistance
18   to a prisoner in the event of an emergency; instead, the document
19   mandates only that a physician be present to declare death.                        In
20   fact, medical doctors are prohibited from participating in
21   executions pursuant to the ethical principles set forth in the
22   Hippocratic Oath.           The American Nurses Association also forbids
23   members from participating in executions.                    This increases the
24   chances of improper administration which could result in pain, an
25   air embolism, the clotting of the catheter which would prevent
26   injection, and heart failure.              Furthermore, the document sets out
27
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 1   specific dosages of three drugs to be administered to all subjects,
 2   but different dosages affect different people in different ways,
 3   depending upon individual body weight, metabolism, and other
 4   medical conditions.            Accordingly, there is a risk that the listed
 5   dosages may be inadequate for the purposes for which they were
 6   selected, may result in unanticipated or inappropriate effects in a
 7   particular individual for medical or other reasons, and may inflict
 8   unnecessarily extreme pain and suffering.
 9
10   468.           The document also does not outline the proper guidelines
11   for the storage or the handling of the chemicals involved.
12   Improperly stored and/or handled chemicals may cause unnecessary
13   suffering.        Sodium pentothal wears off quickly; and if not enough
14   is given, it may paralyze the muscles of the prisoner and render
15   him incapable of breathing while still conscious, causing panic and
16   an excruciatingly arduous death.
17
18   469.           Plainly the procedures outlined in the document discussed
19   above were not properly adopted as required by the statute and the
20   Administrative Procedures Act.              They are constitutionally
21   inadequate under the Fourteenth Amendment as a violation of
22   Petitioner's right to procedural due process and also may not be
23   enforced under state law. Gov't Code § 11340.5.
24
25                                  *       *       *        *    *
26
27
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 1   CALIFORNIA'S LETHAL INJECTION PROCEDURE VIOLATES THE EIGHT
     AMENDMENT PROHIBITION AGAINST CRUEL AND UNUSUAL PUNISHMENTS.
 2
 3   470.           California's lethal injection also procedures violate the
 4   Eighth Amendment ban on cruel and unusual punishments.                    The Eighth
 5   Amendment proscribes punishment that would inflict torture or a
 6   lingering death or involve the wanton infliction of pain.                      In re
 7   Kemmler, 136 U.S. 436, 447 (1890); Gregg v. Georgia, 428 U.S. 153,
 8   173 (1976); Hudson v. McMillian, 503 U.S. 1 (1992).                     The Amendment
 9   embodies concepts of dignity, civilized standards, humanity and
10   decency against which courts must evaluate penal measures. Estelle
11   v. Gamble, 429 U.S. 97 (1976). It prohibits punishments that are
12   incompatible with "evolving standards of decency that mark the
13   progress of a maturing society."                Trop v. Dulles, 356 U.S. 86, 101
14   (1958).      To discern the "evolving standards of decency," courts
15   look to objective evidence of how society views a punishment today.
16   Coker v. Georgia, 433 U.S. 584, 593-597 (1977); Enmund v. Florida,
17   458 U.S. 782, 788-796 (1982).              In essence, "no court would approve
18   any method of implementation of the death sentence found to involve
19   cruelty in light of presently available alternatives."                    Furman v.
20   Georgia, supra, 408 U.S. 430.
21
22   471.           Death by lethal gas has been ruled cruel and unusual
23   punishment.        Fierro v. Gomez, 865 F.Supp.1387 (N.D. Cal. 1994),
24   aff'd, 77 F.3d 301, 309, vacated & remanded, 519 U.S. 918 (1996).
25   On October 15, 1996, the judgment of the Ninth Circuit was vacated
26   in light of amendments to § 3604. Gomez v. Fierro, 519 U.S. 918
27
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 1   (1996).      In 1996, section 3604 was again amended, to provide that
 2   in default of an election by the inmate, the execution would be by
 3   lethal injection. However, lethal injection also results in
 4   precisely the kind of painful, agonizing, and lingering death which
 5   the Eighth Amendment prohibits.                 It should also be declared
 6   unconstitutional and the writ should issue.
 7
 8   472.           The risk of prolonged administration of the lethal
 9   injection is increased by California's lack of comprehensive
10   standards in defining the procedures. In McKenzie v. Day, 57 F.3d
11   1461, 1469 (9th Cir 1995), the Ninth Circuit held that execution by
12   lethal injection under the procedures which had been defined in
13   Montana was constitutional. The Court of Appeals explained that
14   those procedures passed constitutional muster because they were
15   "reasonably calculated to ensure a swift, painless death."                      Id.
16   Such a statement cannot be made about the procedures in California.
17   A swift, painless death cannot be ensured without standards in
18   place to ensure that the lethal chemicals will be administered to
19   Petitioner in a competent, professional manner by someone
20   adequately trained to do so.
21
22   473.           Similarly, in LaGrand v. Lewis, 883 F.Supp. 469 (D.Ariz.
23   1995), aff'd (9th Cir. 1998) 133 F.3d 1253, the district court
24   upheld the written Internal Management Procedures prescribing
25   standards for the administration of lethal injection because "they
26   clearly indicate that executions are to be conducted under the
27
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 1   direction of the ASPC-Florence Facility Health Administrator,
 2   knowledgeable personnel are to be used, and the presence of a
 3   physician is required."                Such procedures are not found in the
 4   California Code of Regulations or in the document released by the
 5   California Department of Corrections.
 6
 7   474.           California's use of lethal injection in the
 8   administration of the death penalty fails to protect condemned
 9   prisoners from unnecessary pain and suffering, violating the Eighth
10   Amendment of the Constitution.                Accordingly, Petitioner's death
11   judgment must be vacated and must not be carried out.
12
13                                              Claim 893
14   THE CUMULATIVE EFFECT OF THE NUMEROUS ERRORS WHICH OCCURRED DURING
     THE TRIAL COMPELS REVERSAL EVEN IF NO SINGLE ISSUE, STANDING ALONE,
15   WOULD DO SO.
16   475.           The cumulative impact of the numerous penalty phase
17   errors requires reversal of the death penalty even if no single
18   error does so independently.               Taylor v. Kentucky, 436 U.S. 478,
19   487, and fn. 15 (1978); Mak v. Blodgett, 970 F.2d 614, 622 (9th
20   Cir. 1992).        In addition, a number of guilt-phase errors also had a
21   considerable impact on the penalty phase and the impact of these
22   errors must also be assessed in evaluating the prejudice resulting
23   from the penalty phase errors.                In re Marquez, 1 Cal.4th 584, 605,
24
25          93
               This claim relies upon and hereby incorporates the entirety
26   of the claims presented during both the direct appeal and the state
     habeas proceedings.
27
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 1   609 (1992).
 2
 3   476.           Petitioner's death sentence resulted from several serious
 4   penalty phase errors as explained herein. As detailed in the state
 5   court proceedings below, in addition the prosecutor misbehaved
 6   flagrantly and continuously, openly seeking to inflame the passions
 7   and prejudices of the jury.              The misconduct occurred throughout
 8   both phases of the trial, but was particularly serious during
 9   closing argument during the guilt and penalty phases.                      The
10   prosecutor's misconduct was compounded by the admission of
11   overwhelmingly prejudicial victim impact evidence.
12
13   477.           The prejudice to Petitioner was heightened by serious
14   errors in the penalty phase instructions.                     The trial court
15   permitted the jury to reconsider the question of premeditation
16   after the jury acquitted Petitioner of premeditated attempted
17   murder during the guilt phase of the trial.                    The court did not
18   require the jury to find factors in aggravation, other than prior
19   criminal conduct, beyond a reasonable doubt, and did not require
20   jury unanimity as to factors in aggravation.                    The court gave
21   prejudicial instructions on the question of remorse or its absence,
22   and also refused to instruct the jury not to speculate regarding
23   matters not in evidence.               The result of this last error was
24   manifestly prejudicial, because the record amply shows that jurors
25   engaged in prejudicial speculation on the questions whether
26   Petitioner had a more serious criminal history than was presented
27
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 1   to him, whether he would actually be executed, and whether, if
 2   sentenced to life without possibility of parole, he would
 3   nonetheless be released from custody.                   Of course, the jury's
 4   misconduct during penalty phase deliberations is a separate reason
 5   to reverse the death sentence.
 6
 7   478.           Furthermore, Petitioner' death sentence is
 8   disproportionate to his individual culpability.                   Petitioner
 9   committed a foolish and dangerous robbery, with disastrous
10   consequences.         However, he did not intend to kill the child victim,
11   and he did not premeditate either the killing or the shooting of
12   the adult victim.           He has a minimal criminal history and was
13   remorseful for what he did.
14
15   479.           These errors were compounded by the numerous
16   instructional defects, primarily in CALJIC Nos. 8.85 and 8.88 which
17   misled the jury with regard to the weighing of aggravating and
18   mitigating factors.            These errors and the numerous systemic
19   deficiencies in California's death penalty process violate not only
20   the state and federal constitutions, but also the provisions of
21   numerous treaties and customary international law.                   The cumulative
22   effect of these errors rendered the judgment here highly suspect
23   and unreliable.
24
25   480.           The foregoing errors and others detailed herein
26   demonstrate that the penalty was imposed here in violation of a
27
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 1   number of Petitioner's constitutional rights under the Fifth,
 2   Sixth, Eighth, and Fourteenth Amendments.                    Individually and in
 3   their cumulative impact, it is both reasonably possible, Chapman v.
 4   California, 386 U.S. 18, 24 (1968), and reasonably probable, People
 5   v. Watson, 56 Cal.2d 818, 836 (1956), that these errors adversely
 6   influenced the penalty determination of at least one if not more
 7   jurors.      Certainly it cannot be said that the errors had "no
 8   effect" on the penalty verdict.               Caldwell v. Mississippi, 472 U.S.
 9   320, 341 (1985).           Thus, this Court lawfully is called upon to
10   vacate the judgment of death.
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28   Petition for a writ of habeas corpus                                          Dykes v. Martel
     under 28 U.S.C. 2254                       Page -211-                  Case No. C-11-04454-SI
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 1                                                  X.
                                            PRAYER FOR RELIEF
 2
 3          FOR AND ALL OF THE REASONS AND AUTHORITIES CITED HEREIN,
 4   Petitioner respectfully asks that this Honorable Court:
 5
 6          1)      Continue to stay any attempt by Respondent to execute the
 7   sentence of death pronounced by the state court while this petition
 8   remains pending before the federal courts, including during any
 9   appellate proceedings that may become pertinent;
10
11          2)      Grant Petitioner leave to conduct discovery and to
12   present evidence thereafter at an evidentiary hearing in order to
13   demonstrate the truth and gravity of the allegations set forth
14   herein; and,
15
16          3)      Upon due and complete consideration of the matters raised
17   herein, grant Petitioner relief from the unlawful sentence and
18   judgment at issue herein, as well as such further relief as this
19   Court may find warranted in these proceedings.
20
21                                                       Respectfully submitted,
22
23   Dated: December 21, 2012                            s/Phillip A. Treviño
                                                         Attorney at Law
24                                                       Counsel to Petitioner
25
26
27
28   Petition for a writ of habeas corpus                                           Dykes v. Martel
     under 28 U.S.C. 2254                         Page -212-                 Case No. C-11-04454-SI
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 1                                          VERIFICATION
 2
 3          I, Phillip A. Treviño, do hereby declare as follows:
 4
 5   1.     I am an attorney at law, duly admitted to practice before this
 6   Honorable Court.           I am under appointment by this Court to represent
 7   Petitioner in the instant proceedings.
 8
 9   2.     I have read and am familiar with the contents of this petition
10   for a writ of habeas corpus.               To the best of my knowledge and based
11   upon my reading and review of what I believe to be true and correct
12   copies of the proceedings heard in this matter, the matters alleged
13   herein are true and correct.
14
15   3.     I am executing the instant verification on Petitioner’s
16   behalf.      I am authorized to do so by Petitioner.                Petitioner is
17   incarcerated in a different county than my own.                     The facts and
18   events at issue herein are more within my knowledge than that of
19   Petitioner.
20
21   4.     In support of Claim 1, I represent to this Honorable Court
22   that I have spoken with a senior member of the Alameda County
23   Public Defender’s Office regarding this matter.                    She has practiced
24   in that office continuously since 1985.                  She was in the office at
25   the time this matter was charged and prosecuted as a capital
26   matter.      I described the operative facts of the offenses at issue
27
28   Petition for a writ of habeas corpus                                          Dykes v. Martel
     under 28 U.S.C. 2254                        Page -213-                 Case No. C-11-04454-SI
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 1   herein as well as the jury’s determinations during the guilt phase,
 2   the prosecution’s evidence in aggravation, and Petitioner’s
 3   criminal history.           She has represented to me that as a member of
 4   her Office she has a ready and ongoing familiarity with the capital
 5   charging practices of the Alameda County District Attorney.                      She
 6   expressed surprise upon learning this matter was charged and pursued
 7   as a capital matter since, in her extensive experience in Alameda
 8   County, this fact pattern and offender profile would not ordinarily
 9   be a capital matter in that county in her professional judgment.
10
11          I declare under penalty of perjury that the foregoing is true
12   and correct to the best of my knowledge.                Executed this day under
13   the laws of the State of California at Los Angeles.
14
15   Date:     December 20, 2012                       s/Phillip A. Treviño
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28   Petition for a writ of habeas corpus                                        Dykes v. Martel
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